 08-13555-mg           Doc 29425-4   Filed 07/16/12 Entered 07/16/12 16:40:47   Exhibit D
                                     Part 1 of 4 Pg 1 of 65



                                           Exhibit D




\
US_ACTIVE:\43936239\28\58399.0008
08-13555-mg               Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47       Exhibit D
                                           Part 1 of 4 Pg 2 of 65



                                                                                 EXECUTION VERSION




                                                    INDENTURE




                                               As of August 17, 2006




                                            GEMSTONE       CDO VI LTD.

                                                       as Issuer




                                           GEMSTONE       CDO VI CORP.

                                                     as Co-Issuer




                               DEUTSCHE BANK TRUST COMPANY AMERICAS

                                        as Trustee and Securities Intermediary




30775-00034NY:1268831.8
  08-13555-mg                     Doc 29425-4                      Filed 07/16/12 Entered 07/16/12 16:40:47                                                                  Exhibit D
                                                                   Part 1 of 4 Pg 3 of 65


                                                                                  TABLE       OF CONTENTS


                                                                                                                                                                                          PAGE


PRELIMINARY                STATEMENT ..................................................................................................................................                        1
GRANTING CLAUSES ..............................................................................................................................................                                1

ARTICLE         I          DEFINITIONS              AND INTERPRETATION                             ....................................................................................        2
             Section 1.1                        Definitions ..................................................................................................................                 2

             Section 1.2                        Assumptions as to Underlying Assets, Etc ...............................................................                                      48
             Section 1.3                        Rules of Construction ...............................................................................................                         49
ARTICLE II                 THE NOTES ..................................................................................................................................                       50

             Section 2.1                        Forms Generally .......................................................................................................                       50

             Section 2.2                        Authorized Amount; Note Interest Rate; Stated Maturity; Denominations .............. 51
             Section 2.3                        Execution, Authentication, Delivery and Dating ......................................................                                         52

             Section 2.4                        Registration, Transfer and Exchange of Notes .........................................................                                        53

             Section 2.5                        Mutilated, Defaced, Destroyed, Lost or Stolen Notes ..............................................                                            58
             Section 2.6                        Payment of Principal and Interest; Rights Preserved ...............................................                                           59
             Section 2.7                        Persons Deemed Owners ..........................................................................................                              62
             Section 2.8                        Cancellation ..............................................................................................................                   62

             Section 2.9                        No Gross Up .............................................................................................................                     63

             Section 2.10                        Synthetic Security ....................................................................                  :................................   63
ARTICLE III                CONDITIONS               PRECEDENT .......................................................................................................                         64
             Section 3.1                        General Provisions ...................................................................................................                        64

             Section 3.2                         Security for the Notes ...............................................................................................                       66

              Section 3.3                       Transfer of Underlying Asset and Eligible Investments ...........................................                                             68
ARTICLE IV                 SATISFACTION                 AND DISCHARGE ..........................................................................................                              69

              Section 4.1                        Satisfaction and Discharge of Indenture ...................................................................                                  69
              Section 4.2                       Application of Trust Money .....................................................................................                              70

              Section 4.3                       Repayment of Monies Held by Paying Agent ..........................................................                                           70
ARTICLE V                  EVENTS OF DEFAULT; REMEDIES .........................................................................................                                              70
              Section 5.1                        Events of Default ......................................................................................................                     70

              Section 5.2                        Acceleration of Maturity; Rescission and Annulment ..............................................                                            72
              Section 5.3                        Collection of Indebtedness and Suits for Enforcement by Trustee ........................... 73
              Section 5.4                        Remedies ..................................................................................................................                  74
              Section 5.5                        Preservation of Collateral .........................................................................................                         76

              Section 5.6                        Trustee May Enforce Claims Without Possession of Notes .....................................                                                 77
              Section 5.7                        Application of Money Collected ..............................................................................                                77
              Section 5.8                        Limitation on Suits ...................................................................................................                      77




30775-00034 NY: 1268831.8
 08-13555-mg                Doc 29425-4                    Filed 07/16/12 Entered 07/16/12 16:40:47                                                            Exhibit D
                                                           Part 1 of 4 Pg 4 of 65


                                                                          TABLE       OF CONTENTS


                                                                                                                                                                      PAGE


          Section 5.9                    Unconditional Rights of Noteholders to Receive Principal and Interest .................. 78
          Section 5.10                   Restoration of Rights and Remedies ........................................................................                    78
          Section 5.11                   Rights and Remedies Cumulative ............................................................................                    78
          Section 5.12                   Delay or Omission Not Waiver ................................................................................                  78
          Section 5.13                   Control by Controlling Class ....................................................................................              78
          Section 5.14                   Waiver of Past Defaults ............................................................................................           79
          Section 5.15                   Undertaking for Costs ..............................................................................................           79
          Section 5.16                   Waiver of Stay or Extension Laws ...........................................................................                   80
          Section 5.17                   Sale of Collateral ......................................................................................................      80

          Section 5.18                   Action on the Notes ..................................................................................................         81
ARTICLE     VI      THE TRUSTEE .............................................................................................................................           81

          Section 6.1                    Certain Duties and Responsibilities ..........................................................................                 81
          Section 6.2                    Notice of Default ......................................................................................................       82

          Section 6.3                    Certain Rights of Trustee .........................................................................................            82
          Section 6.4                    Authenticating Agents ..............................................................................................           84
          Section 6.5                    Not Responsible for Recitals or Issuance of Notes ..................................................                           84
          Section 6.6                    May Hold Notes .......................................................................................................         84
          Section 6.7                    Money Held in Trust ................................................................................................           84
          Section 6.8                    Compensation and Reimbursement ..........................................................................                      85
          Section 6.9                    Corporate Trustee Required; Eligibility ...................................................................                    86
          Section 6.10                   Resignation and Removal; Appointment of Successor .............................................                                86
          Section 6.11                   Acceptance of Appointment by Successor ...............................................................                         87
          Section 6.12                   Merger, Conversion, Consolidation or Succession to Business of Trustee .............. 88
          Section 6.13                   Co-Trustees ..............................................................................................................     88
          Section 6.14                   Certain Duties Related to Delayed Payment of Proceeds .........................................                                89
          Section 6.15                   Representations           and Warranties of the Bank ............................................................              89
          Section 6.16                   Eligible Investments; Investments and Withdrawals Under the Initial
                                         Investment Agreement .............................................................................................             90
          Section 6.17                   Fiduciary for Noteholders Only; Agent for the Interest Rate Swap
                                         Counterparty and Collateral Manager ......................................................................                     91
          Section 6.18                   The Securities Intermediary .....................................................................................              91
          Section 6.19                   Right of Trustee in Capacity of Note Registrar, Paying Agent, Transfer
                                         Agent, Authenticating Agent, Calculation Agent or Securities Intermediary .......... 92
ARTICLE VII         COVENANTS .................................................................................................................................

          Section 7.1                    Payment of Principal and Interest .............................................................................                92




30775-00034 NY: 1268831.8
 08-13555-mg             Doc 29425-4             Filed 07/16/12 Entered 07/16/12 16:40:47                                                                   Exhibit D
                                                 Part 1 of 4 Pg 5 of 65


                                                                TABLE        OF CONTENTS


                                                                                                                                                                    PAGE


         Section 7.2          Maintenance of Office or Agency ............................................................................                            92
         Section 7.3          Money for Note Payments to be Held in Trust .........................................................                                   93
         Section 7.4          Existence of Issuers ..................................................................................................                 94

         Section 7.5          Protection of Collateral ............................................................................................                   95

          Section 7.6         Opinions as to Collateral ..........................................................................................                    96
          Section 7.7         Performance of Obligations ......................................................................................                       96
          Section 7.8         Negative Covenants ..................................................................................................                   97
          Section 7.9         Statement as to Compliance .....................................................................................                        99
          Section 7.10        Consolidation of Issuers .........................................................................................                     100

          Section 7.11        Successor Substituted .............................................................................................                    102

          Section 7.12        No Other Business ..................................................................................................                   102

          Section 7.13        Notice of Changes in Ratings; Annual Rating Review ..........................................                                          103
          Section 7.14        Reporting ................................................................................................................             103
          Section 7.15        Calculation Agent ...................................................................................................                  103
          Section 7.16        Listing ....................................................................................................................           103
          Section 7.17        Amendment of Certain Documents ........................................................................                                104

          Section 7.18        German Foreign Investment Act ............................................................................                             104
          Section 7.19        Compliance With Laws ..........................................................................................                        104
          Section 7.20        Maintenance of Books and Records .......................................................................                               104

          Section 7.21        [Reserved.] .............................................................................................................              105
          Section 7.22        DTC ........................................................................................................................           105

          Section 7.23        Representations Relating to Security Interests in the Collateral ............................. 105
ARTICLE     VIII    SUPPLEMENTAL         INDENTURES                  ............................................................................................    106

          Section 8.1         Supplemental Indentures Without Consent of Securityholders ..............................                                              107
          Section 8.2         Supplemental Indentures with Consent of Securityholders ....................................                                           109
          Section 8.3         Execution of Supplemental Indentures ...................................................................                               111
          Section 8.4         Effect of Supplemental Indentures .........................................................................                            111
          Section 8.5         Reference in Notes to Supplemental Indentures .....................................................                                    111
ARTICLE IX          REDEMPTION     OF SECURITIES ..............................................................................................                      111

          Section 9.1         Clean-Up Call Redemption ....................................................................................                          111
          Section 9.2         Tax Redemption .....................................................................................................                   112
          Section 9.3         Auction Call Redemption .......................................................................................                        113
          Section 9.4          Optional Redemption .............................................................................................                     114
          Section 9.5         Notice of Tax Redemption, Clean-Up Call Redemption, Auction Call




30775-00034 NY: 1268831.8
 08-13555-mg               Doc 29425-4                        Filed 07/16/12 Entered 07/16/12 16:40:47                                                                    Exhibit D
                                                              Part 1 of 4 Pg 6 of 65


                                                                              TABLE         OF CONTENTS


                                                                                                                                                                               PAGE


                                          Redemption, Optional Redemption or Stated Maturity by the Issuers ................... 115
          Section 9.6                      Securities Payable on Redemption Date .................................................................                              116

          Section 9.7                     Mandatory Redemption ..........................................................................................                       117
ARTICLE X            ACCOUNTS, ACCOUNTINGS                                   AND RELEASES ...................................................................                   117
          Section 10.1                     Collection of Money ...............................................................................................                  117
          Section 10.2                    Principal Collection Account; Interest Collection Account; Custodial
                                          Account; Uninvested Proceeds Account; Synthetic Security Collateral
                                          Account; Synthetic Security Issuer Account ..........................................................                                 117
          Section 10.3                    Payment Account ...................................................................................................                   120
          Section 10.4                    Expense Account ....................................................................................................                  121
          Section 10.5                     Interest Rate Swap Counterparty Collateral Accounts ...........................................                                      121
          Section 10.6                     Substituted Collateral Account ...............................................................................                       122
          Section 10.7                     General Reporting by Trustee ................................................................................                        123
          Section 10.8                    Reports by the Issuer ..............................................................................................                  123
          Section 10.9                     Release of Securities ..............................................................................................                 129

          Section 10.10                    Reports by Independent Accountants .....................................................................                             130
          Section 10.11                    Reports to Rating Agencies, Etc .............................................................................                        130
          Section 10.12                    Tax Matters ............................................................................................................             131
ARTICLE XI           APPLICATION                OF MONIES .....................................................................................................                 132

          Section 11.1                     Disbursements of Monies from Payment Account .................................................                                       132
          Section 11.1A                    Allocation Procedures ............................................................................................                   136

          Section 11.2                     Trust Accounts ........................................................................................................              137
ARTICLE XII          PURCHASE AND SALE OF UNDERLYING ASSETS AND SUBSTITUTION
                     CRITERIA ...................................................................................................................................               137
          Section 12.1                    Disposition of Underlying Assets ...........................................................................                          138
          Section 12.2                     Purchases of Underlying Assets after the Closing Date and Substitution
                                           Criteria ....................................................................................................................        139

          Section 12.3                     Conditions Applicable to all Transactions Involving Sale or Grant ....................... 142
ARTICLE XIII         SECURED PARTIES' RELATIONS ..........................................................................................                                      142
          Section 13.1                     Subordination .........................................................................................................              142

          Section 13.2                     Standard of Conduct ...............................................................................................                  144
ARTICLE XIV          MISCELLANEOUS                      ....................................................................................................................    144

          Section 14.1                     Form of Documents Delivered to Trustee ..............................................................                                144
          Section 14.2                     Acts of Securityholders ..........................................................................................                   145
          Section 14.3                     Notices, etc., to Trustee, the Issuers, the Bank, the Collateral Manager, the




30775-00034   NY: 1268831.8
 08-13555-mg              Doc 29425-4                   Filed 07/16/12 Entered 07/16/12 16:40:47                                                             Exhibit D
                                                        Part 1 of 4 Pg 7 of 65


                                                                       TABLE        OF CONTENTS


                                                                                                                                                                  PAGE


                                     Rating Agencies, and Hedge Counterparties ..........................................................                          146
          Section 14.4               Notices and Reports to Securityholders; Waiver ....................................................                           147
          Section 14.5               Effect of Headings and Table of Contents ..............................................................                       148
          Section 14.6               Successors and Assigns ..........................................................................................             148
          Section 14.7               Severability .............................................................................................................    148
          Section 14.8               Benefits of Indenture ..............................................................................................          148
          Section 14.9               Legal Holidays .......................................................................................................        148
          Section 14.10              Governing Law .......................................................................................................         149
          Section 14.11              Submission to Jurisdiction ......................................................................................             149
          Section 14.12.             Counterparts ...........................................................................................................      149
          Section 14.13              Judgment Currency .................................................................................................           149
          Section 14.14              Liability of Issuers ..................................................................................................       150
ARTICLE       XV     ASSIGNMENT OF MANAGEMENT                                   AGREEMENT, THE COLLATERAL
                     ADMINISTRATION AGREEMENT,                                  ISSUER AGREEMENT ................................................                  150
          Section 15.1               Assignment .............................................................................................................      150
          Section 15.2                [Reserved] ..............................................................................................................    151
          Section 15.3                [Reserved] ..............................................................................................................    151
          Section 15.4               Issuer Agreements, Etc ...........................................................................................            151
ARTICLE XVI          INTEREST RATE SWAP AGREEMENT ..................................................................................                               152

          Section 16.1               The Interest Rate Swap Agreement ........................................................................                     152




30775-00034   NY: 1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47             Exhibit D
                                             Part 1 of 4 Pg 8 of 65


                                                     SCHEDULES

SCHEDULE       A          SCHEDULE OF CLOSING UNDERLYING ASSETS
SCHEDULE       B          LIBOR FORMULA
SCHEDULE       C          FORM OF BAILEE LETTER AGREEMENT
SCHEDULE       D          AUCTION AGENT FEES
SCHEDULE       E          STANDARD & POOR'S RECOVERY RATE MATRIX
SCHEDULE       F          STANDARD & POOR'S RATINGS AND STANDARD & POOR'S ASSET-BACKED
                          SECURITY CATEGORIES
SCHEDULE       G          AUCTION PROCEDURES
SCHEDULE       H          FORM OF NOTE DOCUMENT CERTIFICATE
SCHEDULE       I          FORM OF NOTE OWNER CERTIFICATE
SCHEDULE       J          RESERVED
SCHEDULE       K          RESERVED
SCHEDULE       L          MOODY'S RATING AND MOODY'S WEIGHTED AVERAGE RATING
SCHEDULE       M          MOODY'S RECOVERY RATE MATRIX
SCHEDULE       N          CLASS D PRIORITY REDEMPTION AMOUNTS
SCHEDULE       O          S&P INDUSTRY CLASSIFICATION GROUP


                                                      EXHIBITS

EXHIBIT    A-1            Form of Temporary Regulation S Global Note
EXHIBIT    A-2            Form of Permanent Regulation S Global Note
EXHIBIT    A-3            Form of Restricted Global Note
EXHIBIT    A-4            Form of Definitive Note
EXHIBIT    B-1            Form of Clearance System Certificate
EXHIBIT    B-2            Form of Certification of Non-U.S. Ownership (Within Clearance System)
EXHIBIT    C              [Reserved]
EXHIBIT    D-1            Form of Restricted Note Transfer Certificate
EXHIBIT    D-2            Form of Regulation S Note Transfer Certificate
EXHIBIT    D-3            Form of Investor Certificate
EXHIBIT    E              Form of Funding Certificate
EXHIBIT    F-1            Form of Corporate and Tax Opinion of Allen & Overy LLP
EXHIBIT    F-2            Form of Security Interest Opinion of Allen & Overy LLP
EXHIBIT    G              Form of Opinion of Maples and Calder
EXHIBIT    H              Form of Opinion of Cadwalader, Wickersham & Taft LLP
EXHIBIT    I              Form of Opinion of Seward & Kissel LLP
EXHIBIT    J              Form of Synthetic Security Notification for Moody's
EXHIBIT    K              Form of Synthetic Security (RMBS Securities)
EXHIBIT    L              Form of Synthetic Security (CMBS Securities)




30775-00034NY:1268831.8
 08-13555-mg                 Doc 29425-4    Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                            Part 1 of 4 Pg 9 of 65


                                                     INDENTURE

         THIS INDENTURE dated as of August 17, 2006, among:

       GEMSTONE CDO VI Ltd., an exempted company with limited liability incorporated under the laws of the
Cayman Islands (the "Issuer");

         GEMSTONE CDO VI Corp., a corporation organized under the laws of the State of Delaware (the "Co-
Issuer" and, together with the Issuer, the "Issuers"); and

          Deutsche Bank Trust Company Americas, a banking corporation organized and existing under the laws of
the State of New York, as trustee and as securities intermediary (in such capacities, together with its permitted
successors hereunder, the "Trustee" or the "Securities Intermediary").

                                           PRELIMINARY        STATEMENT


          The Issuers are duly authorized to execute and deliver this Indenture to provide for the issuance of the
Notes as provided in this Indenture. All covenants and agreements made by the Issuers herein are for the benefit and
security of the Noteholders, the Interest Rate Swap Counterparty, the Preference Share Paying Agent, the Securities
Intermediary, the Collateral Administrator, the Collateral Manager, each Synthetic Security Counterparty, the Initial
Investment Agreement Provider and the Trustee (collectively, the "Secured Parties"). The Issuers are entering into
this Indenture, and the Trustee is accepting the trusts created hereby, for good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged.

         All things necessary to make this Indenture a valid agreement of the Issuers in accordance with its terms
have been done.

                                               GRANTING       CLAUSES


           The Issuer hereby Grants to the Trustee, for the benefit and security of the Secured Parties, all of its right,
title and interest, whether now owned or hereafter acquired, in, to and under the following: (a) all Underlying Assets
and Equity Securities (listed, as of the Closing Date, in the Schedule of Closing Underlying Assets), all payments
thereon or with respect thereto, (b) the Accounts and all investment property, money, instruments and other property
credited thereto, and Eligible Investments purchased with funds credited to the Accounts and all income from the
investment of funds therein, (c) the Interest Rate Swap Agreement, (d) the Management Agreement, the Note
Purchase Agreement, the Subscription Agreements, the Collateral Administration Agreement and the Administration
Agreement, (e) the trust accounts described in Section 11.2 and all investment property, money, instruments and
other property on deposit therein or credited thereto, (f) all accounts, chattel paper, deposit accounts, documents,
general intangibles, goods, instruments, investment property, letter-of-credit rights, letters of credit, money, and oil,
gas, and other minerals, (g) all other property of the Issuer other than Excepted Property, (h) (A) the Synthetic
Security Collateral Account, and all investment property, money, instruments and other property credited thereto,
and all income, earnings, interest, and other distributions received or receivable in respect thereof, and (B) the
Investment Agreement and all income, earnings, interest, and other distributions received or receivable in respect
thereof; (i) all proceeds, accessions, profits, income, benefits, substitutions and replacements, whether voluntary or
involuntary, of and to any of the property described in the preceding clauses; and (j) all proceeds of the foregoing
(collectively, the "Collateral").   The Collateral shall not include the Excepted Property. Such Grants are made,
however, in trust, to secure the Notes equally and ratably without prejudice, priority or distinction between any Note
and any other Note by reason of difference in time of issuance or otherwise, except as expressly provided in this
Indenture, and to secure (i) the payment of all amounts due on the Notes and all amounts payable by the Issuer under
the Management Agreement and the Interest Rate Swap Agreement in accordance with their terms, (ii) the payment
 of all amounts due by the Issuer under the Synthetic Securities (iii) the payment of all other amounts payable by the
Issuer under this Indenture, and (iv) compliance by the Issuer with the provisions of this Indenture and the Interest
Rate Swap Agreement, each as provided in this Indenture.




30775-00034   NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                             Part 1 of 4 Pg 10 of 65


          The Issuer does hereby constitute and irrevocably appoint the Trustee the true and lawful attorney of the
Issuer, with full power (in the name of the Issuer or otherwise), to exercise all rights of the Issuer with respect to the
Collateral and to ask, require, demand, receive, settle, compromise, compound and give acquittance for any and all
moneys and claims for moneys due and to become due under or arising out of any of the Collateral, to indorse any
checks or other instruments or orders in connection therewith and to file any claims or take any action or institute
any proceedings which the Trustee may deem to be necessary or advisable in the premises. The power of attorney
granted pursuant to this Indenture and all authority hereby conferred are granted and conferred solely to protect the
Trustee's interest in the Collateral and shall not impose any duty upon the Trustee to exercise any power except as
expressly provided herein. This power of attorney shall be irrevocable as one granted by way of security and
coupled with an interest prior to the payment in full of all the obligations secured hereby.

          This Indenture shall constitute a security agreement. Upon the occurrence of any Event of Default with
respect to the Notes, and in addition to any other rights available under this Indenture or otherwise available at law
or in equity, the Trustee shall have all rights and remedies of a secured party under the laws of the State of New
York and other applicable law, and, in addition, shall have the right, subject to compliance with any mandatory
requirements of applicable law, to sell or apply any Collateral in accordance with the terms hereof at public or
private sale.

          It is expressly agreed that anything therein contained to the contrary notwithstanding, the Issuer shall
remain liable under any instruments included in the Collateral to perform all the obligations assumed by it
thereunder, all in accordance with and pursuant to the terms and provisions thereof, and except as otherwise
expressly provided herein, the Trustee shall not have any obligations or liabilities under such instruments by reason
of or arising out of this Indenture, nor shall the Trustee be required or obligated in any manner to perform or fulfill
any obligations of the Issuer under or pursuant to such instruments or to make any payment, to make any inquiry as
to the nature or sufficiency of any payment received by it, to present or file any claim, or to take any action to collect
or enforce the payment of any amounts which may have been assigned to it or to which it may be entitled at any
time or times.

         The Trustee acknowledges such Grants, accepts the trusts hereunder in accordance            with the provisions
hereof, and agrees to perform the duties provided herein.

         Each of the Secured Parties hereby agrees and acknowledges           that it shall not have any claim on the
Excepted Property.

                                                      ARTICLE I

                                      DEFINITIONS      AND INTERPRETATION


                          Section 1.1 Definitions.

          Except as otherwise specified herein or as the context may otherwise require, the following terms have the
respective meanings set forth below for all purposes of this Indenture. Whenever any reference is made to an
amount the determination of which is governed by Section 1.2, the provisions of Section 1.2 shall be applicable to
such determination or calculation, whether or not reference is specifically made to Section 1.2, unless some other
method of calculation or determination is expressly specified in the particular provision.

         "Accelerated Amortization Date" means, if no Optional Redemption, Auction Call Redemption, Clean-
Up Call Redemption or Tax Redemption has been successfully completed before the August 2014 Distribution Date,
the August 2014 Distribution Date.

          "Accelerated    Maturity, Date" has the meaning specified in Section 5.5.

         "Accountants'   Report" means a report or reports of a firm or f'tmas of Independent certified public
accountants of recognized national reputation appointed by the Issuer pursuant to Section 10.10(a), which may be




30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                             Part 1 of 4 Pg 11 of 65


the firm or firms of independent accountants that reviews or performs procedures         with respect to the financial
reports prepared by the Issuer or the Collateral Manager.

         "Accountholder"   means each of the persons shown on the records of Euroclear or Clearstream as the
holder of a Regulation S Global Note.

         "Accounts" means each of the Interest Collection Account, the Principal Collection Account, the Payment
Account, the Expense Account, the Custodial Account, the Interest Rate Swap Counterparty Collateral Accounts,
each Synthetic Security Collateral Account, each Synthetic Security Issuer Account, the Substituted Collateral
Account and the Uninvested Proceeds Account.

         "Act and Acts of Securit_holders" have the meanings specified in Section 14.2.

         "Additional      Fixed Amounts" means, with respect to any Synthetic Security, the meaning set forth in such
Synthetic Security.

          "Additional Interest Rate Swap Agreement" means each ISDA Master Agreement, including any
schedules and any confirmations thereto, executed after the Closing Date, in each case between the Issuer and the
Interest Rate Swap Counterparty; provided that such Additional Interest Rate Swap Agreement has been approved
by the Collateral Manager and the Issuer has received Rating Confirmation prior to executing such Additional
Interest Rate Swap Agreement.

         "Administration   Agreement" means the Administration Agreement dated the Closing Date between the
Administrator and the Issuer, as modified and supplemented and in effect from time to time.

          "Administrative Expenses" means amounts (including any indemnities) due or accrued with respect to any
Distribution Date and payable by the Issuer or the Co-Issuer to (a) the Trustee pursuant to Section 6.8 or any co-
trustee appointed pursuant to Section 6.13, (b) the Preference Share Paying Agent, the Preference Share Transfer
Agent under the Preference Share Paying Agency Agreement, (c) the Bank under the Collateral Administration
Agreement, (d) the Administrator under the Administration Agreement, including provision for the costs and
expenses of liquidating the Issuers following redemption of the Securities, and the Share Registrar under the
Preference Share Paying Agency Agreement, (e) the Independent accountants, agents and counsel of the Issuers for
fees and expenses (including amounts payable in connection with the preparation of tax forms on behalf of the
Issuers and any registered office fees), (f) the Rating Agencies for fees and expenses in connection with any rating
(including the annual fees payable to the Rating Agencies for monitoring of any rating) of the Notes, including fees
and expenses due or accrued in connection with any rating of the Underlying Assets (which shall mean with respect
to a Synthetic Security, the related Reference Obligation) or any surveillance of such ratings, (g) the Collateral
Manager under this Indenture and the Management Agreement (including amounts payable pursuant to Section 6 of
the Management Agreement), (h) the Auction Agent Fees, (i) any other Person in respect of any governmental fee,
charge or tax in relation to the Issuers (in each case as certified by an Authorized Officer of the Issuer or the Co-
Issuer to the Trustee), (j) the fees and expenses of the Exchange and the Irish Paying Agent, (k) the Initial Purchaser
in respect of indemnities under the Note Purchase Agreement and (1) any other Person in respect of any other fees or
expenses (including indemnities) permitted under this Indenture and the documents delivered pursuant to or in
connection with this Indenture and the Securities; provided that Administrative Expenses shall not include (i) any
amounts due or accrued with respect to the actions taken on or in connection with the Closing Date (provided that
funds may be withdrawn from the Expense Account prior to the first Determination Date for such purpose provided
that the Collateral Manager has approved in writing each such withdrawal in advance), (ii) amounts payable in
respect of the Notes, (iii) amounts payable under the Interest Rate Swap Agreement and (iv) any Management Fee
payable pursuant to the Management Agreement.

          "Administrator"  means Maples Finance Limited, solely in its capacity as administrator under the
Administration Agreement, unless a successor Person shall have become the Administrator pursuant to the
applicable provisions of the Administration Agreement, and thereafter Administrator shall mean such successor
Person.




30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                           Part 1 of 4 Pg 12 of 65


          "Affected Party" or "affected parW." has the meaning specified in the Interest Rate Swap Agreement.

          "Affdiate" or "Affiliated" means, with respect to a Person, (a) any other Person who, directly or indirectly,
is in control of, or controlled by, or is under common control with, such Person or (b) any other Person who is a
director, Officer, employee, managing member or general partner of (i) such Person or (ii) any such other Person
described in clause (a) above or (iii) with respect to the Collateral Manager, any account or fund for which the
Collateral Manager or any of the Persons referred to in clauses (a) and (b) acts as investment advisor with
discretionary authority. For the purposes of this definition, "control" of a Person shall mean the power, direct or
indirect, (A) to vote more than fifty percent (50%) of the securities having ordinary voting power for the election of
directors of such Person or (B) to direct or cause the direction of the management and policies of such Person
whether by contract or otherwise; provided that neither the Administrator nor any special purpose company to which
the Administrator provides directors and!or acts as share trustee shall be an Affiliate of the Issuer.

        "Aggregate Liquidation Preference" means the product of (x) the Liquidation Preference              and (y) the
number of Preference Shares Outstanding at the relevant time.

          "Aggregate Outstanding Amount" means, when used with respect to any of the Notes at any time, the
aggregate principal amount of such Notes Outstanding at such time. The Aggregate Outstanding Amount excludes
any Deferred Interest with respect to the applicable Class of Notes. When used with respect to any of the Preference
Shares at any time, the Aggregate Outstanding Amount means the number of such Preference Shares Outstanding at
the relevant time multiplied by the Liquidation Preference.

          "Aggregate Principal/Notional   Balance" means, when used with respect to one or more Pledged
Underlying Assets as of any date of determination, the sum of the Principal/Notional Balances of such Underlying
Assets on the date of determination; and (ii) with respect to Eligible Investments, the aggregate Balance of such
Eligible Investments.

         "Aggregate WAC Change" means the number, calculated by the Collateral Manager, obtained by adding
each positive WAC Change or subtracting each negative WAC Change.

         "Aggregate WAS Change" means the number, calculated by the Collateral Manager, obtained by adding
each positive WAS Change or subtracting each negative WAS Change.

         "Aggregate WAC Change Test" means a test which is satisfied on any date an Eligible Substitute Asset is
purchased if, (i) such date occurs before August 17, 2007 and if the Aggregate WAC Change is negative, the
absolute value of the Aggregate WAC Change does not exceed 0.05%, and (ii) if such date occurs on or after August
17, 2007 and if the Aggregate WAC Change for the previous twelve months is negative, the absolute value of the
Aggregate WAC Change does not exceed 0.05%.

         "Aggregate WAS Change Test" means a test which is satisfied on any date an Eligible Substitute Asset is
purchased if, (i) such date occurs before August 17, 2007 and if the Aggregate WAS Change is negative, the
absolute value of the Aggregate WAS Change does not exceed 0.05%, and (ii) if such date occurs on or after August
17, 2007 and if the Aggregate WAS Change for the previous twelve months is negative, the absolute value of the
Aggregate WAS Change does not exceed 0.05%.

         "Alternative Debt Test" means a test which is satisfied with respect to a security if, on the date the Issuer
acquires such security, each of the following is satisfied: (a) such security is in the form of a note or other debt
instrument and is treated as debt for corporate law purposes in the jurisdiction of the issuer of such security, (b) the
documents pursuant to which such security was offered, if any, do not require that any holder thereof treat such
security other than as debt for tax purposes, (c) such security bears interest at a f'Lxedrate per annum or at a rate
based upon a customary floating rate index plus or minus a spread and does not provide for any interest based on
any other factor, such as the issuer's profits or cash flow, (d) such security had a fixed term at original issuance not
in excess of 35 years, (e) such security provides for a fixed principal amount (leaving no amount outstanding)
payable no later than its Stated Maturity and (f) such security is rated at least "BBB-" by Standard & Poor's or at
least "BBB-" by Fitch or at least "Baa3" by Moody's, and if so rated, such rating is not on watch for downgrade by




30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4          Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                               Part 1 of 4 Pg 13 of 65


Moody's, as to ultimate payment of principal and interest; provided that, in the case of a security in the form of a
beneficial interest in an entity that is treated (as evidenced by an opinion of counsel or a reference to an opinion of
counsel in documents pursuant to which such security was offered) as a grantor trust or partnership for United States
Federal income tax purposes (and not as an association taxable as a corporation), any of the conditions specified in
clause (a), (b), (c), (d) and (e) may be satisfied by reference to each asset held by such entity rather than by reference
to such beneficial ownership interests.

          "Applicable Procedures" has the meaning specified in Section 2.4(b)(i)(D).

           "Applicable Recovery Rate" means, with respect to any Underlying Asset (which shall mean with respect
to a Synthetic Security, the related Reference Obligation) on any Measurement Date, an amount equal to the lower
of (a) the percentage for such Underlying Asset set forth in the Moody's Recovery Rate Matrix attached as Schedule
M hereto in (i) the applicable table therein, (ii) the row in such table opposite the applicable percentage of the
underlying capital structure and (iii) the column in such table below the rating assigned by Moody's of such
Underlying Asset as of the date of issuance of such Underlying Asset, or (b) the percentage for such Underlying
Asset set forth in the Standard & Poor's Recovery Rate Matrix attached as Schedule E hereto in (i) the applicable
table, (ii) the row in such table opposite the Standard & Poor's Rating of such Underlying Asset as of the date of
purchase by the Issuer of such Underlying Asset and (iii)(x) for purposes of determining the Standard & Poor's
Recovery Rate, the column in such table below the current rating of the respective Class of Notes or (y) for purposes
of determining the Calculation Amount, the column in such table below the current rating of the most senior Class
of Notes Outstanding.

          "Asset-Backed Securit3," means any U.S. Dollar-denominated asset-backed security (or any security that
represents a direct or indirect interest in an asset-backed security) that, at the time of acquisition (or commitment for
acquisition) by the Issuer on the Closing Date, is not a Prohibited Asset or a Defaulted Security and which satisfies
each of the following conditions:

          (a)       it provides for a fixed amount payable in Cash no later than its stated maturity;

         (b)     the Underlying Instruments with respect to such Asset-Backed            Security do not prohibit it from
being purchased by the Issuer and Granted to the Trustee;

         (c)       it is not denominated or payable in, or convertible into an obligation or security denominated or
payable in, a currency other than U.S. Dollars;

          (d)       it does not require the Issuer to make future advances or payments to the obligor or issuer;

         (e)       it has a Standard & Poor's Rating (excluding those with a rating from Standard & Poor's which
includes the subscript "p", "pi", "q", "r" or "t") and a Moody's Rating;

          (f)       it is not Margin Stock and does not provide for conversion into Margin Stock;

          (g)       it is not subject to an Offer;

          (h)      it (or, if it is a certificate of beneficial interest in an entity that is treated as a grantor trust or a
partnership and not as a REMIC or FASIT for U.S. Federal income tax purposes, each of the debt instruments or
securities held by such entity) is described in at least one of the following four clauses:

                    (i)      it is a Public Security that was issued in a farm commitment          underwriting   for which
          neither the Collateral Manager nor an Affiliate thereof served as underwriter;

                    (ii)     it was not purchased by the Issuer (A) directly or indirectly from its issuer, (B) pursuant
          to a legally binding commitment made before the issuance of the obligation or security or (C) from the
          Collateral Manager or any of its Affiliates unless such entity (1) regularly acquires securities of the same
          type for its own account, (2) could have held the obligation or security for its own account consistent with



30775-00034NY:1268831.8
 08-13555-mg                Doc 29425-4           Filed 07/16/12 Entered 07/16/12 16:40:47                   Exhibit D
                                                  Part 1 of 4 Pg 14 of 65


          its investment policies, (3) did not identify the obligation or security as intended for sale to the Issuer or the
          Collateral Manager within 30 days of its issuance and (4) held the obligation or security for at least 30
          days;

                    (iii)      it is a Private   Security   and


                           (A)     it was originally issued pursuant         to an offering   circular, private placement
                    memorandum or similar offering document;

                              03)     the Issuer, the Collateral Manager and the Affiliates of the Collateral Manager
                    did not at original issuance acquire twenty percent (20%) or more of the aggregate principal
                    amount of all classes of securities offered by the issuer of the Asset-Backed Security in the
                    offering and any related offering; provided in each case that any acquisition by an Affiliate of the
                    Collateral Manager that is not a member of the Collateral Manager Group shall be included only if
                    the Collateral Manager or any of its employees or agents knew or had reason to know of such
                    acquisition; and

                               (C)      the Issuer, the Collateral Manager and any Affiliate of the Collateral Manager
                    did not participate in negotiating or structuring the terms of the Asset-Backed Security, except (1)
                    to the extent such participation consisted of an election by the Issuer, the Collateral Manager or an
                    Affiliate of the Collateral Manager to tranche the subordinate classes of securities of an issue in
                    the form of one of the structuring options offered by the issuer of the Asset-Backed Security, (2)
                    for the purposes of (i) commenting on offering documents to an unrelated underwriter or
                    placement agent where the ability to comment on such documents was generally available to
                    investors or (ii) due diligence of the kind customarily performed by investors in securities, or (3)
                    to the extent the Collateral Manager or any Affiliate of the Collateral Manager, either directly or
                    indirectly through a conduit issuer, was the issuer of the Asset-Backed Security; provided that any
                    participation in negotiating or structuring by any Affiliate of the Collateral Manager that is not a
                    member of the Collateral Manager Group shall be included only if the Collateral Manager or any
                    of its employees or agents knew or had reason to know of such participation; or

                     (iv)    it is either (A) the sole material obligation of a repackaging vehicle formed and operated
          exclusively to hold a single Asset-Backed Security described in at least one of clauses (h)(i), (h)(ii) or
          (h)(iii), which vehicle may also hold a derivative fmancial instrument or guarantee designed solely to offset
          one or more terms of such Asset-Backed Security or 03) a security issued by a repackaging vehicle that
          holds one or more Asset-Backed Securities described in at least one of clauses (h)(i), (h)(ii), (h)(iii) or
          (h)(iv)(A) and which, is treated as a REMIC, FASIT, grantor trust, or partnership for U.S. Federal income
          tax purposes, and is formed by the Collateral Manager of one of its Affiliates;

        (i)      if interest income on an Asset-Backed Security is considered U.S.-source income for U.S. Federal
income tax purposes, it is Registered;

          (j)      either (A) the Issuer meets the certification and other requirements to receive payments with
respect to the Asset-Backed Security free of U.S. and foreign withholding tax, 03) the issuer thereof is required to
make additional payments sufficient on an after-tax basis to cover any U.S. and foreign withholding tax imposed on
payments made to the Issuer with respect thereto (including any tax on the additional payments described in this
paragraph) or (C) the issuer thereof has obtained or expects to obtain in the ordinary course and not more than six
weeks following the issuance thereof an exemption from withholding tax for the entire period during which the
Notes and the Preference Shares will be outstanding; provided that, for purposes of this clause (h), a determination
that an Asset-Backed Security is eligible for exemption from U.S. withholding tax under Section 871(h) or Section
881 (c) of the Code may be based on advice of Allen & Overy LLP or an opinion of counsel that the Asset-Backed
Security will or should be treated as debt for U.S. Federal income tax purposes;

         (k)       (A) the Asset-Backed Security is the obligation of a single issuer incorporated as a corporation
under the state or Federal laws of the United States, that is not a U.S. real property holding company; 03) the Issuer




30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                              Part 1 of 4 Pg 15 of 65


has been advised by Allen & Overy LLP or has received an opinion of counsel that owning the Asset-Backed
Security will not subject the Issuer to U.S. Federal income tax on a net income basis or cause the Issuer to be treated
as engaged in a trade or business within the United States; (C) the Issuer has received an opinion of counsel that the
Asset-Backed Security will be treated as debt for U.S. Federal income tax purposes; (D) the Issuer has received an
opinion of counsel that for U.S. Federal income tax purposes (a) the issuer of the Asset-Backed Security is a grantor
trust and (b) all the assets of the trust are regular interests in a REMIC or FASIT or interest rate floors, caps, swaps
or other notional principal contracts (within the meaning of applicable Treasury Regulations), the payments under
which are determined solely by reference to interest rates, or (E) the Alternative Debt Test is satisfied, provided that,
for purposes of clauses (f), (g), (h) and this clause (i), (1) an opinion of counsel that the issuer of an Asset-Backed
Security will be treated as a REMIC or FASIT for U.S. Federal income tax purposes shall be treated as an opinion of
counsel that the Asset-Backed Security will be treated as debt for U.S. Federal income tax purposes (unless the
Asset-Backed Security is the residual interest in the REMIC or the ownership interest in the FASIT), (2) if there has
been no change in the terms of an Asset-Backed Security prior to its acquisition, the Issuer shall be treated as having
received an opinion that it will or should be treated as debt if the Issuer either has obtained a tax opinion to that
effect rendered at the issuance of such Asset-Backed Security or has received offering documents pursuant to which
such Asset-Backed Security was offered that include a tax opinion to such effect or state that an opinion of counsel
to such effect has been rendered, and (3) if there has been no change in any of the organizational documents of an
entity issuing an Asset-Backed Security since its issuance, the Issuer shall be treated as having received an opinion
that such entity will be treated as a corporation, partnership, grantor trust, REMIC or FASIT (as the case may be) for
U.S. Federal income tax purposes if the Issuer either has obtained a tax opinion to that effect rendered at the time of
the issuance of the Asset-Backed Security or has obtained offering documents that include an opinion of counsel to
such effect or state that an opinion of counsel to such effect has been rendered;

          (1)       it is not a Synthetic Security;

          (m)      acquisition of the Asset-Backed      Security will not cause the Issuer to register, or be required to
register, under the Investment Company Act;

          (n)       it is not convertible into one or more Equity Securities;

          (o)       it is not currently deferring interest or a Written Down Security

          (p)      it is expected to have an outstanding Principal/Notional Balance of less than $1,000 as of the
Stated Maturity of the Notes, assuming a constant prepayment rate since the date of purchase equal to the lesser of
(a) 5.0% per annum and (b) the constant prepayment rate reasonably expected by the Collateral Manager as of the
date of purchase, or, if constant prepayment rate is not applicable, the slowest prepayment scenario as described in
the prospectus relating to such Asset-Backed Security; and

          (q)       it will be pledged to the Trustee under this Indenture.

         "Assumed Reinvestment         Rate" means, with respect to any Account or fund securing the Notes, LIBOR
minus 1.00%.

          "Auction" has the meaning specified in Section 9.3.

          "Auction Agent" means HBK Investments L.P. or a successor thereto pursuant to the Management
Agreement; provided however if I-IBK Investments L.P. or any of its Affiliates intends to submit a bid in an Auction
of the Underlying Assets, HBK Investments L.P. shall resign as Auction Agent for that Auction and shall select a
Substitute Auction Agent; and thereafter "Auction Agent" shall mean, with respect to such Auction, such Substitute
Auction Agent.

          "Auction Agent Fees" has the meaning specified in Schedule D.

          "Auction Call Redemption"        has the meaning specified in Section 9.3(a).




30775-00034NY:1268831,8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                           Part 1 of 4 Pg 16 of 65


          "Auction Date" has the meaning specified in Section 9.3(a).

          "Auction Procedures"   means the procedures for the Auction specified in Section 9.3(a) and Schedule G.

         "Authenticating     Agent" means, with respect to the Notes or any Class of the Notes, the Person designated
by the Trustee, if any, to authenticate such Notes on behalf of the Trustee pursuant to Section 6.4.

           "Authorized Officer" means (a) with respect to the Issuer, any Officer of the Issuer who is authorized to
act for the Issuer in matters relating to, and binding upon, the Issuer, (b) with respect to the Co-Issuer, any Officer
who is authorized to act for the Co-Issuer in matters relating to, and binding upon, the Co-Issuer, (c) with respect to
the Collateral Manager, any Officer, employee or agent of the Collateral Manager who is authorized to act for the
Collateral Manager in matters relating to, and binding upon, the Collateral Manager with respect to the subject
matter of the request, certificate or order in question and (d) with respect to the Trustee or any other bank or trust
company acting as trustee of an express trust or as custodian, a Trust Officer. Each party may receive and accept a
certification of the authority of any other party as conclusive evidence of the authority of any person to act, and such
certification may be considered as in full force and effect until receipt by such other party of written notice to the
contrary.

          "Automobile Securities" means Asset-Backed Securities that entitle the holders thereof to receive
payments that depend (except for rights or other assets designed to assure the servicing or timely distribution of
proceeds to holders of the Asset-Backed Securities) on the cash flow from installment sale loans made to f'mance the
purchase of, or from leases of, automobiles, generally having the following characteristics:    (1) the loans or leases
may have varying contractual maturities; (2) the loans or leases are obligations of numerous borrowers or lessors
and accordingly represent a diversified pool of obligor credit risk; (3) the repayment stream on such loans or leases
is primarily determined by a contractual payment schedule, with early repayment on such loans or leases
predominantly dependent upon the disposition of the underlying vehicle; and (4) such leases typically provide for
the right of the lessee to purchase the vehicle for its stated residual value, subject to payments at the end of lease
term for excess mileage or use.

          "Available Redemption Amount" means the amount from Disposition Proceeds, Eligible Investments and
all other funds in the Accounts which are available on a Redemption Date to pay Excess Principal Proceeds in
accordance with the Priority of Payments.

          "Average Life" means on any Measurement Date on or after the Closing Date with respect to any
Underlying Asset (provided, that with respect to any Synthetic Security, such determination will be made with
respect to the related Reference Obligation), the quotient obtained by dividing (i) the sum of the products of (a) the
number of years (rounded to the nearest one tenth thereof) from such Measurement Date to the respective dates of
each successive Scheduled Distribution of principal of such Underlying Asset (other than a Defaulted Security or
Deferred Interest PIK Bond) (assuming that (A) no collateral defaults or is sold except those that have already
defaulted or been sold, 03) prepayment of any Underlying Asset during any month occurs (x) with respect to an
Underlying Asset issued no more than six months prior to such Measurement Date, at the rate of prepayment
assumed at the time of issuance of such Underlying Asset and (y)with respect to an Underlying Asset issued more
than six months prior to such Measurement Date, at the average rate of prepayment observed over the six months
immediately preceding such Measurement Date based on available transaction reporting data (and if such data is
unavailable, at the assumed constant prepayment rate or prepayment curve set out in the offering document for such
Underlying Asset, as determined by the Collateral Manager in its reasonable business judgment), (C) any clean up
call, auction call or similar redemption (but not optional redemption) of the Underlying Asset occurs in accordance
with the terms of the relevant Underlying Asset and (D) no optional redemption occurs), and (b) the respective
amounts of principal of such Scheduled Distributions by (ii) the sum of all successive Scheduled Distributions of
principal on such Underlying Asset (other than a Defaulted Security or Deferred Interest PIK Bond).

          "Bailee Letter" means a letter agreement substantially in the form of Schedule C hereto.

         "Balance" means at any time, with respect to (A) Cash or Eligible Investments in any Account at such
time, the aggregate of the (a) current balance of Cash, demand deposits, time deposits, certificates of deposit and




30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                            Part 1 of 4 Pg 17 of 65


federal funds; (b) principal amount of interest-beating corporate and government securities, money market accounts,
repurchase obligations and Reinvestment Agreements; and (c) purchase price (but not greater than the face amount)
of non-interest-bearing    government and corporate securities and commercial paper; and 03) any Investment
Agreement, the excess, if any, of (i) the sum of all amounts invested under such Investment Agreement on or before
such date over (ii) the sum of all withdrawals made on or before such date under such Investment Agreement.

          "Bank" means Deutsche Bank Trust          Company Americas,       a New York banking        corporation,   in its
individual capacity and not as Trustee.

        "Bankruptcy Code" means the United States Bankruptcy Code, Title 11 of the United States Code, as
amended, or, where the context requires, the applicable insolvency provisions of the laws of the Cayman Islands.

           "Bankruptcy    Event", with respect to any Person, means: (a) an involuntary proceeding shall be
commenced or an involuntary petition shall be filed seeking (i) winding up, liquidation, reorganization or other
relief in respect of such Person or its debts, or of a substantial part of its assets, under any bankruptcy, insolvency,
receivership or similar law now or hereafter in effect or (ii) the appointment of a receiver, trustee, custodian,
sequestrator, conservator or similar official for such Person or for a substantial part of its assets, and, in any such
case, such proceeding or petition shall continue undismissed for 60 days; or an order or decree approving or ordering
any of the foregoing shall be entered; or (b) such Person shall (i) voluntarily commence any proceeding or file any
petition seeking winding up, liquidation, reorganization or other relief under any bankruptcy, insolvency,
receivership or similar law now or hereafter in effect, (ii) consent to the institution of, or fail to contest in a timely
and appropriate manner, any proceeding or petition described in clause (a) of this definition, (iii) apply for or
consent to the appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for such
Person or for a substantial part of its assets, (iv) file an answer admitting the material allegations of a petition filed
against it in any such proceeding, or (v) make a general assignment for the benefit of creditors or (vi) take any action
for the purpose of effecting any of the foregoing.

          "Base Rate" has the meaning specified in Schedule B.

          "Base Rate Reference Bank" has the meaning specified in Schedule B.

         "Beneficial Owner" means any Person owning an interest in a Global Note as reflected on the books of the
Depositary or on the books of a Depositary Participant or on the books of an indirect participant for which a
Depositary Participant of the Depositary acts as agent.

         "Board of Directors" means, with respect to the Issuer, the directors of the Issuer duly appointed in
accordance with the Issuer Charter, and, with respect to the Co-Issuer, the directors of the Co-Issuer duly appointed
by the shareholders of the Co-Issuer.

          "Board Resolution" means, with respect to either of the Issuers, a resolution of the Board of Directors.

          "Business Day" means any day other than Saturday, Sunday or a day on which banking institutions are
authorized or obligated by law, regulation or executive order to close in New York City, London or any other city in
which the Corporate Trust Office is located or, in the case of the final payment of principal or Excess Principal
Proceeds, as the case may be, of any Security, in the place of presentation of such Security. To the extent action is
required of the Issuer that has not been delegated to the Trustee, the Collateral Manager or any agent of the Issuer
located outside of the Cayman Islands, the Cayman Islands shall be considered in determining "Business Day" for
purposes of determining when such Issuer action is required. To the extent action is required of the Irish Paying
Agent, Dublin, Ireland shall be considered in determining "Business Day" for purposes of determining when such
Irish Paying Agent or Transfer Agent action is required.

          "Calculation    Agent" has the meaning specified in Section 7.15.




30775-00034NY:1268831.8
 08-13555-mg                 Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                   Exhibit D
                                                Part 1 of 4 Pg 18 of 65


          "Calculation Amount" means, with respect to any Defaulted Security, the lesser of (a) the Fair Market
Value of such Defaulted Security and (b) the amount obtained by multiplying the Applicable Recovery Rate by the
Principal/Notional Balance of such Defaulted Security.

          "Car Rental Fleet Securities" means Asset-Backed Securities that entitle the holders thereof to receive
payments that depend (except for rights or other assets designed to assure the servicing or timely distribution of
proceeds to holders of the Asset-Backed Securities) on the cash flow from leases and subleases of vehicles to car
rental systems and their franchisees, generally having the following characteristics: (1) the leases and subleases have
varying contractual maturities; (2) the subleases are obligations of numerous franchisees and accordingly represent a
very diversified pool of obligor credit risk; (3) the repayment stream on such leases and subleases is primarily
determined by a contractual payment schedule, with early termination of such leases and subleases predominantly
dependent upon the disposition to a lessee or third party of the underlying vehicle; and (4) such leases or subleases
typically provide for the right of the lessee or sublessee to purchase the vehicle for its stated residual value, subject
to payments at the end of lease term for excess mileage or use.

          "Cash" means such coin or currency of the United States as at the time shall be legal tender for payment of
all public and private debts.

          "Cash Asset"        means any Underlying Asset that is not a Synthetic Security.

          "CDO Securities" means Asset-Backed Securities that entitle the holders thereof to receive payments that
depend (except for rights or other assets designed to assure the servicing or timely distribution of proceeds to
holders of the CDO Securities) on the cash flow from a portfolio of REIT Debt Securities, Synthetic Securities,
Asset-Backed Securities, Commercial Mortgage-Backed Securities, Residential Mortgage-Backed Securities, bank
loan securities, domestic corporate debt securities, high-grade asset-backed securities and trust preferred securities
or any combination of the foregoing, generally having the following characteristics: (1) the securities have varying
contractual maturities; (2) the securities are obligations of a relatively limited number of obligors or issuers and
accordingly represent a relatively undiversified pool of obligor credit risk; (3) repayment thereof can vary
substantially from the contractual payment schedule (if any), with early prepayment of individual securities
depending on numerous factors specific to the particular issuers or obligors and upon whether, in the case of
securities bearing interest at a fixed rate, such securities include an effective prepayment premium; and (4) proceeds
from such repayments can for a limited period and subject to compliance with certain eligibility criteria be
reinvested in additional securities.

          "Certificate       of Authentication" has the meaning specified in Section 2.3(f).

          "Clas......._s"
                     means each class of the following Notes: the Class A-1 Notes, the Class A-2 Notes, the Class B
Notes, the Class C Notes, the Class D Notes and the Class E Notes.

         "Class A Interest Distribution Amount" means the sum of the Class A-1 Interest Distribution            Amount
and Class A-2 Interest Distribution Amount.

          "Class A Notes" means the Class A-1 Notes and the Class A-2 Notes.

           "Class A-1 Interest Distribution Amount" means, with respect to the Class A-1 Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class A-1 Note Interest Rate during the ftrst
Interest Period, on the Aggregate Outstanding Amount of the Class A-1 Notes on the Closing Date, and Co) any
Distribution Date thereafter, the aggregate amount of interest accrued at the Class A-1 Note Interest Rate during the
Interest Period ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the
Class A-1 Notes on the ftrst day of such Interest Period (after giving effect to any redemption of the Class A-1 Notes
or other payment of principal of the Class A-1 Notes on any preceding Distribution Date) plus any Defaulted
Interest not previously paid relating to the Class A-1 Notes plus interest on any such Defaulted Interest that the
holders of the Class A-1 Notes are entitled to receive.




                                                                10
30775-00034   NY:1268831.8
 08-13555-mg                  Doc 29425-4    Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                             Part 1 of 4 Pg 19 of 65


         "ClassA-1 Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class A-1 Notes will bear interest, equal to LIBOR for each Interest Period plus 0.23%.

          "Class A-1 Notes" means the Class A-1 Floating Rate Notes due August 2046 issued hereunder by the
Issuers on the Closing Date.

           "Class A-2 Interest Distribution Amount" means, with respect to the Class A-2 Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class A-2 Note Interest Rate during the first
Interest Period, on the Aggregate Outstanding Amount of the Class A-2 Notes on the Closing Date, and (b) any
Distribution Date thereafter, the aggregate amount of interest accrued at the Class A-2 Note Interest Rate during the
Interest Period ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the
Class A-2 Notes on the fn-st day of such Interest Period (after giving effect to any redemption of the Class A-2 Notes
or other payment of principal of the Class A-2 Notes on any preceding Distribution Date) plus any Defaulted
Interest not previously paid relating to the Class A-2 Notes plus interest on any such Defaulted Interest that the
holders of the Class A-2 Notes are entitled to receive.

         "Class A-2 Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class A-2 Notes will bear interest, equal to LIBOR for each Interest Period plus 0.40%.

         "Class A-2 Notes" means the Class A-2 Floating Rate Notes due August 2046 issued hereunder by the
Issuers on the Closing Date.

         "Class A/B Coverage Tests" means, for so long as any Class A Note or Class B Note remains
Outstanding, the Class A/B Overcollateralization Test and the Class A/B Interest Coverage Test.

          "Class A/B Interest      Coverage Ratio" has the meaning set forth in the definition of Interest Coverage
Ratio.

         "Class A/B Interest Coverage Test" means, for so long as any Class A Note or Class B Note remains
Outstanding, a test that will be satisfied on the Closing Date and on any Measurement Date if the Class AfB Interest
Coverage Ratio as of such Measurement Date is equal to or greater than 112%; provided that the Class A/B Interest
Coverage Test will be deemed to be satisfied on the First Distribution Date.

          "Class A/B Overeollateralization  Ratio" means, as of any Measurement Date, the number (expressed as a
percentage) calculated by dividing the Net Outstanding Underlying Asset Balance on such Measurement Date by the
Aggregate Outstanding Amount of the Class A Notes and Class B Notes.

         "Class A/B Overeollateralization Test" means, for so long as any Class A Note or Class B Note remains
Outstanding, a test satisfied on the Closing Date and on any Measurement                 Date if the Class AiB
Overcollateralization Ratio on such Measurement Date is equal to or greater than 110.36%.

           "Class B Interest Distribution Amount" means, with respect to the Class B Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class B Note Interest Rate during the first Interest
Period, on the Aggregate Outstanding Amount of the Class B Notes on the Closing Date, and (b) any Distribution
Date thereafter, the aggregate amount of interest accrued at the Class B Note Interest Rate during the Interest Period
ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the Class B Notes on
the f'n'st day of such Interest Period (after giving effect to any redemption of the Class B Notes or other payment of
principal of the Class B Notes on any preceding Distribution Date) plus any Defaulted Interest not previously paid
relating to the Class B Notes plus interest on any such Defaulted Interest that the holders of the Class B Notes are
entitled to receive.

         "Class B Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class B Notes will bear interest, equal to LIBOR for each Interest Period plus 0.50%.




                                                           11
30775-00034   NY: 1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                            Part 1 of 4 Pg 20 of 65


         "Class B Notes" means the Class B Floating Rate Notes due August 2046 issued hereunder by the Issuers
on the Closing Date.

         "Class C Coverage Tests" means, for so long as any Class A Note, Class B Note or Class C Note remains
Outstanding, the Class C Overcollateralization Test and the Class C Interest Coverage Test.

          "Class C Deferred Interest" means, for so long as any Class A Note or Class B Note is Outstanding, if and
to the extent that funds are not available on any Distribution Date to pay the full amount of interest due on the Class
C Notes (including as a result of the use of available funds to make payments of principal on the Class A Notes or
Class B Notes because a Coverage Test is not satisfied) as a result of the operation of the Priority of Payments, the
amount of the unpaid interest on the Class C Notes on such Distribution Date. Any unpaid Class C Deferred Interest
will accrue interest at the Class C Note Interest Rate.

          "Class C Interest   Coverage   Ratio" has the meaning specified in the definition of Interest Coverage Ratio.

          "Class C Interest Coverage Test" means, for so long as any Class A Note, Class B Note or Class C Note
remains Outstanding, a test that will be satisfied on the Closing Date and on any Measurement Date if the Class C
Interest Coverage Ratio as of such Measurement Date is equal to or greater than 110%; provided that the Class C
Interest Coverage Test will be deemed to be satisfied on the First Distribution Date.

           "Class C Interest Distribution Amount" means, with respect to the Class C Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class C Note Interest Rate during the ftrst Interest
Period, on the Aggregate Outstanding Amount of the Class C Notes on the Closing Date, and (b) any Distribution
Date thereafter, the aggregate amount of interest accrued at the Class C Note Interest Rate during the Interest Period
ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the Class C Notes on
the fh-st day of such Interest Period (after giving effect to any redemption of the Class C Notes or other payment of
principal of the Class C Notes on any preceding Distribution Date) plus any Defaulted Interest not previously paid
relating to the Class C Notes plus interest on any such Defaulted Interest that the holders of the Class C Notes are
entitled to receive plus interest accrued on the Class C Deferred Interest at the Class C Note Interest Rate during the
Interest Period ending immediately prior to such Distribution Date, but excluding any Class C Deferred Interest.

         "Class C Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class C Notes will bear interest, equal to LIBOR for each Interest Period plus 1.30%.

         "Class C Notes" means the Class C Floating Rate Deferrable           Interest Notes due August 2046 issued
hereunder by the Issuers on the Closing Date.

          "Class C Overcollateralization   Ratio" means, as of any Measurement Date, the number (expressed as a
percentage) calculated by dividing the Net Outstanding Underlying Asset Balance on such Measurement Date by the
sum of (a) Aggregate Outstanding Amount of the Class A Notes, Class B Notes and Class C Notes and (b) any
outstanding Class C Deferred Interest.

         "Class C Overcollateralization   Test" means, for so long as any Class A Note, Class B Note or Class C
Note remains Outstanding, a test satisfied on the Closing Date and on any Measurement Date if the Class C
Overcollateralization Ratio on such Measurement Date is equal to or greater than 108.38%.

        "Class D Coverage Tests" means, for so long as any Class A Note, Class B Note, Class C Note or Class D
Note remains Outstanding, the Class D Overcollateralization Test and the Class D Interest Coverage Test.

          "Class D Deferred Interest" means, for so long as any Class A Note, Class B Notes or Class C Note is
Outstanding, if and to the extent that funds are not available on any Distribution Date to pay the full amount of
interest due on the Class D Notes (including as a result of the use of available funds to make payments of principal
on the Class A Notes, Class B Notes or Class C Notes because a Coverage Test is not satisfied) as a result of the
operation of the Priority of Payments, the amount of the unpaid interest on the Class D Notes on such Distribution
Date. Any unpaid Class D Deferred Interest will accrue interest at the Class D Note Interest Rate.


                                                            12
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                           Part 1 of 4 Pg 21 of 65


         "Class D Interest Coverage Ratio" has the meaning specified in the definition of Interest Coverage Ratio.

          "Class D Interest Coverage Test" means, for so long as any Class A Note, Class B Note, Class C Note, or
Class D Notes remains Outstanding, a test that will be satisfied on the Closing Date and on any Measurement Date if
the Class D Interest Coverage Ratio as of such Measurement Date is equal to or greater than 107%; provided that the
Class D Interest Coverage Test will be deemed to be satisfied on the First Distribution Date.

           "Class D Interest Distribution Amount" means, with respect to the Class D Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class D Note Interest Rate during the first Interest
Period, on the Aggregate Outstanding Amount of the Class D Notes on the Closing Date, and (b) any Distribution
Date thereafter, the aggregate amount of interest accrued at the Class D Note Interest Rate during the Interest Period
ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the Class D Notes on
the first day of such Interest Period (after giving effect to any redemption of the Class D Notes or other payment of
principal of the Class D Notes on any preceding Distribution Date) plus any Defaulted Interest not previously paid
relating to the Class D Notes plus interest on any such Defaulted Interest that the holders of the Class D Notes are
entitled to receive plus interest accrued on the Class D Deferred Interest at the Class D Note Interest Rate during the
Interest Period ending immediately prior to such Distribution Date, but excluding any Class D Deferred Interest.

         "Class D Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class D Notes will bear interest, equal to LIBOR for each Interest Period plus 3.15%.

         "Class D Notes" means the Class D Floating Rate Deferrable          Interest Notes due August 2046 issued
hereunder by the Issuers on the Closing Date.

          "Class D Overeollateralization   Ratio" means, as of any Measurement Date, the number (expressed as a
percentage) calculated by dividing the Net Outstanding Underlying Asset Balance on such Measurement Date by the
sum of (a) Aggregate Outstanding Amount of the Class A Notes, Class B Notes, Class C Notes and Class D Notes,
(b) any outstanding Class C Deferred Interest and (c) any outstanding Class D Deferred Interest.

         "Class D Overcollateralization Test" means, for so long as any Class A Note, Class B Note, Class C Note
or Class D Note remains Outstanding, a test satisfied on the Closing Date and on any Measurement Date if the Class
D Overcollateralization Ratio on such Measurement Date is equal to or greater than 104.75%.

          "Class D Priority. Redemption Amount" means an amount distributable as principal on the Class D Notes
during the Priority Distribution Period pursuant to clause (16) of Section ll.l(a)(i),   to the extent of the funds
available therefor on any Distribution Date, which amount shall not exceed, for each Distribution Date specified on
Schedule N, the amount set forth on Schedule N opposite such Distribution Date.

          "Class E Deferred Interest" means, for so long as any Class A Note, Class B Note, Class C Notes or Class
D Note is Outstanding, if and to the extent that funds are not available on any Distribution Date to pay the full
amount of interest due on the Class E Notes (including as a result of the use of available funds to make payments of
principal on the Class A Notes, Class B Notes, Class C Notes or Class D Notes because a Coverage Test is not
satisfied) as a result of the operation of the Priority of Payments, the amount of the unpaid interest on such
Distribution Date. Any unpaid Class E Deferred Interest will accrue interest at the Class E Note Interest Rate.

          "Class E Interest Distribution Amount" means, with respect to the Class E Notes and (a) the First
Distribution Date, the aggregate amount of interest accrued at the Class E Note Interest Rate during the first Interest
Period, on the Aggregate Outstanding Amount of the Class E Notes on the Closing Date, and (b) any Distribution
Date thereafter, the aggregate amount of interest accrued at the Class E Note Interest Rate during the Interest Period
ending immediately prior to such Distribution Date, on the Aggregate Outstanding Amount of the Class E Notes on
the fncst day of such Interest Period (after giving effect to any redemption of the Class E Notes or other payment of
principal of the Class E Notes on any preceding Distribution Date) plus any Defaulted Interest not previously paid
relating to the Class E Notes plus interest on any such Defaulted Interest that the holders of the Class E Notes are
entitled to receive plus interest accrued on the Class E Deferred Interest at the Class E Note Interest Rate during the
Interest Period ending immediately prior to such Distribution Date, but excluding any Class E Deferred Interest.



                                                          13
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                               Part 1 of 4 Pg 22 of 65


         "ClassE Note Interest Rate" means, with respect to any Interest Period, the per annum floating rate at
which the Class E Notes will bear interest, equal to LIBOR for each Interest Period plus 6.00%.

         "Class E Notes" means the Class E Floating Rate Deferrable             Interest Notes due August 2046 issued
hereunder by the Issuers on the Closing Date.

          "Clean-Up       Call Redemption" has the meaning specified pursuant to Section 9.1.

        "Clearing        Agency" means an organization registered as a "clearing agency" pursuant to Section 17A of the
Exchange Act.

          "Clearance      System" Euroclear, Clearstream or DTC.

         "Clearstream" means Clearstream Banking, socift6 anonyme, a corporation organized under the laws of
the Grand Duchy of Luxembourg.

          "Closing Date" means August 17, 2006.

          "CMBS Securities" means Asset-Backed Securities that entitle the holders thereof to receive payments that
depend (except for rights or other assets designed to assure the servicing or timely distribution of proceeds to
holders of the Asset-Backed Securities) on the cash flow from a pool of commercial mortgage loans made to finance
the acquisition, construction and improvement of properties or the leasing of such properties to corporate tenants.

          "Code" means the United States Intemal Revenue Code of 1986, as amended.

          "Co-Issuer" means Gemstone CDO VI Corp., a corporation organized under the law of the State of
Delaware, unless a successor Person shall have become the Co-Issuer pursuant to the applicable provisions of this
Indenture, and thereafter Co-Issuer shall mean such successor Person.

          "Co-Issuers"      or "Issuers" means the Issuer and Co-Issuer.

          "Collateral"     has the meaning specified in the Granting Clauses.

          "Collateral Administrator"  means the Bank, solely in its capacity as collateral administrator under the
Collateral Administration Agreement, unless a successor Person shall have become the Collateral Administrator
pursuant to the applicable provisions of the Collateral Administration Agreement, and thereafter, the Collateral
Administrator shall mean such successor Person.

         "Collateral Administration     Agreement" means the coUateral administration agreement, dated as of the
date hereof, among the Issuer, the Collateral Manager and the Collateral Administrator.

          "Collateral     Imbalance   Date" has the meaning set forth in the Interest Rate Swap Agreement.

          "Collateral Manager" means HBK Investments L.P., unless a Replacement Manager shall have become
the collateral manager pursuant to the provisions of the Management Agreement, and thereafter "Collateral
Manager" shall mean such Replacement Manager.

          "Collateral Manager Group" means the Collateral Manager               and any directly or indirectly controlled
subsidiary of the Collateral Manager.

          "Collateral Manager Securities" means all Securities beneficially owned by the Collateral Manager or
any Affiliate thereof or by an account or fund for which the Collateral Manager or an Affiliate thereof acts as the
investment adviser (with discretionary authority).




                                                              14
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                              Part 1 of 4 Pg 23 of 65


         "CollateralQuali_, Tests" means the Standard & Poor's Minimum Weighted Average Recovery Rate
Test, the Moody's Asset Correlation Test, the Moody's Minimum Weighted Average Recovery Rate Test, the
Moody's Weighted Average Rating Factor Test, the Weighted Average Coupon Test and the Weighted Average
Spread Test.

         "Collection Accounts" means the Interest Collection Account and the Principal Collection Account.

          "Common Stock" means, as of the Closing Date, the authorized common stock of the Co-Issuer which will
consist of 250 shares of common stock, $1.00 par value, all of which shares will have been issued to the Issuer.

         "Company         Announcements    Office" means the Company Announcements         Office of the Exchange.

         "Controlling Class" means (a) the Class A Notes, (b) if there are no Class A Notes Outstanding, the class
B Notes, (c) if there are no Class A Notes or Class B Notes Outstanding, the Class C Notes, (d) if there are no Class
A Notes, Class B Notes or Class C Notes Outstanding, the Class D Notes and (e) if there are no Class A Notes,
Class B Notes, Class C Notes or Class D Notes Outstanding, the Class E Notes.

          "Corporate Trust Office" means the designated corporate trust office of the Trustee, currently located at
1761 East St. Andrew Place, Santa Ana, California 92705, Attention: Gemstone CDO VI, telephone number (714)
247-6000, or such other address as the Trustee may designate from time to time by notice to the Securityholders, the
Collateral Manager and the Issuer or the principal corporate trust office of any successor Trustee.

         "Coverage Tests" means the Overcollateralization          Tests and Interest Coverage Tests applicable at the time
of determination.

           "Credit Card Securities" means Asset-Backed Securities that entitle the holders thereof to receive
payments that depend (except for rights or other assets designed to assure the servicing or timely distribution of
proceeds to holders of the Asset-Backed Securities) on the cash flow from balances outstanding under revolving
consumer credit card accounts, generally having the following characteristics:     (1) the accounts have standardized
payment terms and require minimum monthly payments; (2) the balances are obligations of numerous borrowers and
accordingly represent a diversified pool of obligor credit risk; and (3) the repayment stream on such balances does
not depend upon a contractual payment schedule, with early repayment depending primarily on interest rates,
availability of credit against a maximum credit limit and general economic matters.

           "Credit Risk Obligation" means (a) during any period which is not a Restricted Trading Period, any
Underlying Asset (which shall mean with respect to a Synthetic Security, the related Reference Obligation), other
than an Equity Security, whose rating has been downgraded, qualified or withdrawn by Standard & Poor's, Moody's
or Fitch or has been put on "negative credit watch" or similar status for possible downgrading, qualification or
withdrawal from the ratings that were in place as of the date the Issuer purchased such Underlying Asset or that (i)
in the reasonable business judgment of the Collateral Manager (which judgment shall not be called into question as a
result of subsequent events), has a significant risk of declining in credit quality or, over time, becoming a Defaulted
Security or (ii) it is currently deferring interest or is a Written Down Security; or (b) during a Restricted Trading
Period, any Underlying Asset (other than an Equity Security) (i) whose rating has been downgraded, qualified or
withdrawn by Standard & Poor's, Moody's or Fitch or has been put on "negative credit watch" or similar status for
possible downgrading, qualification or withdrawal from the ratings that were in place as of the date the Issuer
purchased such Underlying Asset, (ii) that has experienced an increase in credit spread over the applicable U.S.
Treasury Benchmark, the applicable swap benchmark or the applicable LIBOR by (x) 0.40% or more if the original
credit spread (as of the date on which such Underlying Asset was f'trst included in the portfolio) was greater than
 1.50% or (y) 0.20% if the original credit spread (as of the date on which such Underlying Asset was first included in
the portfolio) was less than or equal to 1.50%, or (iii) that is currently deferring interest or is a Written Down
 Security.

          "Custodial      Account" has the meaning specified in Section 10.2(i).




                                                              15
30775-00034NY:1268831.8
 08-13555-mg            Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                           Part 1 of 4 Pg 24 of 65


         "Default"means
                      anyEventof Defaultor anyoccurrence
                                                      that,withnoticeor thelapseof                         time or both,
would become an Event of Default.

           "Defaulted Interest" means any interest due and payable in respect of any Class A Note or any Class B
Note or, if no Class A Notes or Class B Notes are Outstanding, any Class C Note (other than Class C Deferred
Interest), if no Class C Notes are Outstanding, any Class D Notes (other than Class D Deferred Interest) or, if no
Class D Notes are Outstanding, any Class E Note (other than Class E Deferred Interest) which is not punctually paid
or duly provided for on the applicable Distribution Date or at Stated Maturity and which remains unpaid. In no
event shall interest which is deferred and capitalized as Deferred Interest in accordance with Section 2.6(a)
constitute Defaulted Interest.

          "Defaulted Security" means any Pledged Underlying Asset (which shall mean with respect to a Synthetic
Security, the related Reference Obligation) or any other security included in the Collateral:

          (a)      as to which (i) the issuer thereof has failed to make a scheduled payment of principal or interest
without giving effect to any grace period or waiver; provided that a payment default of up to three (3) Business Days
with respect to which the Collateral Manager certifies in writing to the Trustee, in its reasonable judgment, is due to
non-credit and non-fi'aud related reasons shall not cause an Underlying Asset to be classified as a Defaulted Security
or (ii) pursuant to its Underlying Instruments, there has occurred any default or event of default which entities the
holders thereof, with notice or passage of time or both, to accelerate the maturity (whether by mandatory
prepayment, mandatory redemption or otherwise) of all or a portion of the outstanding principal amount of such
security, unless (A) in the case of a default or event of default consisting of a failure of the obligor on such security
to make required interest payments, such security has resumed current and any due but unpaid payments of interest
in Cash (provided that no restructuring has been effected) or (B) in the case of any other default or event of default,
such default or event of default is no longer continuing;

          (b)       that ranks pari passu with or subordinate to any other material indebtedness for borrowed money
owed by the issuer of such security (for purposes hereof, "Other Indebtedness") if such issuer had defaulted in the
payment of principal or interest with respect to such Other Indebtedness; provided that such a payment default of up
to three (3) Business Days with respect to which the Collateral Manager certifies in writing to the Trustee, in its
reasonable judgment, is due to non-credit and non-fraud related reasons shall not cause an Underlying Asset to be
classified as a Defaulted Security; provided further, that in the case of a default or event of default consisting of a
failure of the obligor on such security to make required interest payments, such Other Indebtedness has resumed
current payments of interest (including all accrued interest) in Cash (whether or not any waiver or restructuring has
been effected), provided even further that a security shall be considered a Defaulted Security pursuant to this clause
(b) only if either (i) such default or event of default results in the assignment of a rating of "CC" or lower or "D" or
"SD" by Standard & Poor's or "Ca" or "C" by Moody's or (ii) the Collateral Manager, based upon due inquiry in
accordance with the practices and procedures followed by investment managers of recognized standing, has obtained
knowledge of such default or event of default and any characterization by the Collateral Manager of such security
other than as a "Defaulted Security" fails to satisfy the Rating Condition;

          (c)       as to which a Bankruptcy Event has occurred and is continuing with respect to an entity that is: (i)
with respect to securities issued by a Person directly, the special purpose entity that is the issuer of such securities,
or (ii) with respect to securities issued by trusts to which an entity deposits assets, either (A) the special purpose
entity that is the depositor to the trust that issues such securities, or (B) the trust that issues such securities;

         (d)      that is rated (i) "CC" or lower or "D" or "SD" by Standard & Poor's or a rating is withdrawn by
Standard & Poor's, or (ii) "Ca" or "C" by Moody's;

           (e)      in respect of any Underlying Asset that is a PIK Bond of which there has been a failure to pay
interest (i) in a cumulative amount equal to or exceeding the amount of interest due in one payment period (if such
Collateral Security is rated (or privately rated for purposes of the issuance of the Securities) below "Baa3" by
Moody's) or (ii) for two consecutive payment periods even if by its terms it provides for the deferral and
capitalization of interest thereon, but only until such time as payment of interest on such Underlying Asset has




                                                           16
30775-00034 NY: 1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                              Part 1 of 4 Pg 25 of 65


resumed
      andallDeferred
                   Interest
                         hasbeenpaidin accordance
                                               withthetermsoftherelatedUnderlying
                                                                                Instrument;
or



          (f)       which is a Synthetic Security Counterparty Defaulted Obligation.

          "Defaulting     Party" or "defaulting   party" has the meaning specified in the Interest Rate Swap Agreement.

        "Deferred Interest" means, with respect to the Class C Notes, the Class D Notes or the Class E Notes, the
Class C Deferred Interest, the Class D Deferred Interest or the Class E Deferred Interest, respectively.

          "Deferred Interest PIK Bond" means, a PIK Bond with respect to which payment of interest either in
whole or in part has been deferred in an amount equal to (a) if such PIK Bond has a Moody's Rating of at least
"Baa3", the amount of interest payable in respect of the lesser of (x) two payment periods and (y) a period of one
year; or (b) if such PIK Bond has a Moody's Rating of below "Baa3", the amount of interest payable in respect of
the lesser of (x) one payment period and (y) a period of six months, but only until such time as payment of interest
on such PIK Bond has resumed and all capitalized and deferred interest has been paid in accordance with the terms
of the relevant Underlying Instruments.

          "Definitive Note" means Regulation S Definitive Notes.

          "Delivered Obligation" means, with respect to any Synthetic Security, a Reference Obligation physically
delivered to the Issuer.

          "Depositary" means, with respect to the Notes issued in the form of one or more Global Notes, the Person
designated as Depositary pursuant to Section 2.2(e) or any successor thereto appointed pursuant to the applicable
provisions of this Indenture.

         "Depositary Participant" means a broker, dealer, bank or other financial institution or other Person for
whom from time to time the Depositary effects book-entry transfers and pledges of notes deposited with the
Depositary.

          "Designated Maturity" means, with respect to any Class of Notes for each Interest Period, three months.

          "Determination      Date" means the last day of a Due Period.

           "Discount Underlying Asset" means (i) any Underlying Asset (other than a Defaulted Security or a
Deferred Interest PIK Bond) that is a Floating Rate Security and has a Moody's Rating of "Aa3" or higher acquired
by the Issuer after the Closing Date for an acquisition price of less than 92% of the Principal/Notional Balance of
such Underlying Asset, unless the market value for such Underlying Asset equals or exceeds 95% of the
Principal/Notional Balance of such Underlying Asset (as certified by the Collateral Manager to the Trustee) for 60
consecutive days, (ii) any Underlying Asset (other than a Defaulted Security or a Deferred Interest PIK Bond) that is
a Fixed Rate Security and has a Moody's Rating of "Aa3" or higher acquired by the Issuer after the Closing Date for
an acquisition price of less than 85% of the Principal/Notional Balance of such Underlying Asset, unless the market
value for such Underlying Asset equals or exceeds 90% of the Principal/Notional Balance of such Underlying Asset
(as certified by the Collateral Manager to the Trustee) for 60 consecutive days and (iii) any Underlying Asset (other
than a Defaulted Security or a Deferred Interest PIK Bond) that has a Moody's Rating below "Aa3" acquired by the
Issuer after the Closing Date for an acquisition price of less than 75% of the Principal/Notional Balance of such
Underlying Asset, provided that such Underlying Asset shall cease to be a Discount Underlying Asset at such time
as the market value of such Underlying Asset equals or exceeds 85% of the Principal/Notional Balance of such
Underlying Asset (as certified by the Collateral Manager to the Trustee) for 60 consecutive days; provided that no
Underlying Asset purchased prior to the Closing Date shall be a Discount Underlying Asset.

         "_",        "disposition" or "disposed" means, with respect to (i) an Underlying Asset other than a
Synthetic Security, the disposition of such Underlying Asset and (ii) a Synthetic Security (together with the related
Reference Obligation), the assignment or termination of such Synthetic Security.


                                                              17
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                              Part 1 of 4 Pg 26 of 65


          "Disposition Proceeds" means all proceeds received on behalf of the Issuer as a result of sales or other
dispositions of Pledged Securities, and the termination of the Synthetic Securities and an Interest Rate Swap
Agreement, excluding accrued interest and net of any reasonable out-of-pocket expenses of the Collateral Manager
or the Trustee in connection with any such sale, other disposition or termination.

        "Distribution" means any payment of principal of or interest on or any fee, dividend or premium payment
made on, or any other distribution in respect of, an obligation or security.

            "Distribution Compliance Period" means, subject to the requirements of Section 2.4(i), with respect to
the Regulation S Notes, the period beginning on the Closing Date and ending on (and including) the 40th day
thereafter.
                                                                                                                      !.


           "Distribution Date" means (A) the 17th day of each February, May, August and November of each year,
commencing with the Distribution Date in November 2006 (subject to Section 14.9), and ending on the August 2046
Distribution Date, and (B) the Accelerated Maturity Date, or if any such day is not a Business Day, the next
Business Day thereafter.

         "Dollar" or "_$"means a dollar or other equivalent unit in such coin or currency of the United States as at
the time shall be legal tender for all debts, public and private.

          "DT......C.C"
                   means The Depository Trust Company, a New York corporation.

        "Due Date" means, with respect to a Pledged Security, each date on which a Distribution is due on such
Pledged Security.

          "Due Period" means, with respect to any Distribution Date, the period commencing immediately following
the fifth Business Day prior to the preceding Distribution Date (or on the Closing Date, in the case of the Due Period
relating to the First Distribution Date) and ending on the fifth Business Day prior to such Distribution Date (or, in
the case of the Due Period that is applicable to the Distribution Date relating to the Stated Maturity of the Notes,
such Due Period shall end on the day preceding the Stated Maturity).

          "Earnings"      has the meaning set forth in the Investment Agreement.

         "Eligible Investments" means any Dollar-denominated investment that is not a Prohibited Asset and is one
or more of the following (and may include investments for which the Trustee and/or its affiliates provides services):

          (a)       Cash;

          (b)     direct Registered obligations of, and Registered obligations the timely payment of principal and
interest on which is fully and expressly guaranteed by, the United States or any agency or instrumentality of the
United States the obligations of which are expressly backed by the full faith and credit of the United States;

          (c)      demand and time deposits in, interest bearing trust accounts at, certificates of deposit of, bankers'
acceptances payable within 183 days of issuance issued by, or Federal funds sold by any depository institution or
trust company incorporated under the laws of the United States or any state thereof and subject to supervision and
examination by Federal and/or state banking authorities so long as the commercial paper and/or the debt obligations
of such depository institution or trust company (or, in the case of the principal depository institution in a holding
company system, the commercial paper or debt obligations of such holding company) at the time of such investment
or contractual commitment providing for such investment have a credit rating of not less than "AA+" by Standard &
Poor's, "Aa2" by Moody's, and if so rated, such rating is not on watch for downgrade by Moody's, and "AA+" by
Fitch (if rated by Fitch) in the case of long-term debt obligations, or "A-l+" by Standard & Poor's, "P-I" by
Moody's, and if so rated, such rating is not on watch for downgrade by Moody's, and "FI+" by Fitch (if rated by
Fitch) in the case of commercial paper and short-term debt obligations; provided that (i) in each case, the issuer
thereof must have at the time of such investment or contractual commitment providing for such investment a long-
term credit rating of not less than "Aa2" by Moody's, and if so rated, such rating is not on watch for downgrade by


                                                             18
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4   Filed 07/16/12 Entered 07/16/12 16:40:47              Exhibit D
                                        Part 1 of 4 Pg 27 of 65


Moody's,and"AA+"by Fitch(if ratedby Fitch)and(ii) in thecaseof commercial paperandshort-term
                                                                                           debt
obligations
         witha maturityoflongerthan91days,theissuerthereof
                                                         mustalsohaveatthetimeofsuchinvestment
or contractual
            commitment  providingfor suchinvestment
                                                  a long-termcreditratingof notlessthan"AA+"by
Standard& Poor'sand"AA+"byFitch(if ratedbyFitch);
         (d)     unleveraged   repurchaseobligations(if treatedasdebtfortaxpurposes   bytheissuer)withrespect
to (i) anysecuritydescribed   in clause(b)aboveor (ii) anyotherRegistered    securityissuedor guaranteedby an
agency  or instrumentality
                         oftheUnitedStates    (ineachcasewithoutregardtotheStated     Maturityofsuchsecurity),
in eithercaseentered  intowithaU.S.Federal     orstatedepository institution
                                                                           or trustcompany (actingasprincipal)
described in clause(c)aboveorentered    intowithacorporation    (actingasprincipal)whoselong-term ratingatthe
timeof suchinvestment     or contractual commitment  providingfor suchinvestment    is notlessthan"A.A+"by
Standard  & Poor's,"Aa2"byMoody's,     andif sorated,suchratingisnotonwatchfordowngrade       byMoody's,  and
"AA+"byFitch(if ratedby Fitch)or whoseshort-term        creditratingatthetimeof suchinvestment   orcontractual
commitment   providing forsuchinvestment   is"A-l+" byStandard   & Poor's,"P-1"byMoody's,  andif sorated,such
ratingis noton watchfor downgrade       by Moody's,and"FI+" by Fitch(if ratedby Fitch)atthetimeof such
investment;  providedthat(i) ineachcase,theissuer  thereof musthaveatthetimeofsuchinvestment     orcontractual
commitment    providingforsuchinvestment    a long-term creditratingof notlessthan"Aa2"byMoody's,    andif so
rated,suchratingis notonwatchfordowngrade        by Moody's,   "AA+"by Fitch(if ratedbyFitch)and(ii) if such
security hasa maturityof longerthan91days,theissuerthereof       mustalsohaveatthetimeof suchinvestment    or
contractual commitment  providing  forsuchinvestment  along-term  creditratingofnotlessthan"AA+"by Standard
& Poor's, "Aa2"byMoody's,     andif sorated,suchratingis notonwatchfordowngrade      byMoody's, and"AA+"by
Fitch(ifratedbyFitch);
       (e)     Registereddebtsecuritiesbearinginterestor soldat a discountissuedby anycorporation
incorporated
           underthelawsof theUnitedStates   or anystatethereofthathavea creditratingatthetimeof such
investmentor contractual
                      commitment providing forsuchinvestmentof notlessthan"AA" byStandard   & Poor's,
"Aa2"by Moody's, andif sorated,suchratingis notonwatchfordowngrade  byMoody'sand"AA+"by Fitch(if
ratedbyFitch);
       (f)      commercialpaperorothershort-termobligations
                                                          withamaturityofnotmorethan183daysfrom
thedateof issuance andhavingatthetimeof suchinvestment    or contractualcommitment providingfor such
investmentacreditratingof"A-l+" byStandard & Poor'sand"FI+"byFitch(if ratedbyFitch);provided
                                                                                           that(i) in
eachcase,theissuerthereofmusthaveatthetimeofsuchinvestment  orcontractualcommitment providingforsuch
investmenta long-termcreditratingofnotlessthan"Aa2"byMoody's, andif sorated,suchratingisnotonwatch
fordowngrade  byMoody's  and"AA+"byFitch(if ratedbyFitch)and(ii) if suchsecurity
                                                                               hasa maturityoflonger
than91days,theissuer  thereof
                            mustalsohaveatthetimeofsuchinvestment    orcontractual
                                                                                 commitmentproviding
forsuchinvestment a long-termcreditratingofnotlessthan"AA" by Standard  & Poor'sand"AA+"by Fitch(if
ratedbyFitch);
         (g)    Reinvestment Agreements issuedby anybank(if treatedas a depositby suchbank),or a
Registered ReinvestmentAgreement issuedby anyinsurance   company or othercorporationor entityorganized
underthelawsof theUnitedStates  or anystatethereof(if treated
                                                            asdebtfortaxpurposes by theissuer),  in each
case,thathasacreditratingof notlessthan"A-l+" by Standard & Poor's,"P-I"byMoody's, andif sorated,such
ratingis notonwatchfordowngrade  byMoody'sand"FI+"byFitch(if ratedby Fitch);provided     that(i) in each
case,theissuerthereofmusthaveatthetimeof suchinvestment     or contractual
                                                                         commitment providingforsuch
investment along-term
                    creditratingof notlessthan"Aa2"byMoody's,   andif sorated,suchratingis notonwatch
fordowngrade  byMoody's,"AA+"byFitch(if ratedbyFitch)and(ii) if suchsecurityhasamaturityoflongerthan
91days,theissuerthereofmustalsohaveatthetimeof suchinvestment    or contractual
                                                                              commitment  providingfor
suchinvestment along-termcreditratingofnotlessthan"AA"by Standard   & Poor'sand"AA+"byFitch(if rated
byFitch);
        (h)     anymoney  marketfundorsimilarinvestment
                                                     vehiclehavingatthetimeofinvestment   therein
                                                                                                the
highestcreditratingassignedbyeachof theRatingAgencies;
                                                    provided that(i) suchfundorvehicleis formedand
hasitsprincipalofficeoutside
                           theUnitedStates,
                                         (ii)noincome
                                                    tobereceived  fromsuchfundorvehicleisorwill be



                                                    19
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                         Exhibit D
                                              Part 1 of 4 Pg 28 of 65


subject
      todeduction
                orwithholding
                            fororonaccount
                                        ofanywithholding
                                                       orsimilartax,and(iii)theownership
                                                                                      of an
interest in such fund or vehicle will not subject the Issuer to net income tax in any jurisdiction;

          (i)     any guaranteed investment contract, asset swap, funding agreement, investment agreement or
other similar agreement from, or a note or a certificate backed by any guaranteed investment contract, funding
agreement, investment agreement or other similar agreement from, a bank, insurance company or other corporation
or entity and has a long term unsecured obligation rating of at least "AA-" by Standard & Poor's and at least "Aa3"
by Moody's; and

        (j)       any other security the acquisition of which satisfies the Rating Condition and the ownership of
which will not subject the Issuer to income tax on a net income basis for U.S. Federal income tax purposes;

and, in each case (other than clause (a) or (i) or (j)), with a Stated Maturity (giving effect to any applicable grace
period) no later than the Business Day immediately preceding the Distribution Date immediately following the Due
Period in which the date of investment occurs; provided that Eligible Investments may not include (i) any security
that does not provide for the repayment of a stated fixed amount of principal in one or more installments, any
interest-only security, any security purchased at a price in excess of one hundred percent (100%) of the par value
thereof or any security whose repayment is subject to substantial non-credit related risk as determined in the
reasonable business judgment of the Collateral Manager, (ii) any Floating Rate Security whose interest rate is
inversely or otherwise not proportionately related to an interest rate index or is calculated as other than the sum of an
interest rate index plus a spread, (iii) any security subject to withholding tax in any jurisdiction or (iv) any security
that is subject to an Offer and has not been called for redemption.           Notwithstanding the foregoing, Eligible
Investments shall not include PIK Bonds, CMBS Securities, RMBS Securities, Margin Stock, Principal Only
Securities and any security with a rating from Standard & Poor's which includes the subscript "p," "pi," "q," "r" or
"t". The Trustee or its Affiliates are permitted to receive additional compensation that could be deemed to be in the
Trustee's economic self-interest for (x) serving as investment advisor, administrator, shareholder servicing agent,
custodian • or sub-custodian with respect to certain of the Eligible Investments, (y) using Affiliates to effect
transactions in certain Eligible Investments and (z) effecting transactions in certain Eligible Investments; provided,
however, that such compensation shall not be an amount that is reimbursable or payable by the Issuer or otherwise
pursuant to this Indenture. For the avoidance of doubt, an Eligible Investment is not an Underlying Asset.

          "Eligible Substitute Asset" means any Underlying           Asset (which shall mean with respect to a Synthetic
Security, the related Reference Obligation):

          (i)       which is an RMBS Security or an Other ABS Security;

          (ii)      that is not deferring interest and has not capitalized interest that has not been paid in full;

          (iii)     that has a Principal/Notional Balance at least equal to that of the Underlying Asset designated for
replacement by the Collateral Manager at the time of disposition; provided that if two or more Eligible Substitute
Assets are purchased with the Disposition Proceeds of the Underlying Asset designated for replacement by the
Collateral Manager, the Aggregate Principal/Notional Balance of such Eligible Substitute Assets shall be at least
equal to the Principal/Notional Balance of the Underlying Asset designated for replacement at the time of sale;

          (iv)    that has an Average Life that is equal to or shorter than that of the Underlying Asset designated by
the Collateral Manager for replacement;

          (v)       whose obligor or issuer is incorporated or organized under the laws of the United States;

         (vi)    that has a Moody's Rating and Standard & Poor's Rating greater than that or equal to that the
Underlying Asset designated for replacement had at the time it was purchased by the Issuer; and

          (vii)     that satisfies the Substitution Criteria.




                                                                20
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                   Exhibit D
                                              Part 1 of 4 Pg 29 of 65


          "Equipment   Lease Securities" means Asset-Backed Securities that entitle the holders thereof to receive
payments that depend (except for rights or other assets designed to assure the servicing or timely distribution of
proceeds to holders of the Asset-Backed Securities) on the cash flow from leases and subleases of equipment to
commercial and industrial customers, generally having the following characteristics: (1) the leases and subleases
have varying contractual maturities; (2) the leases or subleases are obligations of a relatively limited number of
obligors and accordingly represent an undiversified pool of obligor credit risk; (3) the repayment stream on such
leases and subleases is primarily determined by a contractual payment schedule, with early termination of such
leases and subleases predominantly dependent upon the disposition to a lessee, sublessee or third party of the
underlying equipment; and (4) such leases or subleases typically provide for the right of the lessee or sublessee to
purchase the equipment for its stated residual value, subject to payments at the end of lease term for excess usage.

          "Equip. Securi_." means any equity security (which shall mean with respect to a Synthetic Security, the
related Reference Obligation) which is acquired by the Issuer as a result of the exercise or conversion of an
Underlying Asset, in conjunction with the purchase of an Underlying Asset or in exchange for a Defaulted Security
and which does not entitle the holder thereof to receive periodic payments of interest and one or more installments
of principal.

          "ERISA" has the meaning specified in Section 2.4.

          "Euroelear"     means Euroclear Bank S.A./N.V. as operator of the Euroclear System.

          "Event of Default" has the meaning specified in Section 5.1.

          "Excel Default Model Input File" means an electronic spreadsheet file including the following
information (to the extent such information is not confidential) with respect to each Underlying Asset: (a) the name
and country of domicile of the issuer thereof and the particular issue held by the Issuer, (b) the CUSIP or other
applicable identification number associated with such Underlying Asset, (c) the par value of such Underlying Asset,
(d) the type of issue (including, by way of example, whether such Underlying Asset is a bond, loan or asset-backed
security), using such abbreviations as may be selected by the Trustee, (e) a description of the index or other
applicable benchmark upon which the interest payable on such Underlying Asset is based (including, by way of
example, fixed rate, step-up rate, zero coupon and LIBOR), (f) the coupon (in the case of an Underlying Asset which
bears interest at a fixed rate) or the spread over the applicable index (in the case of an Underlying Asset which bears
interest at a floating rate), (g) the S&P Industry Classification Group for such Underlying Asset, (h) the stated
maturity date of such Underlying Asset, (i) the Standard & Poor's rating of such Underlying Asset or the issuer
thereof, as applicable, (j) the priority category assigned by Standard & Poor's to such Underlying Asset, if available,
(k) the Balance of the Cash and Eligible Investments in the Accounts and (k) such other information as the Trustee
may determine to include in such file.

          "Excepted Property." means (a) the Preference Share Payment Account and all of the funds and other
property from time to time deposited in or credited to the Preference Share Payment Account and the proceeds
thereof, (b) $250 representing the paid share capital on the ordinary shares of the Issuer, (c) $250 representing the
paid share capital on the Common Stock of the Co-Issuer and (d) $250 representing a profit fee to the Issuer,
together with any interest accruing thereon, and the non-interest bearing trust account in which such monies are
held.

          "Excess Amounts" mean the Excess Principal Proceeds and the Excess Interest.

          "Excess Interest"    has the meaning specified in Section 11.1(a)(i).

          "Excess Principal     Proceeds" has the meaning specified in Section 11.1 (a)(ii).

          "Exchange"      means the Irish Stock Exchange Limited.

          "Exchange Act" means the United States Securities Exchange Act of 1934, as amended.




                                                             21
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                            Part 1 of 4 Pg 30 of 65


         "Expense
                Account"        has the meaning specified in Section 10.4.

          "Fair Market Value" of any Underlying Asset means, at any time, (a) an amount equal to (i) the average
of the bona fide bids for such Underlying Asset obtained by the Collateral Manager at such time from any three
nationally recognized dealers, which dealers are Independent from one another and from the Collateral Manager, (ii)
if the Collateral Manager is in good faith unable to obtain bids from three such dealers, the lesser of the bona fide
bids for such Underlying Asset obtained by the Collateral Manager at such time from any two nationally recognized
dealers chosen by the Collateral Manager, which dealers are Independent from each other and from the Collateral
Manager or (iii) if the Collateral Manager is in good faith unable to obtain bids from two such dealers, the bona fide
bid for such Underlying Asset obtained by the Collateral Manager at such time from any nationally recognized
dealer chosen by the Collateral Manager, which dealer is Independent from the Collateral Manager, (b) if the
Collateral Manager is unable to obtain the required bids pursuant to clause (a) above, the lesser of the bid side prices
for such Underlying Asset on such date provided by two pricing services chosen by the Collateral Manager which
satisfy the Rating Condition with respect to Standard & Poor's, which pricing services are Independent from each
other and the Collateral Manager or (c) if the Collateral Manager is unable to obtain prices from two pricing
services pursuant to clause (b) above, the bid side price provided by one pricing service chosen by the Collateral
Manager which satisfy the Rating Condition with respect to Standard & Poor's, which pricing service is Independent
from the Collateral Manager, provided that (A) if the Collateral Manager is unable in good faith to obtain bona fide
bids on such Underlying Asset pursuant to any of subclauses (i), (ii) and (iii) of clause (a) but is able to obtain bona
fide bids from the requisite number of dealers with respect to the same security in a principal amount other than the
principal amount of such Underlying Asset in accordance with such subclause, the "Fair Market Value" of such
Underlying Asset shall be equal to the amount determined pursuant to such subclause using the bona fide bids (or
the bona fide bid) obtained for such security in such other principal amount adjusted to reflect the actual principal
amount of such Underlying Asset, (B) if the Collateral Manager is in good faith unable to obtain bona fide bids for
such Underlying Asset from at least one nationally recognized dealer or to obtain prices from at least one such
pricing service, the "Fair Market Value" of such Underlying Asset will be the lesser of (i) the Standard & Poor's
Applicable Recovery Rate for such Underlying Asset and (ii) the value of such Underlying Asset as determined by
the Collateral Manager in good faith (and the Collateral Manager will notify each Rating Agency that it has
determined the Fair Market Value of such Underlying Asset pursuant to this clause (B)); provided that any Fair
Market Value determined pursuant to this clause (B) may only be in effect for 30 calendar days, after which, if the
Collateral Manager is still unable to obtain bona fide bids for such Underlying Asset from at least one nationally
recognized dealer or to obtain prices from at least one such pricing service, the "Fair Market Value" of such
Underlying Asset will be zero until such time that the Collateral Manager, acting in accordance with the Standard of
Care, is able to obtain bona fide bids for such Underlying Asset from at least one nationally recognized dealer or to
obtain prices from at least one such pricing service.

          "FASIT" means a financial asset securitization investment trust.

          "Fee Cap Amount" means, on any Distribution Date, 0.02% of the Quarterly Asset Amount per annum,
subject to an annual minimum of $60,000.

          "FICO Score" means the credit score developed          by Fair Isaac & Co and provided       by Experian (a
subsidiary of GUS plc), Trans Union LLC or Equifax Inc.

         "Final Maturit 3, Date" means, with respect to each Class of Notes, the Stated Maturity or such earlier date,
including a Redemption Date or an Accelerated Maturity Date, on which the Aggregate Outstanding Amount of
such Class of Notes is paid in full.

          "First Auction Call Date" has the meaning specified in Section 9.3(a).

          "First Distribution   Date" means the Distribution Date in November 2006.

         "First Master Agreement"        means the form of an 1992 ISDA Master Agreement (Multicurrency Cross
Border), together with a schedule       thereto, entered into between the Issuer and the First Synthetic Security
Counterparty.



                                                           22
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4          Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                               Part 1 of 4 Pg 31 of 65


            "First Period" has the meaning specified in Section 14.2(e).

        "First Synthetic Security Confirmation" means the Synthetic Security ConfLrrnation, related to the First
Master Agreement, entered into between the Issuer and the First Synthetic Security Counterparty.

            "First Synthetic Security Counterpart."     means Lehman Brothers Special financing Inc.

            "Fitch" means Fitch Ratings Inc.

            "Fixed Amount"     means, with respect to a Synthetic Security, the meaning set forth in such Synthetic
Security.

            "Fixed Rate Security" means any Asset-Backed      Security other than a Floating Rate Security.

            "Floating   Payments"   means, with respect to a Synthetic Security, the meaning set forth in such Synthetic
Security.

         "Floating Rate Security." means (i) any Asset-Backed Security that is expressly stated to bear interest
based upon a floating rate index and (ii) any Synthetic Security so designated by the Collateral Manager at the time
of purchase.

          "Flow-Through     Investment Vehicle" means any entity (a) that would be an investment company but for
the exception in Section 3(c)(1) or Section 3(c)(7) of the Investment Company Act and the amount of whose
investment in the Securities exceeds forty percent (40%) of its total assets (determined on a consolidated basis with
its subsidiaries), (b) as to which any Person owning any equity or similar interest in the entity has the ability to
control any investment decision of such entity or to determine, on an investment-by-investment    basis, the amount of
such Person's contribution to any investment made by such entity, (c) that was organized or reorganized for the
specific purpose of acquiring a Security or (d) as to which any Person owning an equity or similar interest therein
was specifically solicited to make additional capital or similar contributions for the purpose of enabling such entity
to purchase a Security.

          "Form Approved Synthetic Seeuri_." means a Synthetic Security (i) the Reference Obligation of which,
if it were an Underlying Asset, could be acquired by the Issuer without any required action by the Rating Agencies
or which would satisfy the Rating Condition, and (ii) the documentation of which conforms (but for the amount and
timing of periodic payments, the name of the Reference Obligation, the notional amount, the effective date, the
termination date and other similarly necessary changes) to a form that satisfies the Rating Condition, provided that
the Synthetic Security documentation that is attached hereby as Exhibit K and L shall be deemed to be a Form
Approved Synthetic Security and (iii) with respect to which the Issuer has provided each Rating Agency with
written notice of the acquisition of such Synthetic Security within 5 Business Days after such acquisition, and each
notice shall include the Moody's Rating, the Moody's Rating Factor, the Moody's Recovery Rate Matrix, the
Standard & Poor's Rating and the Standard & Poor's Applicable Recovery Rate, as applicable, for such Synthetic
Security.   The Moody's Rating of a Form Approved Synthetic Security shall be the Moody's Rating of the
underlying Reference Obligation and the Standard & Poor's Rating of a Form Approved Synthetic Security shall be
the Standard & Poor's Rating of the underlying Reference Obligation. Standard & Poor's may modify or rescind a
Form-Approved Synthetic Security upon 30 days prior written notice, provided that such modification or rescission
shall apply prospectively.

            "GAA.P" shall have the meaning specified in Section 6.3(k).

            "Global Notes" means the Regulation S Global Notes and the Restricted Global Notes.

         "Grant" means to grant, bargain, sell, warrant, alienate, remise, demise, release, convey, assign, transfer,
mortgage, pledge, create and grant a security interest in and right of set-off against, deposit, set over and conftrm. A
Grant of any item of Collateral shall include all rights, powers and options (but none of the obligations) of the
granting party thereunder, including the immediate continuing right to claim for, collect, receive and receipt for


                                                             23
30775-00034NY:1268831.8
 08-13555-mg                 Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                                Part 1 of 4 Pg 32 of 65


principal,    interest and fee payments in respect of such item of Collateral, and all other funds payable thereunder, to
give and     receive notices and other communications, to make waivers or other agreements, to exercise all rights and
options,     to bring Proceedings in the name of the granting party or otherwise, and generally to do and receive
anything     that the granting party is or may be entitled to do or receive thereunder or with respect thereto.

         "High LTV RMBS Security" means a Residential B/C Mortgage-Backed Security that depends primarily
on the cash flow from subprime residential mortgage loans with loan-to-value ratios of greater than 80%.

          "Highest Auction Price" means, with respect to an Auction        Call Redemption, the greater of (a) the highest
price bid by any Listed Bidder for all of the Underlying Assets, and       (b) the sum of the highest price bid by one or
more Listed Bidders for each Subpool. In each case, the price bid          by a Listed Bidder shall be the dollar amount
which the Auction Agent certifies to the Trustee based on the Auction       Agent's review of the bids, which certification
shall be binding and conclusive.

          "Holder," "Noteholder,"  "Preference Shareholder"       or "Seeurityholder"   means, with respect to any
Security, the Person in whose name such Security is registered in the Note Register or Share Register, as applicable.

          "Indenture" means this instrument and, if from time to time supplemented or amended by one or more
indentures supplemental hereto entered into pursuant to the applicable provisions hereof, as so supplemented or
amended.

          "Independent"    means, as to any Person, any other Person (including, in the case of an accountant, or
lawyer, a fLrm of accountants or lawyers and any member thereof) who (a) does not have and is not committed to
acquire any material direct or any material indirect financial interest in such Person or in any Affiliate of such
Person, (b) is not connected with such Person as an Officer, employee, promoter, underwriter, voting trustee,
partner, director or Person performing similar functions and (c) if required to deliver an opinion or certificate to the
Trustee pursuant to this Indenture, states in such opinion or certificate that the signer has read this definition and that
the signer is Independent within the meaning hereof. "Independent," when used with respect to any accountant, may
include an accountant who audits the books of such Person if, in addition to satisfying the criteria set forth above,
the accountant is independent with respect to such Person within the meaning of Rule 101 of the Code of Ethics of
the American Institute of Certified Public Accountants.

             "Initial    Interest Rate   Swap Counterparty"    means CoSperatieve    Centrale Raiffeisen-Boerenieenbank
B.A.



          "Initial Investment Agreement" means the guaranteed investment contract, together with the Policy, dated
as of the Closing Date, among the Issuer, the Trustee and the Initial Investment Agreement Provider.

             "Initial Investment Agreement Provider" means CoSperatieve Centrale Raiffeisen-Boerenleenbank           B.A.

             "Initial Purchaser" means Lehman Brothers Inc. and Lehman Brothers International (Europe).

         "Initial Rating" means the ratings specified with respect to each of the Class A-1 Notes, the Class A-2
Notes, the Class B Notes, the Class C Notes, the Class D Notes and the Class E Notes in Section 3.2(c).

          "Institutional  Accredited Investor" means an institutional "accredited investor" (as defined in Rule
501(a)(1), (2), (3) and (7) under the Securities Act) with a net worth of not less than $25 million.

             "Interest    Collection Account" has the meaning specified in Section 10.2(a).

          "Interest Coverage Ratios" means with respect to (x) the Class A Notes and the Class B Notes (the "Class
A/B Interest Coverage Ratio"), (y) the Class C Notes (the "Class C Interest Coverage Ratio") and (z) the Class D
Notes (the "Class D Interest Coverage Ratio"), in each case, as of any Measurement Date that will be calculated by
dividing:




                                                               24
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                             Part 1 of 4 Pg 33 of 65


       (a)    (i) thesum(withoutduplication)
                                          of (A)theScheduled Distributions
                                                                        ofinterest
                                                                                due(regardlessof
whether
      theDueDateforanysuchinterest payment hasyetoccurred)intheDuePeriodinwhichsuchMeasurement
Dateoccurson(1)thePledgedUnderlyingAssets and(2)anyEligibleInvestmentsheldintheCollection
                                                                                        Accounts
(whethersuchEligibleInvestments
                              werepurchased  withInterestProceedsor Principal
                                                                            Proceeds),
                                                                                    03) any fees
actually received by the Issuer during such Due Period that constitute Interest Proceeds, (C) the amount, if any,
scheduled to be paid to the Issuer by an Interest Rate Swap Counterparty under an Interest Rate Swap Agreement on
the Distribution Date relating to such Due Period, and (D) any earnings on Eligible Investments in the Synthetic
Security Collateral Account constituting Interest Proceeds, received during the related Collection Period and after
the end of the related Collection Period and immediately prior to the related Distribution Date, minus (ii) the sum of
(A) the amount, if any, scheduled to be paid to an Interest Rate Swap Counterparty by the Issuer under an Interest
Rate Swap Agreement on the Distribution Date relating to such Due Period, 03) the amount, if any, scheduled to be
paid to the payment of taxes and filing and registration fees owed by the Issuers, (C) the amount, if any, scheduled
to be paid (1) to the payment to the Trustee, the Auction Agent, the Preference Share Paying Agent, the Note
Registrar, the Share Registrar, the Collateral Administrator and the Administrator of accrued and unpaid fees and
expenses owing to them under this Indenture, the Management Agreement, the Preference Share Paying Agency
Agreement, the Collateral Administration Agreement and the Administration Agreement, and (2) to the payment of
other accrued and unpaid Administrative Expenses of the Issuers (excluding Management Fees and principal and
interest on the Notes), to the extent all such payments pursuant to this clause (C) do not exceed for any calendar
quarter an amount equal to the Fee Cap Amount plus an amount up to $150,000 per annum, and (D) the amount, if
any, scheduled to be paid to the payment to the Collateral Manager of accrued and unpaid Management Fees; by

           (b)    an amount equal to (i) in the case of the Class A/B Interest Coverage Ratio, the Class A Interest
Distribution Amount and the Class B Interest Distribution Amount payable on the immediately succeeding
Distribution Date, or (ii) in the case of the Class C Interest Coverage Ratio, the Class A Interest Distribution
Amount, the Class B Interest Distribution Amount and the Class C Interest Distribution Amount payable on the
immediately succeeding Distribution Date, or (iii) in the case of the Class D Interest Coverage Ratio, the sum of the
Class A Interest Distribution Amount, the Class B Interest Distribution Amount, the Class C Interest Distribution
Amount and the Class D Interest Distribution Amount payable on the immediately succeeding Distribution Date.

         "Interest Coverage Tests" means the Class A/B Interest Coverage Test, the Class C Interest Coverage Test
and the Class D Interest Coverage Test.

           "Interest Distribution Amount" means, with respect to any Distribution Date, the sum of the Class A-1
Interest Distribution Amount, the Class A-2 Interest Distribution Amount, the Class B Interest Distribution Amount,
the Class C Interest Distribution Amount, the Class D Interest Distribution Amount and the Class E Interest
Distribution Amount.

           "Interest Period" means, subject to Section 14.9 hereof, (a) with respect to the First Distribution Date and
for the purposes of calculating LIBOR and scheduled interest on the Notes payable at the applicable Note Interest
Rate on such Distribution Date, the period from and including the Closing Date to and excluding the First
Distribution Date, and (b) with respect to each Distribution Date thereafter, the period from, and including, the
immediately preceding Distribution Date and ending on, but excluding, such Distribution Date.

           "Interest   Proceeds" means, with respect to any Due Period:

           (1) the sum (without duplication) of (a) all payments of interest and other income on the Underlying Assets
and Delivered Obligations (other than Defaulted Securities) received in Cash during such Due Period; (b) all
payments of interest (including any amount representing the accreted portion of a discount from the face amount of
an Eligible Investment) on Eligible Investments in the Collection Accounts received in Cash by the Issuer during
such Due Period and all payments of principal, including repayments, on Eligible Investments purchased with
amounts from the Interest Collection Account received by the Issuer during such Due Period; (c) all amendment and
waiver fees, all late payment fees, and all other fees and commissions received in Cash by the Issuer during such
Due Period in connection with such Underlying Assets and Eligible Investments (other than fees and commissions
received in respect of Defaulted Securities and Written Down Securities and yield maintenance payments,
restructuring and fees included in Principal Proceeds pursuant to clauses (c) and (j) of the definition thereof); (d) all



                                                            25
 30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                             Part 1 of 4 Pg 34 of 65


payments  of interestreceivedin respectof a DefaultedSecurityin excessof an amountequalto the
Principal/NotionalBalance  ofsuchDefaulted Security atthetimeit becamea Defaulted   Security;
                                                                                            (e)allpayments
receivedpursuant totheInterest RateSwapAgreement    (excludinganypayments  received bytheIssuerbyreason   of
aneventof defaultortermination   event)lessanydeferred  premium payments, if any,payable  bytheIssuerunder
theInterest RateSwapAgreement     withrespect tosuchDuePeriod;(f) allaccrued   interest
                                                                                      receivedin cashby the
Issuerin connection withthesaleorliquidation  of anyUnderlyingAssetotherthanaccrued   interest
                                                                                             purchased with
PrincipalProceeds; (g)anyamounts   receivedfromeachSynthetic  SecurityCounterparty  relating
                                                                                           toeachSynthetic
Securitywithrespect   to suchDuePeriod(includinganyFixedAmounts       andInterestShortfallReimbursement
Payment  Amounts  butexcluding,  fortheavoidance  of doubt,anypremium relatingto thefollowingDuePeriod),
otherthanWritedown     Reimbursement  Payment  Amounts, PrincipalShortfallReimbursement   Payment Amounts,
anyupfrontpayment    oranytermination  payment receivedwithrespecttoearlytermination   ofa Synthetic
                                                                                                   Security
(includingproceeds  fromliquidation of anycollateralpostedby theSynthetic Security Counterparty tosecure  its
obligations undertheSynthetic  Securities);
                                          (h) all earningsonEligibleInvestments   ondepositin theSynthetic
SecurityCollateralAccount  thataretransferredtotheInterestCollection
                                                                   Account  pursuant toSection 10.2(k);
                                                                                                      (i) all
Earnings (asdefined in therelatedInvestment Agreement) receivedbytheIssuerandpayable    undertheInvestment
Agreement  onorbefore   therelatedDistribution
                                             Date;and(j) allamountsondeposit  intheExpense  Account thatare
transferredtothePayment    Accountforapplication  asInterest
                                                           Proceedspursuant  to Section 10.4(a);
                                                                                               provided that
InterestProceedsshallinnoeventinclude(i) anypayment     orproceedsspecificallydefined as"PrincipalProceeds"
inthedefinitionthereof or(ii)theExcepted Property;

          (2)minusanyInterest
                           Shortfall
                                  Amounts
                                       paidbytheIssuertoeachSynthetic
                                                                   Security
                                                                          Counterparty.

          "InterestRate Swap Agreement" means (i) the initial ISDA Master Agreement, including any schedules
and any confwmations thereto, each dated the Closing Date, or any replacement thereto and (ii) any Additional
Interest Rate Swap Agreement executed after the Closing Date, in each case between the Issuer and the relevant
Interest Rate Swap Counterparty.

         "Interest Rate Swap Counterparty" means the Initial Interest Rate Swap Counterparty or any
replacement or additional counterparty which satisfies (or the guarantor of which satisfies) the Interest Rate Swap
Counterparty Ratings Requirement should a replacement Interest Rate Swap Agreement or Additional Interest Rate
Swap Agreement be entered into pursuant to Section 16.1.

          "Interest    Rate Swap Counterparty     Collateral Account" has the meaning specified in Section 10.5.

         "Interest Rate Swap Counterpart, Ratings Requirement" means, with respect to an Interest Rate Swap
Counterparty or any transferee thereof, that it shall at all times satisfy the following requirements:

          (a)         either:

                    (1)         the unsecured, unguaranteed and otherwise unsupported short-term debt obligations of
          the Interest     Rate Swap Counterparty or such transferee (or any Affiliate of the Interest Rate Swap
          Counterparty      or such transferee that unconditionally and absolutely guarantees the obligations of the
          Interest Rate    Swap Counterparty or such transferee with respect to the Interest Rate Swap Agreement) are
          rated at least   "A-I" by Standard & Poor's; or

                    (2)      if the Interest Rate Swap Counterparty or such transferee does not have a short-term
          credit rating, then the unsecured, unguaranteed and otherwise unsupported senior long-term debt
          obligations of the Interest Rate Swap Counterparty or such transferee (or any Affiliate of the Interest Rate
          Swap Counterparty or such transferee that unconditionally and absolutely guarantees the obligations of the
          Interest Rate Swap Counterparty or such transferee with respect to the Interest Rate Swap Agreement) are
          rated at least "A+" by Standard & Poor's; and

          (b)         either:




                                                            26
30775-00034   NY: 1268831.8
 08-13555-mg                 Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                                 Part 1 of 4 Pg 35 of 65


                        (1)     the unsecured, unguaranteed and otherwise unsupported long-term senior debt obligations
              of the Interest Rate Swap Counterparty or such transferee (or any Affiliate of the Interest Rate Swap
              Counterparty or such transferee that unconditionally and absolutely guarantees the obligations of the
              Interest Rate Swap Counterparty or such transferee with respect to the Interest Rate Swap Agreement) are
              rated at least "AaY' by Moody's and not on watch for possible downgrade and no short-term rating is
              available from Moody's; or

                        (2)       the unsecured, unguaranteed    and otherwise unsupported        short-term senior debt
              obligations of the Interest Rate Swap Counterparty or such transferee (or any Affiliate of the Interest Rate
              Swap Counterparty or such transferee that unconditionally and absolutely guarantees the obligations of the
              Interest Rate Swap Counterparty or such transferee with respect to the Interest Rate Swap Agreement) are
              rated at least "P-I" by Moody's and not on watch for possible downgrade, and the unsecured, unguaranteed
              and otherwise unsupported long-term senior debt obligations of the Interest Rate Swap Counterparty or
              such transferee (or any Affiliate of the Interest Rate Swap Counterparty or such transferee that
              unconditionally and absolutely guarantees the obligations of the Interest Rate Swap Counterparty or such
              transferee with respect to the Interest Rate Swap Agreement) are rated at least "AI" by Moody's and not on
              watch for possible downgrade.

          For the purpose of this definition, no direct or indirect recourse against one or more shareholders of an
Interest Rate Swap Counterparty (or against any Person in control of, or controlled by, or under common control
with, any such shareholder) shall be deemed to constitute a guarantee, security or support of the obligations of such
Interest Rate Swap Counterparty.

              "Interest   Shortfall Amount" means, with respect to a Synthetic Security, the meaning set forth therein.

        "Interest Shortfall Reimbursement             Payment Amount" means, with respect to a Synthetic Security, the
meaning set forth therein.                                                                                         ,:

        "Investment Agreement"              means the Initial Investment    Agreement   and any Replacement     Investment
Agreement, as the context requires.

          "Investment        Company Act" means the U.S. Investment Company Act of 1940, as amended, and the rules
thereunder.

              "Irish Paying Agent" has the meaning specified in Section 7.2.

              "Issu_...._e"
                         means Asset-Backed    Securities   issued by the same issuer and secured by the same pool of
collateral.

              "Issue Price" has the meaning given to such term in the Preference Share Paying Agency Agreement.

          "Issuer" means Gemstone CDO VI Ltd., an exempted company with limited liability incorporated and
existing under the laws of the Cayman Islands, unless a successor Person shall have become the Issuer pursuant to
the applicable provisions of this Indenture, and thereafter "Issuer" shall mean such successor Person.

          "Issuer Charter" means the Memorandum of Association and Articles of Association of the Issuer, filed
under the Companies Law (2004 Revision) of the Cayman Islands, as modified and supplemented and in effect from
time to time.

         "Issuer Order" and "Issuer Request" mean, respectively, a written order or a written request, in each case
dated and signed in the name of the Issuer by an Authorized Officer of the Issuer and (if appropriate) the Co-Issuer,
or by an Authorized Officer of the Collateral Manager where permitted pursuant to this Indenture or the
Management Agreement, as the context may require or permit.

              "Issuers" or "Co-Issuers"    means the Issuer and the Co-Issuer.



                                                                27
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4           Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                                 Part 1 of 4 Pg 36 of 65


         "Knowledgeable Employee" means a "knowledgeable               employee" (with respect to the Issuer) as specified
in Rule 3c-5 promulgated under the Investment Company Act.

          "LIBOR" has the meaning specified in Schedule B.

          "LIBOR Business Day" has the meaning specified in Schedule B.

          "LIBOR Determination            Date" has the meaning specified in Schedule B.

          "Liquidation      Preference"    means an amount equal to $1,000 per Preference Share.

          "Listing Agent" means RSM Robson Rhodes LLP.

          "Listed Bidders" has the meaning specified in Schedule G.

          "London Banking Day" has the meaning specified in Schedule B.

         "Majori_." means, with respect to any Class or Classes of Notes, the Holders of more than fifty percent
(50%) of the Aggregate Outstanding Amount of the Notes of such Class or Classes of Notes, as the case may be,
and, with respect to the Preference Shares, a Majority-in-Interest of Preference Shareholders.

         "Majori .ty-in-Interest      of Preference Shareholders" means, at any time, Preference Shareholders whose
aggregate Voting Percentages         at such time exceed fifty percent (50%) of all Preference Shareholders' Voting
Percentages at such time.

         "Management Agreement" means the Collateral Management Agreement, dated as of the Closing Date,
between the Issuer and the Collateral Manager relating to the Securities and the Collateral, as amended from time to
time in accordance with the terms thereof and Article XV.

          "Management Fee" means the fee which will accrue from the Closing Date at a rate per annum of 0.30%
on the Quarterly Asset Amount, payable to the Collateral Manager in arrears on each Distribution Date, as
compensation for the performance of its obligations as Collateral Manager under the Management Agreement. Any
Management Fee accrued prior to the resignation or removal of the Collateral Manager will continue to be payable
to the Collateral Manager on the Distribution Date immediately following the effectiveness of such resignation or
removal. This payment will be made to the extent of the funds available for such purpose in accordance with the
Priority of Payments.

          "Manager        Order" means a written order of an Authorized Officer of the Collateral Manager.

         "Margin Stock" means "margin stock" as defined under Regulations T, U and X issued by the Board of
Governors of the Federal Reserve System.

          "Master Agreement" means (i) the form of an 1992 ISDA Master Agreement (Multicurrency Cross
Border), together with the schedule thereto, entered into between the Issuer and a Synthetic Security Counterparty
(other than the First Synthetic Security Counterparty) and (ii) the First Master Agreement.

           "MaturiW." means, with respect to any Note, the date on which all outstanding unpaid principal of such
Note becomes due and payable as therein or herein provided, whether at the Stated Maturity or by declaration of
acceleration, call for redemption or otherwise.

         "Measurement     Date" means any of the following: (a) any date after the Closing Date on which an
Underlying Asset becomes a Defaulted Security, (b) each Determination Date, (c) the last Business Day of any
calendar month (other than the month prior to a Determination Date), and (d) with reasonable notice to the Issuer
and the Trustee, any other Business Day that any Rating Agency requests be a "Measurement Date"; provided that,



                                                               28
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                            Part 1 of 4 Pg 37 of 65


if any such date would otherwise fall on a day that is not a Business Day, the relevant Measurement Date will be the
next succeeding day that is a Business Day.

          "Mid-Prime      Securities" means Residential Securities that have a FICO Score above 625 and below 700.

          "Minimum Preference Share Redemption Amount" means an amount equal to (a) the Aggregate
Liquidation Preference minus (b) the aggregate amount of all cash distributions on the Preference Shares (whether in
respect of dividends or redemption payments) made to the Preference Share Paying Agent for distribution to the
Preference Shareholders prior to the relevant Auction Date.

          "Money" has the meaning specified in Section 1-201 of the UCC.

          "Monthly Report" has the meaning specified in Section 10.8(a).

          "Moody's" means Moody's Investors Service, Inc. and any successor or successors thereto.

           "Moody's Asset Correlation Test" means a test which is satisfied if the Moody's Correlation Factor is
equal to or less than 19.5%; provided that that a single obligation Synthetic Security will be included as an Asset-
Backed Security having the characteristics of the related Reference Obligation (and the issuer thereof will be
deemed to be the related Reference Obligor and not the Synthetic Security Counterparty). For the purpose of this
test, the number of assets is 90.

          "Moody's Correlation Factor" as of the Closing Date, is 18.6%.

        "Moody's Minimum Weighted Average Recovery Rate Test" means a test which is satisfied as of the
Closing Date if the Moody's Weighted Average Recovery Rate is greater than or equal to 23.5%.

          "Moody's Rating" has the meaning ascribed to such term in Schedule L.

          "Moody's Weighted      Average Rating Factor" means the number determined by dividing:

         (a)      the summation of the series of products obtained for any Underlying Asset that is not a Defaulted
Security, by multiplying (i) the Principal/Notional Balance of each such Underlying Asset by (ii) its respective
Moody's Rating Factor (as defmed in Schedule L), by

         (b)       the sum of the Aggregate      Principal/Notional   Balance   of all Underlying   Assets that are not
Defaulted Securities.

          "Moody's Weighted Average Rating Factor Test" means a test which is satisfied as of the Closing Date
if the Moody's Weighted Average Rating Factor of the Underlying Assets is equal to a numerical value of not more
than 650.

          "Moody's Weighted Average Recovery Rate" means the number obtained by summing the products
obtained by multiplying the Principal/Notional Balance of each Underlying Asset (excluding any Defaulted
Security) by its applicable recovery rate (determined for purposes of this definition in accordance with Schedule M),
dividing such sum by the Aggregate Principal/Notional Balance of all such Underlying Assets, multiplying the result
by 100 and rounding up to the fast decimal place.

          "Net Outstanding Underlying Asset Balance" means, as of any Measurement Date, an amount equal to
(a) the sum of (i) the Aggregate Principal!Notional Balance on such Measurement Date of all Pledged Underlying
Assets, (ii) the Aggregate Principal/Notional Balance of all Specified Assets, and (iii) for each Defaulted Security,
the Calculation Amount with respect to such Defaulted Security minus (b) the Aggregate Principal/Notional Balance
on such Measurement Date of all Pledged Underlying Assets that are either (i) Defaulted Securities or (ii) Equity
Securities; provided that solely for the purpose of calculating the Net Outstanding Underlying Asset Balance in



                                                           29
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                           Part 1 of 4 Pg 38 of 65


connection with the Class A/B Overcollateralization   Ratio, the Class C Overcollateralization   Ratio and the Class D
Overcollateralization Ratio:

          (a)       if any Underlying Asset has a Moody's Rating of below "Baa3", and:

                    (1)       if on any date the Aggregate Principal/Notional Balance (determined without regard to
          this clause (a)) of all Underlying Assets (other than Defaulted Assets and Deferred Interest PIK Bonds) that
          have a Moody's Rating of "Bal", "Ba2" or "Ba3" exceeds 38.1% of the Aggregate Principal/Notional
          Balance as of the Closing Date of all Underlying Assets and Principal Proceeds, then the Aggregate
          Principal/Notional Balance of the Underlying Assets constituting such excess shall be deemed to equal
          90% of the actual Aggregate Principal/Notional Balance of such Underlying Assets (determined without
          regard to this clause (a));

                    (2)       if on any date the Aggregate Principal/Notional Balance (determined without regard to
          this clause (a)) of all Underlying Assets (other than Defaulted Assets and Deferred Interest PIK Bonds) that
          have a Moody's Rating of "BI", "B2" or "B3" exceeds 5.0% of the Aggregate Principal/Notional Balance
          as of the Closing Date of all Underlying Assets and Principal Proceeds, then the Aggregate
          Principal/Notional Balance of the Underlying Assets constituting such excess shall be deemed to equal
          80% of the actual Aggregate Principal/Notional Balance of such Underlying Assets (determined without
          regard to this clause (a)); and

                   (3)     if such Underlying Assets (other than Defaulted Assets and Deferred Interest PIK Bonds)
          have a Moody's Rating of below "B3", then the Aggregate Principal/Notional Balance of such Underlying
          Assets shall be deemed to equal 50% of the actual Aggregate Principal/Notional Balance of such
          Underlying Assets (determined without regard to this clause (a)).

          Solely for purposes of the calculation of the Class A/B Overcollateralization         Ratio, the Class C
Overcollateralization Ratio and the Class D Overcollateralization Ratio (and without duplication of any reduction
under clauses (a) of the definition of Net Outstanding Underlying Asset Balance), the Principal/Notional Balance of
any Discount Underlying Asset shall be the original acquisition price of such Discount Underlying Asset.

          "Non-Subprime    Home Equi .ty Loan Asset-Backed Securities" means Asset-Backed Securities (other
than Residential B/C Mortgage-Backed Securities and Residential A Mortgage-Backed Securities) that entitle their
holders to receive payments that depend primarily on the cash flow from balances (including revolving balances)
outstanding under loans or lines of credit to non-subprime borrowers secured by residential real estate (single or
two-to-four-family properties) the proceeds of which loans or lines of credit are not generally used to purchase such
real estate or to purchase or construct dwellings thereon (or to refinance indebtedness previously used for such
purchase or construction), generally having the following characteristics:       (1) the balances have standardized
payment terms and require minimum monthly payments; (2) the balances are obligations of numerous borrowers and
accordingly represent a diversified pool of obligor credit risk; (3) the repayment stream on such balances does not
depend upon a contractual payment schedule, with early repayment depending primarily on interest rates and
general economic matters; and (4) the loan or line of credit may be secured by residential real estate with a market
value (determined on the date of origination of such loan or line of credit) that is less or more than the original
proceeds of such loan or line of credit.

         "Note Interest Rate" means, with respect to each Class of Notes for any Interest Period, the Class A-1
Note Interest Rate, the Class A-2 Note Interest Rate, the Class B Note Interest Rate, the Class C Note Interest Rate,
the Class D Note Interest Rate or the Class E Note Interest Rate, as applicable.

         "Note Offering Circular" means the Offering Circular, prepared and delivered in connection with the offer
and sale of the Notes as amended or supplemented on or prior to the Closing Date.

         "Note Purchase Agreement" means the Note Purchase Agreement, dated as of the Closing Date, by and
among the Issuers and the Initial Purchaser in which the Issuers have agreed to sell the Notes to the Initial Purchaser
and the Initial Purchaser has agreed to purchase the Notes fi'om the Issuers.



                                                          30
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                            Part 1 of 4 Pg 39 of 65


         "NoteRegister"     and "Note Registrar"   have the respective meanings specified in Section 2.4(a).

         "Note Valuation     Report" has the meaning specified in Section 10.8(b).

          "Noteholder"    has the meaning specified under "Holder" above.

          "Notes" means the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes
authorized by, and authenticated and delivered under, this Indenture.

          "Offer" means, with respect to any security, (i) any offer by the issuer of such security or by any other
person made to all of the holders of such security to purchase or otherwise acquire such security (other than pursuant
to arty redemption in accordance with the terms of its Underlying Instruments) or to convert or exchange such
security into or for cash, securities or any other type of consideration or (ii) any solicitation by the issuer of such
security or any other person to amend, modify or waive any provision of such security or any of its Underlying
Instruments.

         "Offering" means the offering of the Notes under the Note Offering Circular and the Preference Shares
under the Preference Share Private Placement Memorandum in privately negotiated transactions.

          "Officer" means (a) with respect to the Issuer, the Co-Issuer and any corporation, the Chairman of the
Board of Directors (or, with respect to the Issuer, any director), the President, any Vice President, the Secretary, an
Assistant Secretary, the Treasurer or an Assistant Treasurer of such entity; and (b) with respect to any bank or trust
company acting as trustee of an express trust or as custodian, any Trust Officer.

           "Opinion of Counsel" means a written opinion addressed to the Trustee and each Rating Agency (each, a
"Recipient") (or, if not addressed to each Rating Agency, one which states that each Rating Agency shall be entitled
to rely thereon), in form and substance reasonably satisfactory to each Recipient, of an attorney at law admitted to
practice before the highest court of any state of the United States or the District of Columbia (or the Cayman Islands,
in the case of an opinion relating to the laws of the Cayman Islands), which attorney may, except as otherwise
expressly provided in this Indenture, be counsel for the Issuer, the Co-Issuer or the Collateral Manager, as the case
may be, and which attorney shall be reasonably satisfactory to the Trustee. Whenever an Opinion of Counsel is
required hereunder, such Opinion of Counsel may rely on opinions of other counsel who are so admitted and so
satisfactory which opinions of other counsel shall accompany such opinion of Counsel and shall either be addressed
to each Recipient or shall state that each Recipient shall be entitled to rely thereon.

          "Optional Redemption"     has the meaning specified in Section 9.4.

         "Ordinary Shares" means the authorized ordinary shares of the Issuer, which consists of 250 ordinary
shares, $1.00 par value per ordinary share, all of which shares have been issued to the Share Trustee.

          "Other ABS Security" means a CMBS Security, a Credit Card Security or a Student Loan Security.

         "Outstanding"     means (a) with respect to the Notes or a particular Class of Notes, as of any date of
determination, all of (i) the Notes or (ii) the Notes of such Class, as the case may be, theretofore authenticated and
delivered under this Indenture except:

                    (h)      Notes theretofore canceled by the Note Registrar or delivered to the Note Registrar for
          cancellation;

                   (B)     Notes or portions thereof for whose payment or redemption funds in             the necessary
          amount have been theretofore irrevocably deposited with the Trustee or any Paying Agent        in trust for the
          Holders of such Notes; provided that, if such Notes or portions thereof are to be redeemed,     notice of such
          redemption has been duly given pursuant to this Indenture or provision therefor satisfactory    to the Trustee
          has been made;




                                                           31
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                               Part 1 of 4 Pg 40 of 65


                 (C)    Notesin exchange
                                       for, or in lieuof, otherNoteswhichhavebeenauthenticatedand
          delivered
                  pursuant
                         tothisIndenture,
                                       unlessproofsatisfactory to theTrusteeis presented
                                                                                      thatanysuch
          Notesareheldbyaholderinduecourse;
                                          and
                 (D)    Notesallegedto havebeenmutilated,
                                                        destroyed,
                                                                lostor stolenforwhichreplacement
          Noteshavebeenissued
                            asprovided in Section
                                                2.5;and
       (b)   withrespect
                       tothePreference
                                     Shares,
                                          asofanydateofdetermination,
                                                                  allofthePreference
                                                                                  Shares
thenissued
         andwhichhavenottheretofore
                                 beenredeemed;
provided, that in determining whether the Holders of the requisite Aggregate Outstanding Amount have given any
request, demand, authorization, direction, notice, consent or waiver hereunder, (a) Securities beneficially owned by
the Issuer or the Co-Issuer or any other obligor on the Securities or any Affiliate of either of them shall be
disregarded and deemed not to be outstanding and (b) Collateral Manager Securities shall be disregarded and
deemed not to be outstanding with respect to any vote or consent of the Holders on any assignment or termination of
the Management Agreement (including the exercise of any rights to remove the Collateral Manager or terminate the
Management Agreement), or any amendment or other modification of the Management Agreement or this Indenture
increasing the rights or decreasing the obligations of the Collateral Manager except that, in determining whether the
Trustee shall be fully protected in relying upon any such request, demand, authorization, direction, notice, consent or
waiver, only Securities that a Trust Officer of the Trustee actually knows to be beneficially owned in the manner
indicated in clause (a) or (b) above shall be so disregarded. Securities owned in the manner indicated in clause (a)
or (b) above that have been pledged in good faith may be regarded as Outstanding if the pledgee establishes to the
satisfaction of the Trustee the pledgee's right so to act with respect to such Securities and that the pledgee is not the
Issuer, the Co-Issuer, the Collateral Manager or any other obligor upon the Securities or any Affiliate of the Issuer,
the Co-Issuer, the Collateral Manager or such other obligor or an account for which the Collateral Manager or an
Affiliate of the Collateral Manager acts as investment adviser (and for which the Collateral Manager or such
Affiliate has discretionary authority).

          "Overcollateralization   Ratio" means the Class A/B Overcollateralization                  Ratio,   the   Class   C
Overcollateralization Ratio or the Class D Overcollateralization Ratio.

         "Overeollateralization    Tests" means the Class A/B                Overcollateralization   Test,    the   Class   C
Overcollateralization Test and the Class D Overcollateralization Test.

         "Paying Agent" means any Person authorized by the Issuer to pay the principal of or interest on any Notes
on behalf of the Issuer as specified in Section 7.2.

           "Payment Account" has the meaning specified in Section 10.3.

         "Permanent  Regulation S Global Note" means with respect to any Class of Notes, the Temporary
Regulation S Global Note issued pursuant to Section 2. l(a), substantially in the form of Exhibit A-2.

           "Permitted      Other Jurisdictions" has the meaning specified in Section 7.10(a)(i).

          "Person" means an individual, corporation, partnership, limited liability company, joint venture,
association, joint stock company, trust, unincorporated        association, government or any agency or political
subdivision thereof, or any other entity or organization, whether or not a legal entity.

           "Physical Settlement Amounts" means, with respect to a Synthetic Security, the meaning set forth therein.

          "PIK Bond" means any Underlying Asset that pursuant to the terms of the related Underlying Instruments
(a) permits the payment of interest thereon (with respect to such payments due on or after the date on which the
security is purchased by the Issuer) to be deferred and capitalized as additional principal thereof or (b) issues
identical (except principal and term) securities in place of payments of interest in Cash.




                                                               32
 30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                    Exhibit D
                                              Part 1 of 4 Pg 41 of 65


          "Pledged Securities" means, on any date of determination, (a) the Underlying Assets, Equity Securities
and the Eligible Investments that have been Granted to the Trustee and (b) all non-Cash proceeds thereof, in each
case, to the extent not released from the lien of this Indenture pursuant hereto.

         "Pledged Underlying Asset" means, as of any date of determination, any Underlying Asset that has been
Granted to the Trustee and has not been released from the lien of this Indenture pursuant to Section 10.9.

           "Portfolio Characteristics" has the meaning specified in Section 12.2(b).

           "Preference    Share Documents" means the Preference Share Paying Agency Agreement            and the Issuer
Charter.

         "Preference Share Paying Agency Agreement" means the Preference Share Paying Agency Agreement,
dated as of the Closing Date, between the Issuer, the Preference Share Paying Agent, the Preference Share Transfer
Agent and the Share Registrar.

          "Preference Share Paying Agent" means the Bank, acting through an affiliate or agent outside the United
States, solely in its capacity as Preference Share Paying Agent under the Preference Share Paying Agency
Agreement, unless a successor Person shall have become the Preference Share Paying Agent pursuant to the
applicable provisions of the Preference Share Paying Agency Agreement, and thereafter, the Preference Share
Paying Agent shall mean such successor Person.

           "Preference Share Payment Account" means a segregated non-interest bearing trust account established
by the Preference Share Paying Agent pursuant to the Preference Share Paying Agency Agreement into which the
Preference Share Paying Agent will deposit all amounts distributable to the holders of the Preference Shares under
the Priority of Payments.

          "Preference    Share Private Placement Memorandum" means the Private Placement Memorandum,
prepared and delivered in connection with the offer and sale of the Preference Shares as amended or supplemented
on or prior to the Closing Date.

          "Preference Share Redemption Price" means the price paid to redeem the Preference Shares which is a
percentage of the Aggregate Outstanding Amount thereof equal to a fraction the numerator of which is the Available
Redemption Amount remaining after giving effect to redemption of the Notes and payment of all fees and expenses
of the Issuer in accordance with the Priority of Payments and the denominator of which is the Aggregate
Outstanding Amount of the Preference Shares to be redeemed.

          "Preference Share Transfer Agent" means the Bank, solely in its capacity as Preference Share Transfer
Agent under the Preference Share Paying Agency Agreement, unless a successor Person shall have become the
Preference Share Transfer Agent pursuant to the applicable provisions of the Preference Share Paying Agency
Agreement, and thereafter, the Preference Share Transfer Agent shall mean such successor Person.

           "Preference    Shareholder"   has the meaning specified under "Holder" above.

          "Preference Shares" means the Preference Shares, par value $0.01 per Preference           Share, authorized,
allotted and issued by the Issuer pursuant to the Preference Share Documents.

           "Prime Securities"    means Residential Securities that have a FICO Score equal to or above 700.

         "Principal/Notional   Balance" or "Par" means, as of any date of determination, with respect to any Asset
Backed Security, the outstanding principal balance of such Asset Backed Security (excluding any capitalized interest
and any negative amortization amounts), and, with respect to any Synthetic Security or a related Reference
Obligation, in each case, the Reference Obligation Notional Amount (as defined in the Synthetic Security
Confirmation Form) of such Synthetic Security; provided that




                                                            33
30775-00034NY:1268831.8
  08-13555-mg               Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                   Exhibit D
                                                Part 1 of 4 Pg 42 of 65


           (a)       the Principal/Notional   Balance of any Equity Security shall be deemed to be zero;

           (b)      the Principal/Notional Balance of any Written Down Security shall be reduced to reflect the
 percentage by which the aggregate par amount of the entire issue of such Underlying Asset (taking into account all
 securities ranking senior in priority of payment thereto and secured by the same pool of collateral) exceeds the
 aggregate par amount (including reserved interest or other amounts available for overcollateralization)     of all
 collateral securing such issue (excluding defaulted collateral), as determined by the Collateral Manager using
 customary procedures and information available in the servicer reports relating to such Underlying Asset.

           "Principal      Collection Account" has the meaning specified in Section 10.2(b).

           "Principal Only Security." means any security that does not provide for the periodic payment of interest or
 other distributions (other than distributions consisting of a return of capital) and is not a Zero Coupon Bond.

           "Principal Payment Amount" means, with respect to any Reference Obligation payment date, the product
 of (a) the amount of any principal payment (scheduled or unscheduled) other than a payment of principal
 representing capitalized interest on such date and (b) Applicable Percentage (as defined in the related Synthetic
 Security Agreement). Any Additional Fixed Amounts are not Principal Payment Amounts.

             "Principal Proceeds" means, with respect to any Due Period, the sum (without duplication) of: (a) all
• payments of principal on the Underlying Assets and Eligible Investments (excluding any amount representing the
  accreted portion of a discount from the face amount of an Eligible Investment) received in Cash by the Issuer during
  such Due Period including prepayments or mandatory sinking fund payments, or payments in respect of optional
  redemptions, exchange offers, tender offers, recoveries on Defaulted Securities and Written Down Securities (other
  than Uninvested Proceeds and payments of principal of Eligible Investments acquired with Interest Proceeds),
  including the proceeds of a sale of any Equity Security, the proceeds received from any special purpose subsidiary
  of the Issuer holding an Equity Security, and any amounts received as a result of optional redemptions, exchange
  offers or tender offers for any Equity Security received in Cash by the Issuer during such Due Period; (b) all
  payments of principal on Eligible Investments purchased with amounts from the Principal Collection Account
  (excluding any amount representing the accreted portion of a discount from the face amount of an Eligible
  Investment) received in Cash by the Issuer during such Due Period; (c) all amendment, waiver, late payment fees,
  restructuring and other fees and commissions, collected during the related Due Period in respect of Defaulted
  Securities and Written Down Securities; (d) all payments of interest received in respect of Defaulted Securities up to
  an amount equal to the Principal/Notional Balance of such Defaulted Security at the time it became a Defaulted
  Security; (e) any proceeds paid to the Issuer resulting from the termination and liquidation of an Interest Rate Swap
  Agreement, to the extent such proceeds exceed the cost of entering into a replacement Interest Rate Swap
  Agreement or Additional Interest Rate Swap Agreement in accordance with the requirements of Section 16.1; (f)
  any Writedown Reimbursement Amount; (g) any Principal Shortfall Reimbursement Amount; (11)upfront payment
  or any termination payments received with respect to early termination of a Synthetic Security received from the
  related Synthetic Security Counterparty pursuant to Section 10.2(k); (i) all amounts transferred from the Synthetic
  Security Collateral Account to the Principal Collection Account; (j) all payments received in Cash by the Issuer
  during such Due Period that represent call, prepayment or redemption premiums; (k) all payments of interest
  received to the extent that they represent accrued interest purchased with Principal Proceeds; (1) all yield
  maintenance payments received in Cash by the Issuer during such Due Period; (m) any proceeds from the issuance
  and sale of the Notes and Preference Shares that are not applied to the acquisition of Underlying Assets prior to the
  Determination Date preceding the First Distribution Date, including amounts on deposit in the Uninvested Proceeds
  Account, and not deposited into the Expense Account on the Closing Date; (n) any proceeds from the liquidation of
  Underlying Assets received in cash by the Issuer (excluding (1) all accrued interest received in cash by the Issuer
  and (2) the Substituted Collateral Proceeds); (o) any Substituted Collateral Proceeds on deposit in the Principal
  Collection Account; (p) any payment of capitalized interest on any Underlying Assets; (q) any payment of accrued
  interest paid for with principal proceeds; and (r) all other payments received in connection with the Underlying
  Assets and Eligible Investments that are not included in Interest Proceeds; provided that in no event shall Principal
  Proceeds include the Excepted Property.




                                                              34
 30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4          Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                               Part 1 of 4 Pg 43 of 65


          "PrincipalShortfall        Reimbursement"     means, with respect to any Synthetic Security, the meaning set
forth therein.

         "Principal Shortfall Reimbursement           Payment Amount" means, with respect to any Synthetic Security,
the meaning set forth therein.

           "Priority Distribution Period" means the period           from the Closing Date through     and including the
Distribution Date in August 2009.

          "Priori .ty of Payments"     has the meaning specified in Section 11.1 (a).

          "Private Security" means any security that is not a Public Security.

          "Proceeding"    means any suit in equity, action at law or other judicial or administrative proceeding.

          "Prohibited Asset" means any of the following: (a) any asset the ownership of which would cause the
Issuer to be subject to income tax on a net income basis in any jurisdiction, or (b) any asset the gain from the
disposition of which will be subject to U.S. Federal income or withholding tax under Section 897 or Section 1445 of
the Code and Treasury Regulations promulgated thereunder; provided, however, that the Issuer shall set up a special
purpose subsidiary (which shall be a corporation for U.S. tax purposes) to receive and hold an Equity Security,
unless it has consulted with its tax counsel and has been advised that the Issuer can hold the Equity Security directly
without causing the Issuer to be treated as engaged in a trade or business in the United States for U.S. Federal
income tax purposes.

          "Public Security" means any of the following: any security (a) the public resale of which by the Issuer
either has been registered under the Securities Act or is exempt from such registration pursuant to Section 4(1) or
Rule 144(k) under the Securities Act, (b) issued or guaranteed by Government National Mortgage Association,
Federal National Mortgage Association and Federal Home Loan Mortgage Corporation or (c) issued by an issuer
organized outside of the United States and registered in the jurisdiction where the issuer is organized.        ._

          "Qualified Bidder" means (a) a Person whose unsecured debt obligations have been assigned, or whose
obligations under the bid letter and resulting purchase agreement will be guaranteed by a Person whose unsecured
debt obligations have been assigned, a rating equivalent to the highest rating on the Notes or an unsecured short-
term rating of "A-l+" by Standard & Poor's and "P-I" by Moody's, (b) a Person who the Auction Agent believes to
be an active purchaser of Asset-Backed Securities with the financial resources available to it to pay the purchase
price of the Underlying Assets in a timely fashion or (c) the Collateral Manager of any of its Affiliates; provided that
with respect to the Synthetic Securities entered into with the First Synthetic Security Counterparty, the Issuer may,
upon reasonable notice to the First Synthetic Security Counterparty, transfer to an Eligible Counterparty, as such
term is defined in the schedule to the Master Agreement, or to any other counterparty, in regard to which the First
Synthetic Security Counterparty will have the right to approve or disapprove any novation of such Synthetic
Security by the Issuer.

          "Qualified Bidder List" means a list of not less than three Persons prepared by the Auction Agent and
delivered to the Trustee at least two Business Days prior to any Auction Date, as the same may be amended and
supplemented by the Auction Agent prior to any subsequent Auction Date upon not less than two days prior written
notice to the Trustee.

          "Qualified Institutional     Buyer" has the meaning given in Rule 144A under the Securities Act.

         "Qualified Purchaser" means a "qualified purchaser" as defined in Section 2(a)(51)(A) of the Investment
Company Act and related rules, a "knowledgeable employee" with respect to the Issuer as specified in Rule 3c-5
promulgated under the Investment Company Act or a company each of whose beneficial owners is such a qualified
purchaser or a knowledgeable employee with respect to the Issuer.




                                                              35
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                             Part 1 of 4 Pg 44 of 65


          "Qualifying Investment Vehicle" means an entity as to which all of the beneficial owners of any securities
issued by such entity have made, and as to which (in accordance with the document pursuant to which such entity
was organized or the agreement or other document governing such securities) each such beneficial owner must
require any transferee of any such security to make, to the Issuer or the Issuers, as the case may be, and the Note
Registrar (in the case of the Notes) or Preference Share Paying Agent (in the case of the Preference Shares) each of
the representations set forth herein and in this Indenture and the Preference Share Paying Agency Agreement
required to be made upon transfer of any of the relevant Class of Notes or Preference Shares (with modifications to
such representations satisfactory to the Collateral Manager and the Issuer to reflect the indirect nature of the interests
of such beneficial owners in such Notes or Preference Shares).

         "Quarterly Asset Amount" means, with respect to any Distribution Date, the Net Outstanding Underlying
Asset Balance on the first day of the related Due Period.

          "Rafin_" means:

          (a)        with respect to any Underlying Asset, its Moody's Rating as of any date of determination; and

         (b)         with respect to any Underlying    Asset, its Standard & Poor's Rating as of as of any date of
determination.

           "Rating Agency" means each of (a) Standard & Poor's, for so long as any of the Outstanding Notes are
rated by Standard & Poor's (including any private or confidential rating) and (b) Moody's, for so long as any of the
Outstanding Notes are rated by Moody's (including any private or confidential rating) or, with respect to Pledged
Securities generally, if at any time Standard & Poor's or Moody's ceases to provide rating services with respect to
asset-backed securities, any other nationally recognized investment rating agency selected by the Issuer and
reasonably satisfactory to a Majority of each Class of Notes. In the event that at any time Standard & Poor's ceases
to be a Rating Agency, references to rating categories of Standard & Poor's in this Indenture shall be deemed instead
to be references to the equivalent categories of such other rating agency as of the most recent date on which such
other rating agency and Standard & Poor's published ratings for the type of security in respect of which such
alternative rating agency is used. In the event that at any time Moody's ceases to be a Rating Agency, references to
rating categories of Moody's in this Indenture shall be deemed instead to be references to the equivalent categories
of such other rating agency as of the most recent date on which such other rating agency and Moody's published
ratings for the type of security in respect of which such alternative rating agency is used. In the event that at any
time Fitch ceases to be a Rating Agency, references to rating categories of Fitch in this Indenture shall be deemed
instead to be references to the equivalent categories of such other rating agency as of the most recent date on which
such other rating agency and Fitch's published ratings for the type of security in respect of which such alternative
rating agency is used.

          "Rating Condition" means, with respect to any action taken or to be taken or any determination made or to
be made under this Indenture, a condition that is satisfied when each Rating Agency has confirmed in writing to the
Issuer, the Trustee and the Collateral Manager prior to such action or determination that such action or
determination will not result in the withdrawal, reduction or other adverse action with respect to any then-current
rating of any Class of Notes.

         "Record Date" means the day on which the recipients of payments in respect of interest and/or principal       on
a Note or Excess Amounts with respect to a Preference Share to be paid on the next succeeding Distribution Date        or
Redemption Date are determined, which shall be the fifteenth day prior to the applicable Distribution Date             or
Redemption Date, and the payees shall be the Securityholders in whose name the applicable Security is registered       in
the Note Register or the Share Register, as the case may be, as of such date.

           "Redemption Amount" means with respect to an Auction Call Redemption, Clean-Up Call Redemption,
Optional Redemption or Tax Redemption, an amount equal to the sum of (i) each applicable Redemption Price, and
(ii) all unpaid Administrative Expenses and any other unpaid expenses and fees then due and payable of the Issuers,
including any termination payments payable by the Issuer under the Interest Rate Swap Agreement, the Synthetic




                                                           36
30775-00034   NY: 1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                              Part 1 of 4 Pg 45 of 65


Securities, the Management Fee due to the Collateral Manager and, with respect to an Auction Call Redemption,
fees and expenses of the Auction Agent.

         "Redemption Date" means any date on which an Auction Call Redemption, Clean-Up Call Redemption,
Optional Redemption or Tax Redemption occurs.

          "Redemption      Date Statement" has the meaning specified in Section 10.8(c).

           "Redemption Price" means, with respect to any Note to be redeemed pursuant to Section 9.1, 9.2, 9.3 or
9.4, an amount (determined without duplication) equal to (a) the Aggregate Outstanding Amount of such Note being
redeemed plus (b) the accrued and unpaid interest thereon (including Defaulted Interest and Deferred Interest and
interest thereon, if any) to the Redemption Date.

          "Reference Banks" has the meaning specified in Schedule B.

          "Reference Dealers" has the meaning specified in Schedule B.

          "Reference Obligation" means, with respect to a Synthetic Security, the meaning set forth therein;
provided that any Reference Obligation shall be an Asset-Backed Security that, as of the related trade date, satisfies
the Substitution Criteria.

           "Registered" means, with respect to any obligation or security (a) issued after July 18, 1984 and (b) in
registered form for purposes of the Code; provided that an obligation or security that is a certificate of interest in a
trust that is treated as a grantor trust and not as a REMIC or FASIT for U.S. Federal income tax purposes will be
Registered only if each of the obligations or securities held by such trust was issued after July 18, 1984; provided,
that if it is a certificate of beneficial interest in an entity that is treated as a partnership for U.S. Federal income tax
purposes, each of the obligations or securities held by such entity is in registered form for U.S. Federal income tax
purposes and was issued after July 18, 1984.                                                                             .:

          "Registrar Office" means the office of the Note Registrar's agent, currently located at the DB Services
Tennessee, 648 Grassmere Park Road, Nashville, Tennessee 37211-3658 Attn: Transfer Services, or such other
address as the Note Registrar may designate from time to time by notice to the Trustee, the Collateral Manager and
the Issuers or the principal corporate trust office of any successor note registrar.

          "Regulation     S" means Regulation S under the Securities Act.

          "Regulation     S Definitive Note" has the meaning specified in Section 2.4(b)(i)(F).

          "Regulation     S Global Note" has the meaning specified in Section 2. l(a).

          "Regulation     S Note" has the meaning specified in Section 2. l(a).

          "Regulation     S Note Transfer Certificate" has the meaning specified in Section 2.4(b)(i)(C).

         "Regulation U" means Regulation U of the Board of Governors of the Federal Reserve System, 12 C.F.R.
Section 221, or any successor regulation.

          "Reinvestment Agreement" means a guaranteed reinvestment agreement from a bank, insurance company
or other corporation or entity Organized under the laws of the United States or any state thereof under which no
payments are subject to any withholding tax or, if subject to withholding tax imposed by any jurisdiction, the obligor
thereunder is required to make "gross up" payments that cover the full amount of any such withholding tax on an
after-tax basis; provided that such agreement provides that it is terminable by the purchaser, without premium or
penalty, in the event that the rating assigned to such agreement by any Rating Agency is at any time lower than the
rating required pursuant to the terms of this Indenture to be assigned to such agreement in order to permit the
purchase thereof.


                                                             37
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                  Exhibit D
                                               Part 1 of 4 Pg 46 of 65


          "Relevant Jurisdiction" means, as to any obligor on any Underlying Asset, any jurisdiction (a) in which
the obligor is incorporated, organized, managed and controlled or considered to have its seat, (b) where an office
through which the obligor is acting for purposes of the relevant Underlying Asset is located, (c) in which the obligor
executes Underlying Instruments or (d) in relation to any payment, from or through which such payment is made.

          "Relevant       Persons" has the meaning specified in Section 2.7.

          "REMIC"         means a "real estate mortgage investment conduit" within the meaning of Section 860D of the
Code.

         "Replacement Investment Agreement" means, if the Initial Investment Agreement is no longer in effect,
any replacement investment agreement entered into at such time among the Issuer, the Trustee and the Replacement
Investment Agreement Provider.

           "Replacement Investment Agreement Provider" means, if the Initial Investment Agreement is no longer
in effect, any replacement investment agreement provider under a Replacement Investment Agreement.

        "Replacement          Manager" means a successor Collateral Manager appointed pursuant to the Management
Agreement.

         "Required Synthetic Security, Collateral Amount" means, with respect to each Synthetic Security
Counterparty, an amount equal to, on any date of determination, the Aggregate Principal/Notional Balance of all
Synthetic Securities entered into with such Synthetic Security Counterparty. If as of any Determination Date, the
amount on deposit in a Synthetic Security Collateral Account exceeds the Required Synthetic Security Collateral
Amount, such excess amount will be deposited into the Principal Collection Account and deemed to be Principal
Proceeds or with respect to any substitution, deposited into the Substituted Collateral Account.

           "Residential A Mortgage-Backed Securities" means Asset-Backed Securities (other than Residential B/C
Mortgage-Backed Securities and Non-Subprime Home Equity Loan Asset-Backed Securities) that entitle their
holders to receive payments that depend primarily on the cash flow from prime residential mortgage loans secured
(on a f'trst priority basis, subject to permitted liens, easements and other encumbrances) by residential real estate
(single or two-to-four-family properties) the proceeds of which were used to purchase real estate and purchase or
construct dwellings thereon (or to refinance indebtedness previously so used), generally having the following
characteristics: (1) the mortgage loans have standardized payment terms and require minimum monthly payments;
(2) the mortgage loans are obligations of numerous borrowers and accordingly represent a diversified pool of
obligor credit risk; (3) repayment of such securities can vary substantially from their contractual payment schedules
and depends entirely upon the rate at which the mortgage loans are repaid; and (4) the repayment of such mortgage
loans is subject to a contractual payment schedule, with early prepayment of individual loans depending on
numerous factors specific to the particular obligors and upon whether, in the case of loans bearing interest at a fixed
rate, such loans or securities include an effective prepayment premium and with early repayment depending
primarily on interest rates and the sale of the mortgaged real estate and related dwelling and generally no penalties
for early repayment.

          "Residential B/C Mortgage-Backed Securities" means Asset-Backed Securities (other than Residential A
Mortgage-Backed Securities and Non-Subprime Home Equity Loan Asset-Backed Securities) that entire their
holders to receive payments that depend primarily on the cash flow from subprime residential mortgage loans
secured (on a first priority basis, subject to permitted liens, easements and other encumbrances) by residential real
estate (single or two-to-four-family properties), generally having the following characteristics: (1) the mortgage
loans have standardized payment terms and require minimum monthly payments; (2) the mortgage loans are
obligations of numerous borrowers and accordingly represent a diversified pool of obligor credit risk; (3) repayment
of such securities can vary substantially from their contractual payment schedules and depends entirely upon the rate
at which the mortgage loans are repaid; and (4) the repayment of such mortgage loans is subject to a contractual
payment schedule, with early prepayment of individual loans depending on numerous factors specific to the
particular obligors and upon whether, in the case of loans bearing interest at a fixed rate, such loans or securities




                                                              38
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4           Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                                Part 1 of 4 Pg 47 of 65


includeaneffectiveprepaymentpremium andwithearlyrepaymentdepending
                                                                 primarilyoninterest
                                                                                  ratesandthe
saleofthemortgaged realestate
                            andrelated
                                     dwelling
                                            andgenerally
                                                      nopenalties
                                                                forearlyrepayment.
          "ResidentialSecurities" or "RMBS Securities" means Residential A Mortgage-Backed Securities,
Residential B/C Mortgage-Backed Securities and Non-Subprime Home Equity Loan Asset-Backed Securities.

          "Restricted     Global Note" has the meaning specified in Section 2. l(b).

          "Restricted     Note" has the meaning specified in Section 2.1 (b).

          "Restricted     Note Transfer    Certificate" has the meaning specified in Section 2.4(b)(i)(B).

          "Restricted Trading Period" means each day during which (a) the Moody's rating of the Class A Notes or
Class B Notes is one or more subcategories below its Initial Rating or (b) the Moody's rating of the Class C Notes,
the Class D Notes or the Class E Notes is two or more sub-categories below its Initial Rating; unless the holders of a
majority in aggregate outstanding principal amount of the Controlling Class has directed the Issuer to waive the
Restricted Trading Period (which waiver may be rescinded by the Controlling Class at any time that such rating
requirement is not satisfied).

          "Rule 144A" means Rule 144A under the Securities Act.

          "Rule 144A Information" means such information as is specified pursuant to Rule 144A(d)(4) under the
Securities Act (or any successor provision thereto).

          "S&P Industry       Classification   Group" means the classification in Schedule O.

          "Sal_._ee"
                 has the meaning specified in Section 5.17(a).

          "Schedule of Closing Underlying Assets" means the list of Underlying Assets securing the Notes that is
attached as Schedule A, which Schedule shall include the Principal/Notional Balance, interest rate, the Stated
Maturity and the Standard & Poor's Rating and the Moody's Rating of each Underlying Asset unless such ratings are
private ratings.

         "Scheduled Distribution" means, with respect to any Pledged Security, for each Due Date, the scheduled
payment in Cash of principal and/or interest and/or fee due on such Due Date with respect to such Pledged Security,
determined in accordance with the assumptions specified in Section 1.2.

          "Scheduled Preference Share Redemption            Date" means the August 2046 Distribution Date.

          "Second Currency," has the meaning specified in Section 14.13.

          "Second Period" has the meaning specified in Section 14.2(e).

          "Section 3(c)(7) DTC Notice" has the meaning specified in Section 10.8(b).

          "Secured Parties" has the meaning specified in the Preliminary Statement of this Indenture.

          "Securities"    means the Notes and the Preference Shares.

          "Securities Act" means the United States Securities Act of 1933, as amended.

          "Securities Intermediary"        has the meaning specified in Section 6.18 hereo£

          "Securitvholder"      has the meaning specified under "Holder" above.



                                                               39
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                           Part 1 of 4 Pg 48 of 65


          "Servicer"means, withrespect toanyIssueof Asset-Backed  Securities,theentitythat, absent any default,
event of default or similar condition (however described), is primarily responsible for servicing, managing,
monitoring and otherwise administering the cash flows from which payments to investors in such Asset-Backed
Securities are made.

          "Share Register" has the meaning given to such term in the Preference Share Paying Agency Agreement.

          "Share Registrar" means Maples Finance Limited, solely in its capacity as Share Registrar under the
Preference Share Paying Agency Agreement, unless a successor Person shall have become the Share Registrar
pursuant to the applicable provisions of the Preference Share Paying Agency Agreement, and thereafter, the Share
Registrar shall mean such successor Person.

         "Share Trustee" means Maples Finance Limited, a licensed trust company incorporated in the Cayman
Islands, which holds all of the outstanding Ordinary Shares of the Issuer under the terms of a declaration of trust.

          "Small Business Loan Securities" means Asset-Backed Securities (other than Franchise Securities) that
entitle the holders thereof to receive payments that depend (except for rights or other assets designed to assure the
servicing or timely distribution of proceeds to holders of the Asset-Backed Securities) on the cash flow from general
purpose corporate loans made to small business concerns, including but not limited to those (a) made pursuant to
Section 7(a) of the United States Small Business Act, as amended, and (b) partially guaranteed by the United States
Small Business Administration. Small Business Loan Securities generally have the following characteristics: (1) the
loans have standardized terms; (2) the loans are obligations of a relatively limited number of borrowers and
accordingly represent an undiversified pool of obligor credit risk; and (3) repayment thereof can vary substantially
from the contractual payment schedule (if any), with early prepayment of individual loans depending on numerous
factors specific to the particular obligors and upon whether, in the case of loans beating interest at a fixed rate, such
loans or securities include an effective prepayment premium.           For the purpose of this definition, "Franchise
Securities" means Asset-Backed Securities that entitle the holders thereof to receive payments that depend (except
for rights or other assets designed to assure the servicing or timely distribution of proceeds to holders of the Asset-
Backed Securities) on the cash flow from (a) a pool of franchise loans made to operators of franchises that provide
oil, gasoline, restaurant or food services and provide other services related thereto and (b) leases or subleases of
equipment to such operators for use in the provision of such goods and services. They generally have the following
characteristics: (1) the loans, leases or subleases have varying contractual maturities; (2) the loans are secured by
real property purchased or improved with the proceeds thereof (or to ref'mance an outstanding loan the proceeds of
which were so used); (3) the obligations of the lessors or sublessors of the equipment may be secured not only by the
leased equipment but also the related real estate; (4) the loans, leases and subleases are obligations of a relatively
limited number of obligors and accordingly represent a relatively undiversified pool of obligor credit risk; (5)
payment of the loans can vary substantially from the contractual payment schedule (if any), with prepayment of
individual loans depending on numerous factors specific to the particular obligors and upon whether, in the case of
loans bearing interest at a fixed rate, such loans include an effective prepayment premium; (6) the repayment stream
on the leases and subleases is primarily determined by a contractual payment schedule, with early termination of
such leases and subleases predominantly dependent upon the disposition to a lessee, a sublessee or third party of the
underlying equipment; (7) such leases and subleases typically provide for the right of the lessee or sublessee to
purchase the equipment for its stated residual value, subject to payments at the end of a lease term for excess usage
or wear and tear; and (8) the ownership of a franchise right or other similar license and the creditworthiness of such
franchise operators is the primary factor in any decision to invest in these securities.

           "Sovereign" means, when used with respect to any country or obligations, the central or federal executive
or legislative governmental authority of such country or, insofar as any obligations are concerned, any agency or
instrumentality of such governmental authority (including any central bank or central monetary authority) to the
extent such obligations are fully backed by the general taxing power of such governmental authority.

         "Special-Maiority-in-Interest  of Preference Shareholders" means, at any time, Preference Shareholders
whose aggregate Voting Percentages at such time exceed sixty-six and two-thirds percent (66 %) of all Preference
Shareholders' Voting Percentages at such time.




                                                           40
30775-00034NY:1268831.8
 08-13555-mg                   Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                  Exhibit D
                                                  Part 1 of 4 Pg 49 of 65


          "Specified Assets" means, at any time, (a) Principal Proceeds or Uninvested Proceeds held as Cash, (b) any
Substituted Collateral Proceeds on deposit in the Substituted Collateral Account and (c) Eligible Investments
purchased with Principal Proceeds or Uninvested Proceeds.

          "Specified Change" means any amendment or waiver of, or supplement to, an Underlying Instrument
governing or relating to an Underlying Asset that (a) reduces the principal amount of such Underlying Asset, (b)
reduces the rate of interest or any fee payable on such Underlying Asset, (c) postpones the Due Date of any
Scheduled Distribution in respect of such Underlying Asset, (d) alters the pro rata allocation or sharing, or the
relative priorities, of Distributions required by such Underlying Instrument, (e) releases any material guarantor of
such Underlying Asset from its obligations, (f) terminates or releases any material lien or security interest securing
such Underlying Asset, (g) changes any of the provisions of such Underlying Instrument specifying the number or
percentage of lenders or holders required to effect any of the foregoing or (11)causes such Underlying Asset to cease
to meet the definitional requirements of an Underlying Asset; provided that any amendment, waiver or supplement
referred to in any of clauses (a) through (d) shall constitute a "Specified Change" only to the extent the Issuer would
be affected thereby.

            "Specified Currency"        has the meaning specified in Section 14.13.

            "Specified Person" has the meaning specified in Section 2.5.

            "Specified Place" has the meaning specified in Section 14.13.

            "Standard         & Poor's" means Standard & Poor's, a division of The McGraw-Hill   Companies, Inc., and any
successor     or successors     thereto.

          "Standard & Poor's Applicable Recovery Rate" means, with respect to any Underlying Asset on any
Measurement Date, an amount equal to the percentage for such Underlying Asset (which shall mean with respect to
a Synthetic Security, the related Reference Obligation) set forth in the Standard & Poor's Recovery Rate Matrix
attached as!Schedule E in (x) the applicable table, (y) the row in such table opposite the Standard & Poor's Rating of
such Underlying Asset as of the date of purchase by the Issuer of such Underlying Asset and (z)(i) for purposes of
determining the Standard & Poor's Recovery Rate, the column in such table below the current rating of the
respective Class of Notes or (ii) for purposes of determining the Calculation Amount, the column in such table
below the current rating of the most senior Class of Notes Outstanding.

          "Standard & Poor's Asset-Backed              Securi_, Category" means each category of asset-backed    security
specified in Schedule F.

         "Standard & Poor's CDO Evaluator" means the dynamic, analytical computer model developed by
Standard & Poor's and used to estimate default risk of Asset-Backed Securities and provided to the Collateral
Manager and the Trustee on or before the Closing Date, as it may be modified by Standard & Poor's from time to
time and provided to the Collateral Manager and the Trustee following the Closing Date.

          "Standard & Poor's Minimum Weighted Average Recovery Rate Test" means a test which is satisfied
as of the Closing Date if the Standard & Poor's Weighted Average Recovery Rate is greater than or equal to (i) with
respect to the Class A-1 Notes, 30.0%, (ii) with respect to the Class A-2 Notes, 30.0%, (iii) with respect to the Class
B Notes, 35.0%, (iv) with respect to the Class C Notes, 40.5%,(v) with respect to the Class D Notes, 47.5% and (vi)
with respect to the Class E Notes, 54.0%.

          "Standard & Poor's Rating" means, with respect to any Underlying Asset (which shall mean with respect
to a Synthetic Security, the related Reference Obligation) (a) if such Underlying Asset is rated either publicly or
privately (with the appropriate consent by the obligor having being provided to Standard & Poor's) by Standard &
Poor's, the Standard & Poor's Rating shall be such rating, or, if such Underlying Asset is not rated by Standard &
Poor's, but the Issuer or the Collateral Manager on behalf of the Issuer has requested that Standard & Poor's perform
a credit estimate in respect of such Underlying Asset, the Standard & Poor's Rating shall be the rating so assigned by
Standard & Poor's, provided that pending receipt from Standard & Poor's of such rating, such Underlying Asset shall


                                                                41
30775-00034    NY:1268831.8
 08-13555-mg               Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                              Part 1 of 4 Pg 50 of 65


have a Standard & Poor's Rating of "CCC-" if the Collateral Manager believes that such estimate will be at least
"CCC-" or (b) if clause (a) is not applicable and such Underlying Asset falls within any asset class listed under
Schedule F, the rating thereof determined in accordance with Schedule F. For so long as any Notes remain
Outstanding, prior to or immediately following the acquisition of any Underlying Asst not publicly rated by
Standard & Poor's and on or prior to each one-year anniversary of the acquisition of any such Underlying Asset, the
Issuer shall submit to Standard & Poor's a request to perform a credit estimate on such Underlying Asset together
with all information reasonably required by Standard & Poor's to perform such credit estimate.

           "Standard    & Poor's Weighted Average Recovery Rate" means, as of the Closing Date or any
Measurement Date, the number obtained by summing the products obtained by multiplying the Principal/Notional
Balance of each Underlying Asset by its Standard & Poor's Applicable Recovery Rate, dividing such sum by the
Aggregate Principal/Notional Balance of all such Underlying Assets, multiplying the result by 100 and rounding up
to the first decimal place.

          "Stated Maturity" means, with respect to (a) any security (other than a Note), the date specified in such
security as the fixed date on which the final payment of such security is due and payable, (b) any repurchase
obligation, the repurchase date thereunder on which the final repurchase obligation thereunder is due and payable,
and (c) with respect to the Notes, August 17, 2046, in each case, if such date is not a Business Day, the next
following Business Day.

          "Student Loan Securities" means Asset-Backed Securities that entitle the holders thereof to receive
payments that depend (except for rights or other assets designed to assure the servicing or timely distribution of
proceeds to holders of the Asset-Backed Securities) on the cash flow from loans made to students (or their parents)
to finance educational needs, generally having the following characteristics: (1) the loans have standardized terms;
(2) the loans are obligations of numerous borrowers and accordingly represent a diversified pool of obligor credit
risk; (3) the repayment stream on such loans is primarily determined by a contractual payment schedule, with early
repayment on such loans predominantly dependent upon interest rates and the income of borrowers following the
commencement of amortization; and (4) such loans may be fully or partially insured or reinsured by the United
States Department of Education.

          "Sub-Prime       Securities" means Residential Securities that have a FICO Score equal to or below 625.

          "Subordinate      Interests" has the meanings specified in Section 13.1.

         "Subooor' means each of the up to eight groups of Underlying Assets on which the Listed Bidders may
provide a separate bid in an Auction.

          "Subpool Price" means the separate bid submitted by a bidder in the Auction for a Subpool of Underlying
Assets.

         "Subscription Agreements" means each of the subscription agreements, dated on or prior to the Closing
Date, between the Issuer and the initial purchaser of the Preference Shares named on the signature pages thereof, as
modified and supplemented and in effect from time to time.

          "Substitute Auction Agent" means the Initial Purchaser or another third party selected by the Collateral
Manager; provided, however, that (i) no such Substitute Auction Agent shall be allowed to submit a bid in the
Auction for which it is acting as Auction Agent and (ii) the Initial Purchaser shall have no obligation to act as
Substitute Auction Agent.

          "Substituted     Collateral Account" shall have the meaning specified in Section 10.6(a).

          "Substituted     Collateral Proceeds" shall have the meaning specified in Section 12.1(a)(iv).

          "Substitution"     shall have the meaning specified in Section 12.2(d).




                                                              42
30775-00034NY:1268831,8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                              Part 1 of 4 Pg 51 of 65


          "Substitution
                      Criteria"        shall have the meaning specified in Section 12.2(d).

          "Successor Trustee Ratings Requirement" shall have the meaning specified in Section 6.11.

        "Synthetic Security. Counterparty Ratings Requirements" means, with respect to a Synthetic Security
Counterparty, that it shall at all times satisfy the following applicable requirements:

          (a)       so long as the Class A Notes or the Class B Notes are issued and remain Outstanding,

                    (1)      either:

                              (A)       the unsecured, unguaranteed and otherwise unsupported senior long term debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "AA-" by
                    Standard & Poor's or subject to the satisfaction of the Rating Condition with respect to Standard &
                    Poor's "A+" by Standard & Poor's and so long as the Synthetic Security Counterparty has posted
                    collateral as specified in the First Master Agreement; or

                              (B)     the unsecured, unguaranteed    and otherwise unsupported short term debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "A-l+" by
                    Standard & Poor's, and

                    (2)      either:

                              (A)    the unsecured, unguaranteed and otherwise unsupported long term senior debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "Aa3" by
                    Moody's and not on watch for possible downgrade and no short term rating is available from
                    Moody's, or

                              (B)      the unsecured, unguaranteed and otherwise unsupported long term senior debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "AI" by
                    Moody's and not on watch for possible downgrade and the unsecured, unguaranteed and otherwise
                    unsupported short term debt obligations of Synthetic Security Counterparty or any transferee (or
                    any guarantor of Synthetic Security Counterparty or any transferee that unconditionally and
                    absolutely guarantees the obligations of Synthetic Security Counterparty or such transferee) are
                    rated at least "P 1" by Moody's and not on watch for possible downgrade.

        (b)      so long as (i) the Class A Notes and the Class B Notes are no longer Outstanding and (ii) the Class
C Notes or the Class D Notes (1) are issued and remain Outstanding and (2) are rated no higher than "AI" by
Moody's and no higher than "A" by Standard & Poor's:

                    (1)      either:

                              (A)     the unsecured, unguaranteed and otherwise unsupported senior long term debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "A" by
                    Standard & Poor's, or



                                                             43
30775-00034NY:1268831.8
 08-13555-mg               Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                              Part 1 of 4 Pg 52 of 65


                              (B)     the unsecured, unguaranteed and otherwise unsupported short term debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "A-I" by
                    Standard & Poor's, and

                    (2)        either:

                              (A)     the unsecured, unguaranteed and otherwise unsupported long term senior debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "A2" by
                    Moody's and not on watch for possible downgrade and no short term rating is available from
                    Moody's, or

                              (B)       the unsecured, unguaranteed and otherwise unsupported long term senior debt
                    obligations of Synthetic Security Counterparty or any transferee (or any guarantor of Synthetic
                    Security Counterparty or any transferee that unconditionally and absolutely guarantees the
                    obligations of Synthetic Security Counterparty or such transferee) are rated at least "A3" by
                    Moody's and not on watch for possible downgrade and the unsecured, unguaranteed and otherwise
                    unsupported short term debt obligations of Synthetic Security Counterparty or any transferee (or
                    any guarantor of Synthetic Security Counterparty or any transferee that unconditionally and
                    absolutely guarantees the obligations of Synthetic Security Counterpart 5, or such transferee) are
                    rated at least "P 2" by Moody's and not on watch for possible downgrade.

          All guarantees must meet Standard & Poor's' then current guidelines with respect to guarantees.

         ':!Synthetic Security" means a Transaction (as such term is defined in the Synthetic Security Confn-rnation
Form) entered into by the Issuer and a Synthetic Security Counterparty made pursuant to the related Master
Agreement and Synthetic Security Confirmation, where the Issuer sells credit protection in relation to an individual
Reference Obligation that is an Asset Backed Security.

          "Synthetic      Security Collateral Account" has the meaning specified in Section 10.2.

         "Synthetic Security Collateral Amount" means, with respect to each Synthetic Security Counterparty, an
amount equal to, on any date of determination, the amount on deposit in the related Synthetic Security Collateral
Account (including the Aggregate Principal/Notional Balance of the Eligible Investments on deposit in such
account, but excluding all earnings on such Eligible Investments).

         "S.ynthetic Security Confirmation" means a conftrmation of a Transaction (as such term is defined in the
Synthetic Security Confirmation Form).

           "Synthetic Security Confirmation Form" means (i) in the case of Reference Obligations that are RMBS
Securities, the Form Approved Synthetic Security attached hereto as Exhibit K and (ii) in the case of Reference
Obligations that are CMBS Securities, the Form Approved Synthetic Security attached hereto as Exhibit L, or if not
in substance identical to such form, a form approved by each Synthetic Security Counterparty and that satisfies the
Rating Condition.

         "Synthetic Security, Counterparty" means (i) any counterparty of the Issuer in a Master Agreement (other
than the First Master Agreement) and the related Synthetic Security ConfLrmation and (ii) the First Synthetic
Security Counterparty.

         "Synthetic Security Counterparty Defaulted Obligation" means a Synthetic Security with respect to
which the relevant Synthetic Security Counterparty has defaulted in the performance of its payment obligations
under such Synthetic Security.


                                                             44
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                              Part 1 of 4 Pg 53 of 65


            "Synthetic
                     Securit3,    Issuer Account" has the meaning specified in Section 10.2.

            "Synthetic    Securit 3, Termination/Novation    Payment    (Issuer)"   has the meaning   specified in Section
11.1A(v).

           "Tax Event" means an event which occurs if, whether or not as a result of any change in law or
interpretation thereof: (a) any obligor is required to deduct or withhold from any payment under any Underlying
Asset to the Issuer for or on account of any tax for whatever reason, whether or not as a result of any change in law
or interpretation, and such obligor is not, or will not be, required to pay to the Issuer such additional amount as is
necessary to ensure that the net amount actually received by the Issuer (free and clear of taxes, whether assessed
against such obligor or the Issuer) will equal the full amount that the Issuer would have received had no such
deduction or withholding occurred, (b) the Issuer or an Interest Rate Swap Counterparty is required to deduct or
with_hold from any payment under an Interest Rate Swap Agreement for or on account of any tax and the Issuer is
obligated to pay gross-up amounts to the counterparty, or such Interest Rate Swap Counterparty is not obligated to
pay to the Issuer such additional amount as is necessary to ensure that the net amount actually received by the Issuer
(free and clear of taxes, whether assessed against such obligor or the Issuer) will equal the full amount that the Issuer
would have received had no such deduction or withholding occurred, or (c) any net income, profits or similar tax is
imposed on the Issuer.

         "Tax Materiality Condition" means a condition which will be satisfied during any twelve (12) month
period if any combination of Tax Events results in aggregate, in a payment, charge or tax burden to the Issuer in
excess of $1,000,000.

            "Tax Redemption"      has the meaning specified in Section 9.2.

         "Temporary Regulation S Global Notes" means with respect to any Class of Notes, the Temporary
Regulation S Global Note issued pursuant to Section 2.1 (a), substantially in the form of Exhibit A-1.

         "Trading Gain Payment" means an early termination payment received by the Issuer from each Synthetic
Security Counterparty or any replacement counterparty, as a result of assigning or terminating a Synthetic Security.

         "Trading   Loss Payment" means an early termination payment paid to each Synthetic                       Security
Counterparty or any replacement counterparty, as a result of assigning or terminating a Synthetic Security.

          "Transaction    Agreements" means the Notes, this Indenture, the Interest Rate Swap Agreement, the
Management Agreement, the Administration Agreement, the Collateral Administration Agreement, the Note
Purchase Agreement, the Preference Share Paying Agency Agreement and the Subscription Agreements, each dated
on or prior to the Closing Date.

           "Transfer Agent" means the Person or Persons authorized by the Issuer to exchange or provide for the
registration of the transfer of Securities, including in the case of an exchange or registration of the transfer of the
Preference Shares, the Preference Share Transfer Agent.

           "Trust Officer" means, when used with respect to the Trustee, any Officer within the Corporate Trust
Office (or any successor group of the Trustee) authorized to act for and on behalf of the Trustee, including any vice
president, assistant vice president or other Officer of the Trustee customarily performing functions similar to those
performed by the persons who at the time shall be such Officers, respectively, or to whom any corporate trust matter
is referred at the Corporate Trust Office because of such person's knowledge of and familiarity with the particular
subject.

          "Trustee" means Deutsche Bank Trust Company Americas, a New York banking corporation organized
and existing under the laws of the State of New York, solely in its capacity as trustee hereunder, unless a successor
Person shall have become the Trustee pursuant to the applicable provisions of this Indenture, and thereafter Trustee
shall mean such successor Person.




                                                             45
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                   Exhibit D
                                            Part 1 of 4 Pg 54 of 65


          "UCC" means the New York Uniform Commercial Code.

          "Underlying     Asset" means any Asset Backed Security and each Synthetic Security.

         "Underlying Instruments"      means the indenture or other agreement pursuant to which a Pledged
Underlying Asset (which shall mean with respect to a Synthetic Security, the related Reference Obligation), Eligible
Investment or Equity Security has been issued or created and each other agreement that governs the terms of or
secures the obligations represented by such Pledged Underlying Asset, Eligible Investment or Equity Security or of
which holders of such Pledged Underlying Asset, Eligible Investment or Equity Security are the beneficiaries.

           "Uninvested Proceeds" means, at any time on or prior to the Determination Date prior to the First
Distribution Date, the net proceeds received by the Issuer on the Closing Date from the initial issuance of the
Securities and deposited in the Uninvested Proceeds Account, to the extent such proceeds have not been invested in
Underlying Assets or deposited into the Expense Account in accordance with the terms of this Indenture.

          "Uninvested     Proceeds Account" has the meaning specified in Section 10.20).

           "Uni._..._t"
                    means an Asset-Backed Security with a warrant or equity component      attached which otherwise
satisfies the requirements for Asset-Backed Securities.

          "United States" and "U.S.......z."
                                        means the United States of America, including the States thereof and the
District of Columbia.

         "United States Regulations" 31 C.F.R. Part 357, Subpart B; 12 C.F.R. Part 615, Subparts O, R, and S; 12
C.F.R. Part 987; 12 C.F.R. Part 1511; 24 C.F.R. Part 81, Subpart H; 31 C.F.R. Part 354; 18 C.F.R. Part 1314; and 24
C.F.R. Part 350.

          "Unregistered    Securities" has the meaning specified in Section 5.17(c).

          "U.S. Person" has the meaning given in Regulation S under the Securities Act.

         "USA PATRIOT Act" means The Uniting and Strengthening               America by Providing Appropriate Tools
Required to Intercept and Obstruct Terrorism Act of 2001, as amended.

          "Voting Percentage" of a Preference Shareholder at any time means the ratio (expressed as a percentage)
of a Preference Shareholder's Preference Shares Outstanding to the aggregate Outstanding Preference Shares of all
Preference Shareholders at such time.

          "WAC Change" means, on each date an Eligible Substitute Asset is purchased by the Issuer, any positive
or negative change in the Weighted Average Coupon due to the purchase of such Eligible Substitute Asset as
calculated by the Collateral Manager.

          "WAS Change" means, on each date an Eligible Substitute Asset is purchased by the Issuer, any positive
or negative change in the Weighted Average Spread due to the purchase of such Eligible Substitute Asset as
calculated by the Collateral Manager.

         "Weighted Average Coupon" means the number (rounded up to the next one-hundredth of one percent
(0.01%)) obtained by (i) summing the products obtained by multiplying (A) the current interest rate on each Pledged
Underlying Asset that is a Fixed Rate Security (excluding all Defaulted Securities, Written Down Securities and
Deferred Interest PIK Bonds) by 03) the Principal/Notional Balance of each such Pledged Underlying Asset and (ii)
dividing such sum by the Aggregate Principal/Notional Balance of all Pledged Underlying Assets that are Fixed
Rate Securities (excluding all Defaulted Securities, Written Down Securities and Deferred Interest PIK Bonds).

        "Weighted Average Coupon Test" means a test that is satisfied as of the Closing Date if the Weighted
Average Coupon is greater than or equal to 4.90%.


                                                            46
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                     Exhibit D
                                            Part 1 of 4 Pg 55 of 65


          "Weighted   Average Spread" is the number (rounded up to the next one-hundredth of one percent (0.01%))
obtained by (a) summing the products obtained by multiplying (i) the spread above the floating rate index at which
interest accrues on each Underlying Asset that is a Floating Rate Security or the Fixed Amount applicable to a
Synthetic Security (in each case, other than Defaulted Securities, Written Down Securities and Deferred Interest PIK
Bonds) as of such date by (ii) the Principal/Notional Balance of such Underlying Asset as of such date, and (ii)
dividing such sum by the Aggregate Principal/Notional Balance of all Pledged Underlying Assets that are Floating
Rate Securities (excluding all Defaulted Securities, Written Down Securities and Deferred Interest PIK Bonds).

        "Weighted Average Spread Test" means a test that is satisfied as of the Closing Date if the Weighted
Average Spread is greater than or equal to 1.80%.

         "Withholding Securi_." means any Underlying Asset with respect to which the related trustee or paying
agent informs the Issuer, Trustee or Collateral Manager that it intends to withhold, or actually does withhold from
payment on such Underlying Asset, amounts in respect of withholding taxes.

        "Writedown      Reimbursement      Payment   Amount"     means, with respect    to a Synthetic Security,      the
meaning set forth therein.

         "Written Down Security." means, as of any date of determination, any Underlying Asset that is part of an
issue as to which the aggregate par amount of the entire class of such Underlying Asset and all other securities
secured by the same pool of collateral that rank senior in priority of payment to such class exceeds the aggregate par
amount (including reserved interest or other amounts available for overcollateralization) of all collateral securing
such issue (excluding defaulted collateral).

        "Zero Coupon Bond" means any security the terms of which provide for repayment of a stated principal
amount on a stated maturity date without periodic payments of interest.

                          Section 1.2 Assumptions as to Underlying Assets_ Etc.

         The provisions set forth in this Section 1.2 shall be applied in connection with all calculations required   to
be made pursuant to this Indenture, including with respect to Scheduled Distributions on any Pledged Security,        or
any payments on any other assets included in the Collateral, and with respect to the income that may be earned        on
Scheduled Distributions on such Pledged Securities and on any other amounts that may be received for deposit          in
the Collection Accounts.

          (a)       All calculations with respect to Scheduled Distributions on the Pledged Securities securing the
Notes and any determination of the Average Life of any Underlying Asset, and any determination of the rate at
which interest accrues on any Pledged Security, shall be made by the Collateral Manager using (in the case of the
Underlying Assets) the assumptions that (i) no Pledged Security defaults or is sold, (ii) prepayment of any Pledged
Security during any month occurs at a rate equal to the average rate of prepayment (expressed as a percentage of the
pricing prepayment curve calculated as of the last Determination Date) during the period of six consecutive months
immediately preceding the current month (or, with respect to any Pledged Security that has not been outstanding for
at least six consecutive calendar months, at the rate of prepayment assumed at the time of issuance of such Pledged
Security), (iii) any clean-up call with respect to a Pledged Security will be exercised when economic to the Person or
Persons entitled to exercise such call, (iv) no other redemption of any Pledged Security will occur except for those
that have actually occurred or as to which irrevocable notice thereof shall have been given and (v) no payment of
contingent interest will be made. To the extent they are not manifestly in error, any information or report received
by the Collateral Manager or Issuer with respect to an Underlying Asset may be conclusively relied upon in making
such calculations.

          (b)      For purposes of determining compliance with the Interest Coverage Tests, except as otherwise
specified in the Interest Coverage Tests, there shall be excluded all scheduled payments (whether of principal,
interest, fees or other amounts), including payments to the Issuer in respect of Defaulted Securities or an Interest
Rate Swap Agreement that the Collateral Manager has determined in its reasonable business judgment will not be
made in Cash or will not be received when due. For purposes of calculating each Interest Coverage Ratio:



                                                          47
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                          Exhibit D
                                             Part 1 of 4 Pg 56 of 65


                     (i)      the expected interest income on Underlying Assets and Eligible Investments, the
           expected amounts receivable under the Interest Rate Swap Agreement, the expected interest payable on the
           Notes and the expected amounts, if any, payable under or in respect of the Interest Rate Swap Agreement
           will be calculated using the interest rates applicable thereto on the applicable Measurement Date;

                     (ii)    accrued original issue discount on Eligible Investments will be deemed to be a scheduled
           interest payment thereon due on the date such original issue discount is scheduled to be paid; and

                     (iii)     it will be assumed     that no principal   payments   are made on the Notes      during the
           applicable periods.

          (c)      For each Due Period, the Scheduled Distribution on any Pledged Security (other than a Defaulted
Security or a Deferred Interest PIK Bond, except as otherwise provided herein, shall be assumed to have a
Scheduled Distribution of zero) shall be the sum of (x) the total amount of payments and collections in respect of
such Pledged Security that, if paid as scheduled, will be available in the Collection Accounts at the end of the Due
Period for payment on the Securities and of certain expenses of the Issuer and the Co-Issuer plus (y) any such
amounts received in prior Due Periods that were not disbursed on a previous Distribution Date (provided that such
sum shall be computed without regard to any amounts excluded from the determination of compliance with the
Coverage Tests pursuant to Section 1.2(b); provided, further that if the Collateral Manager determines in its
reasonable business judgment that there is a significant risk that such amounts would be reasonably likely to be
subject to disgorgement as a preferential transfer under Section 547 of the Bankruptcy Code such amounts shall be
excluded from such determination).

          (d)      Subject to Section 1.2(b), each Scheduled Distribution receivable with respect to a Pledged
Security shall be assumed to be received on the applicable Due Date, and each such Scheduled Distribution shall be
assumed to be immediately deposited in the Interest Collection Account or the Principal Collection Account, as the
case may be, and, except as otherwise specified, to earn interest at the Assumed Reinvestment Rate. All such funds
shall be assumed to continue to earn interest until the date on which they are required to be available in the
Collection Accounts for transfer to the Payment Account and application, in accordance with the terms hereof, to
payments of principal of or interest on the Notes and payments of Excess Amounts on the Preference Shares or other
amounts payable pursuant to this Indenture.

          (e)      With respect to any Underlying Asset as to which any interest or other payment thereon is subject
to withholding tax of any Relevant Jurisdiction, each Distribution thereon shall, for purposes of the Coverage Tests
and the Collateral Quality Tests, be deemed to be payable net of such withholding tax unless the issuer thereof or
obligor thereon is required to make additional payments to fully compensate the Issuer for such withholding taxes
(including in respect of any such additional payments). On any date of determination, the amount of any Scheduled
Distribution due on any future date shall be assumed to be made net of any such uncompensated withholding tax
based upon withholding tax rates in effect on such date of determination.

          (f)      Any reference in the definition of "Management Fee" in Section 1.1 to an amount calculated with
respect to a period at a per annum rate shall be computed on the basis of a 360 day year of twelve 30-day months.

           Section 1.3       Rules of Construction.

           Unless the context otherwise clearly requires:

           (a)      the definitions of terms herein shall apply equally to the singular and plural forms of the terms
defined;

         (b)     whenever      the context may require,       any pronoun    shall include the corresponding    masculine,
feminine and neuter forms;

         (c)       the words "include," "includes" and "including" shall be deemed to be followed by the phrase
"without limitation";



                                                              48
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4          Filed 07/16/12 Entered 07/16/12 16:40:47                  Exhibit D
                                               Part 1 of 4 Pg 57 of 65


          (d)       the word "will" shall be construed to have the same meaning and effect as the word "shall";

          (e)      any definition of or reference to any agreement, instrument or other document herein shall be
construed as referring to such agreement, instrument or other document as from time to time amended,
supplemented or otherwise modified (subject to any restrictions on such amendments, supplements or modifications
set forth herein);

        (f)       terms used herein that are defined in the UCC and not otherwise defined herein shall have the
meanings set forth in the UCC, unless the context otherwise requires;

         (g)      any reference herein to any Person, or to any Person in a specified capacity, shall be construed to
include such Person's permitted successors and assigns or such Person's permitted successors in such capacity, as the
case may be; and

          (h)      all references in this instrument to designated "Sections," "clauses" and other subdivisions are to
the designated Sections, clauses and other subdivisions of this instrument as originally executed, and the words
"herein," "hereof," "hereunder" and other words of similar import refer to this Indenture as a whole and not to any
particular Section, clause or other subdivision.

                                                         ARTICLE    II

                                                        THE NOTES


                          Section   2.1   Forms Generally.

          (a)      Notes offered and sold in reliance on Regulation S (each, a "Regulation S Note"), in the case of
the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes, shall be issued in the form of
Temporary Regulation S Global Notes in fully registered form without interest coupons, substantially in the form of
the note attached as Exhibit A-l, with such appropriate insertions, omissions, substitutions and other variations as
are required or permitted by this Indenture and such legends as may be applicable thereto, which shall be deposited
with the Trustee at the Corporate Trust Office, as custodian for DTC and registered in the name of a nominee of
DTC, duly executed by the Issuers and authenticated by the Trustee or the Authenticating Agent as hereinafter
provided.     The Aggregate Outstanding Amount of each Regulation S Global Note may from time to time be
increased or decreased by adjustments made on the records of the Trustee, as custodian for DTC or its nominee, as
the case may be. The Temporary Regulation S Global Note of any Class shall be exchanged for a Permanent
Regulation S Global Note for such Class after expiration of the Distribution Compliance Period pursuant to and as
provided in Section 2.4 in fully registered form without coupons, authenticated and delivered in substantially the
form attached hereto as Exhibit A-2. (each of the Temporary Regulation S Global Notes and the Permanent
Regulation S Global Notes shall collectively be referred to herein as the "Regulation S Global Notes"). No
Regulation S Global Note may be delivered within the United States or its possessions.

         (b)       Notes offered and sold in the United States pursuant to an exemption from the registration
requirements of the Securities Act ("Restricted Notes"), in the case of the Notes, shall be issued in fully registered
form without interest coupons substantially in the form of the note attached as Exhibit A-3 (each, a "Restricted
Global Note"), with such appropriate insertions, omissions, substitutions and other variations as are required or
permitted by this Indenture and such legends as may be applicable thereto, which shall be deposited with the Trustee
at the Corporate Trust Office, as custodian for DTC and registered in the name of a nominee of DTC, duly executed
by the Issuers and authenticated by the Trustee or the Authenticating Agent as hereinafter provided. The Aggregate
Outstanding Amount of each Restricted Global Note may from time to time be increased or decreased by
adjustments made on the records of the Trustee, as custodian for DTC or its nominee, as the case may be.

         (c)      Without unnecessary delay but in any event prior to the termination of the Distribution
Compliance Period, the Issuer shall deliver to the Trustee the Permanent Regulation S Global Notes for each Class
executed by the Issuer. Upon the termination of the Distribution Compliance Period, the Temporary Regulation S
Global Note for each Class shall be surrendered by the Note Registrar, as custodian for the Depositary, to the



                                                             49
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4             Filed 07/16/12 Entered 07/16/12 16:40:47                          Exhibit D
                                                  Part 1 of 4 Pg 58 of 65


Authenticating AgentattheAuthenticating  Agent's  office,astheIssuer's agentforsuchpurpose    (or,attheTrustee's
option,NoteRegistrar, ascustodian fortheDepositary,   shallbeinstructed bytheTrustee   orAuthenticating  Agentto
endorse eachsuchTemporary    RegulationSGlobalNotetoreduce      theprincipalamount  thereof), tobeexchanged,    in
wholeorfromtimetotimeinpart,foraPermanent         Regulation  SGlobalNoteofthesame      Classwithoutcharge     and
theAuthenticating  Agentshallauthenticate  anddelivertotheNoteRegistrar,     ascustodian  fortheDepositary,    for
deliveryin exchange foreachsuchTemporary     Regulation SGlobalNoteortheportions      thereoftobeexchanged,     an
equalaggregate  principalamount ofaPermanent     Regulation SGlobalNoteofthesame       Classasshallbespecified
by theNoteRegistrar,  ascustodianfortheDepositary;   provided, however,  that,uponsuchpresentation    bytheNote
Registrar,ascustodian fortheDepositary: (i) AuthenticatingAgentreceives   acertificatesubstantiallyintheformset
forthin ExhibitB-l, andsigned  by Euroclear   or Clearstream, asapplicable, astotheportions   of eachTemporary
Regulation  SGlobalNoteheldfor therespective      accounts of Euroclear or Clearstream, asapplicable,   thatit has
received fromeachbeneficial   ownerof theportionof eachTemporary          Regulation  S GlobalNotethento be
exchanged  writtencertification
                              substantiallytotheeffectsetforthin ExhibitB-2,withsuchchanges       therein asshall
be approved  by theIssuer,(ii) theTrustee,   thePrincipalPayingAgentandPayingAgentdonothaveactual
knowledge,  andhavenotreceived  notification  fromtheIssuerwithrespect    totheoriginalissuance  anddistribution
oftheRegulation  SGlobalNotesthatsuchperson       hasactualknowledge,   thatsuchcertificate is false,and(iii) the
Trustee andthePayingAgentdonothaveaUnitedStates          address astheaddress   forpayment  toanyHolderof the
Permanent  Regulation SGlobalNoteissuable    uponsuchexchange.    Notwithstanding  theforegoing,   in theeventof
redemption  in wholeor acceleration of all or anypartof theNotespriorto thetermination        of theDistribution
Compliance   Period,thePermanent  Regulation    SGlobalNoteswill notbeissuable     in respect  of theTemporary
Regulation  S GlobalNoteor portionthereof,andpayment        thereonwill bemadeasprovidedin theTemporary
Regulation SGlobalNote.AnyTemporary       Regulation  SGlobalNotepresented    totheTrustee  ortheAuthenticating
Agentfor aPermanent    RegulationSGlobalNoteshallbeendorsed       bytheTrustee    or theAuthenticating   Agentto
reduce theprincipalamount  thereof
                                 bytheamount     soexchanged,  andshallthenbereturned    totheNoteRegistrar,    as
custodian fortheDepositary, pendingexchange    oftheremaining  balancethereof pursuant tothetermshereof.

      (d)   RegulationS GlobalNotesandRestrictedGlobalNotesmaybeexchanged
                                                                       underthelimited
circumstances
          setforthinSection
                          2.4forDefinitive
                                         Notes.

        (e)    TheIssuersin issuingtheNotesmayuse"CUSIP"or "privateplacement"      numbers(if then
generallyin use),and,if so,theTrustee
                                    will indicate
                                                the"CUSIP"or "private
                                                                    placement"numbersoftheNotesin
noticesofredemption  andrelatedmaterials
                                       asa conveniencetoHolders; provided
                                                                        thatanysuchnoticemaystate
thatnorepresentationismade  astothecorrectnessofsuchnumbers
                                                          eitherasprintedontheNotesorascontainedin
anynoticeofredemption   andrelated
                                 materials.

                          Section   2.2     Authorized   Amount_    Note Interest   Rate_ Stated   Maturityl   Denominations.

          (a)      The aggregate principal amount of Notes which may be issued under this Indenture is limited as
set forth in subsection (b) below, excluding Notes issued upon registration of, transfer of, in exchange for, or in lieu
of, other Notes pursuant to Section 2.4, 2.5 or 8.5.

         (b)      Such Notes shall be divided into the following Classes having designations,                  original principal
amounts, original Note Interest Rates and Stated Maturities as follows:

     Designation               Original Principal Amount                 Note Interest Rate             Note Stated Maturity


   Class A-1 Notes                        $446,250,000                    LIBOR + 0.23%                   August 17, 2046


   Class A-2 Notes                        $78,750,000                     LIBOR     + 0.40%               August 17, 2046


    Class B Notes                         $66,500,000                     LIBOR + 0.50%                   August 17, 2046




                                                                   5O
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                             Part 1 of 4 Pg 59 of 65



    Class C Notes                    $26,000,000                   LIBOR   + 1.30%                August   17, 2046


    Class D Notes                    $35,250,000                   LIBOR   + 3.15%                August   17, 2046


    Class E Notes                    $10,500,000                   LIBOR + 6.00%                  August 17, 2046



        The Notes (including beneficial interests therein, if any) shall be issuable in minimum denominations of
$500,000 and in integral multiples of $1,000 in excess thereof.

          (c)      Interest shall accrue on the outstanding principal amount of each Class of Notes (determined (i) in
the case of the initial Interest Period, as of the Closing Date and (ii) thereafter, as of the first day of each Interest
Period and after giving effect to any payment of principal occurring on such day) from the Closing Date and will be
payable in arrears on each Distribution Date. Interest accruing for any Interest Period shall accrue for the period
from and including the first day of such Interest Period to and including the last day of such Interest Period. The
Preference Shares shall be entitled to receive Excess Interest pursuant to Section 11.1 to the extent funds are
available therefor in accordance with the Priority of Payments. Interest on the Notes will be calculated on the basis
of the actual number of days elapsed in the applicable Interest Period divided by 360.

          (d)       The Notes shall be redeemable as provided in Article IX and Section 11.1.

          (e)       The Depositary for the Global Notes shall initially be DTC.

          (f)     The Notes shall be numbered, lettered or otherwise distinguished in such manner as may be
consistent herewith, determined by the Authorized Officer of the Issuers executing such Notes as evidenced by their
execution of such Notes.

                          Section 2.3 Execution_ Authentication_ Delivery and Dating.

         (a)      The Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes shall be
executed on behalf of the Issuers by an Authorized Officer of the Issuers. The signatures of such Authorized Officer
on the Notes may be manual or facsimile (including in counterparts).

          (b)      Notes bearing the manual or facsimile signatures of an individual who was at any time an
Authorized Officer of either of the Issuers shall bind such Person, notwithstanding the fact that such individual has
ceased to hold such office prior to the authentication and delivery of such Notes or did not hold such office at the
date of issuance of such Notes.

          (c)     At any time and from time to time after the execution and delivery of this Indenture, the Issuers
may deliver Class A Notes, Class B Notes, the Class C Notes, the Class D Notes or the Class E Notes, executed by
the Issuers to the Trustee or the Authenticating Agent for authentication, and the Trustee or the Authenticating
Agent, upon Issuer Order, shall authenticate and deliver such Notes as provided in this Indenture and not otherwise.

         (d)      Each Note authenticated and delivered by the Trustee or the Authenticating Agent to or upon
Issuer Order on the Closing Date shall be dated as of the Closing Date. All other Notes that are authenticated after
the Closing Date for any other purpose under this Indenture shall be dated the date of their authentication.

          (e)      Notes issued upon transfer, exchange or replacement of other Notes shall be issued in authorized
denominations reflecting the original aggregate principal amount of the Notes so transferred, exchanged or replaced,
but shall represent only the current outstanding principal amount of the Notes so transferred, exchanged or replaced.
In the event that any Note is divided into more than one Note in accordance with this Article II, the original
principal amount of such Note shall be proportionately divided among the Notes, as applicable, delivered in



                                                           51
30775-00034NY:1268831.8
 08-13555-mg           Doc 29425-4         Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                           Part 1 of 4 Pg 60 of 65


exchange therefor and shall be deemed to be the original aggregate principal amount of such subsequently          issued
Notes.

          (f)      No Note shall be entitled to any benefit under this Indenture or be valid or obligatory for any
purpose, unless there appears on such Note a certificate of authentication (the "Certificate of Authentication"),
substantially in the form provided for herein, executed by the Trustee or by the Authenticating Agent by the manual
signature of one of their Authorized Officers, and such certificate upon any Note shall be conclusive evidence, and
the only evidence, that such Note has been duly authenticated and delivered hereunder.

                       Section 2.4 Registration_ Transfer and Exchange of Notes.

          (a)      Registration of Notes. The Trustee is hereby appointed as the registrar hereunder (the "Note
Registrar"). The Trustee is hereby appointed as a transfer agent with respect to the Notes (a "Transfer Agent"). The
Note Registrar shall keep a register (the "Note Register") at the Registrar Office in which, subject to such reasonable
regulations as it may prescribe, the Note Registrar shall provide for the registration of Notes and the registration of
transfers of Notes. Upon any resignation or removal of the Note Registrar, the Issuer shall promptly appoint a
successor or, in the absence of such appointment, assume the duties of Note Registrar.            The Issuers may not
terminate the appointment of the Note Registrar or any Transfer Agent without the consent of each Holder of
Preference Shares.

          Subject to this Section 2.4, upon surrender for registration or transfer of any Notes at the office or agency
of the Issuers to be maintained as provided in Section 7.2, the Issuers shaU execute, and the Trustee shaU
authenticate and deliver, in the name of the designated transferee or transferees, one or more new Notes of any
authorized denomination and of a like aggregate principal amount.

          At the option of the Holder, Notes may be exchanged for Notes of like terms, in any authorized
denominations and of like aggregate principal amount, upon surrender of the Notes to be exchanged at such office or
agency. Whenever any Note is surrendered for exchange, the Issuers shall execute and the Trustee shall authenticate
and deliver the Notes that the Noteholder making the exchange is entitled to receive.

          All Notes issued and authenticated upon any registration of transfer or exchange of Notes shall be the valid
obligations of the Issuers, evidencing the same debt, and entitled to the same benefits under this Indenture, as the
Notes surrendered upon such registration of transfer or exchange.

         Every Note presented or surrendered for registration of transfer or exchange shall be duly endorsed, or be
accompanied by a written instrument of transfer in form satisfactory to the Issuers and the Note Registrar duly
executed, by the Holder thereof or his attomey duly authorized in writing.

         No service charge shall be made to a Holder for any registration of transfer or exchange of Notes, but the
Trustee may require payment of a sum sufficient to cover any tax or other governmental charge payable in
connection therewith.

         (b)      Transfers of Notes.

                  (i)       Subject to Section 2.4(b)(iv), exchanges or transfers of beneficial interests in a Global
         Note may be made only in accordance with the rules and regulations of the Depositary (and, in the case of a
         Regulation S Global Note, prior to the end of the Distribution Compliance Period, only to beneficial
         owners who hold their interests only through Euroclear or Clearstream) and the transfer restrictions
         contained in the legend on such Global Note and exchanges or transfers of interests in a Global Note may
         be made only in accordance with the following:

                           (A)       Subject to clauses (B) through (F) of this Section 2.4(b)(i), transfers of a Global
                  Note shall be limited to transfers of such Global Note in whole, but not in part, to nominees of the
                  Depositary or to a successor of the Depositary or such successor's nominee.




                                                          52
30775-00034 NY:1268831.8
08-13555-mg               Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                        Exhibit D
                                             Part 1 of 4 Pg 61 of 65


                              (B)     The Trustee shall cause the exchange or transfer of any beneficial interest in a
                    Regulation S Global Note for a beneficial interest in a Restricted Global Note upon provision to
                    the Trustee, the Note Registrar and the Issuers of a written certification in the form of Exhibit D-1
                    (a "Restricted Note Transfer Certificate") by the transferor and a written certification in the form
                    of Exhibit D-3 (an "Investor Certificate") by the transferee.

                               (C)     The Trustee shall cause the exchange or transfer of any beneficial interest in a
                    Restricted Global Note for a beneficial interest in a Regulation S Global Note upon provision to
                    the Trustee, the Note Registrar and the Issuers of a written certification substantially in the form of
                    Exhibit D-2 (a "Regulation S Note Transfer Certificate") by the transferor and an Investor
                    Certificate by the transferee.

                              (D)      An owner of a beneficial interest in a Regulation S Global Note may transfer
                    such interest in the form of a beneficial interest in such Regulation S Global Note in accordance
                    with the applicable procedures of Euroclear and Clearstream (the "Applicable Procedures")
                    without the provision of written certification, provided that (1) such transfer is not made to a U.S.
                    Person or for the account or benefit of a U.S. Person and is effected through Euroclear or
                    Clearstream in an offshore transaction as required by Regulation S and (2) any transfer not
                    effected in an offshore transaction to a non-U.S, beneficial owner in accordance with Rule 904 of
                    Regulation S may be made only upon provision to the Trustee, the Issuers and the Note Registrar
                    of a Regulation S Note Transfer Certificate and an Investor Certificate; provided, further, that, if
                    clause (2) above does not apply, each such beneficial holder shall be deemed to have made all the
                    applicable representations and agreements contained in the Investor Certificate.

                              (E)       An owner of a beneficial interest in a Restricted Global Note may transfer such
                    interest in the form of a beneficial interest in such Restricted Global Note without the provision of
                    written certification; provided, however, that each such beneficial holder shall be deemed to have
                    made all the applicable representations and agreements contained in the Investor Certificate.

                               (F)     The Trustee shall cause the transfer of any beneficial interest in a Global Note
                    for a Definitive Note that is a Regulation S Note (a "Regulation S Definitive Note"), upon
                    provision to the Trustee, the Issuers and the Note Registrar of a Regulation S Note Transfer
                    Certificate by the transferor and an Investor Certificate by the transferee.

                    (ii)      Subject to Section 2.4(b)(iv), the Trustee shall cause the transfer of (A) any Definitive
          Note for a beneficial interest in a Regulation S Global Note or a Regulation S Definitive Note, upon
          provision to the Trustee, the Issuers and the Note Registrar of a Regulation S Note Transfer Certificate by
          the transferor and an Investor Certificate by the transferee or 03) any Definitive Note for a beneficial
          interest in a Restricted Global Note, upon provision to the Trustee, the Issuers and the Note Registrar of a
          Restricted Note Transfer Certificate by the transferor and an Investor Certificate by the transferee.

                    (iii)    Upon acceptance for exchange or transfer of a beneficial interest in a Global Note for a
          Definitive Note, or upon acceptance for exchange or transfer of a Definitive Note for a beneficial interest in
          a Global Note, each as provided herein, the Trustee shall instruct the Depositary to adjust the principal
          amount of such Global Note on its records to evidence the date of such exchange or transfer and the change
          in the principal amount of such Global Note.

                    (iv)      Subject to the restrictions on transfer and exchange set forth in this Section 2.4 and to any
          additional restrictions on transfer or exchange specified in the Definitive Notes, the Noteholder of any
          Definitive Note may transfer or exchange the same in whole or in part (in a principal amount equal to the
          minimum authorized denomination or any larger authorized amount) by surrendering such Definitive Note
          at the Registrar Office or at the office designated by any Transfer Agent, together with (x) in the case of
          any transfer, an executed instrument of assignment and (y) in the case of any exchange, a written request
          for exchange. Following a proper request for transfer or exchange, the Trustee shall (provided it has
          available in its possession an inventory of Definitive Notes), within five Business Days of such request if



                                                            53
30775-00034NY:1268831,8
08-13555-mg                 Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                             Part 1 of 4 Pg 62 of 65


          made at such Registrar Office, or within ten Business Days if made at the office designated by a Transfer
          Agent (other than the Trustee), authenticate and make available to the transferee (in the case of transfer) or
          Noteholder (in the case of exchange) or send by first class mail (at the risk of the transferee in the case of
          transfer or Noteholder in the case of exchange) to such address as the transferee or Noteholder, as
          applicable, may request, a Definitive Note or Notes, as the case may require, for a like aggregate principal
          amount and in such authorized denomination or denominations as may be requested. The presentation for
          transfer or exchange of any Definitive Note shall not be valid unless made at the Registrar Office or at the
          office designated by a Transfer Agent by the registered Noteholder in person, or by a duly authorized
          attorney-in-fact. Beneficial interests in Global Notes shall be exchangeable for Definitive Notes only under
          the limited circumstances described in Section 2.4(b)(v).

                     (v)      Interests in a Global Note deposited with or on behalf of the Depositary, Euroclear and!or
          Clearstream, as applicable, pursuant to Section 2.1 hereunder shall be transferred to the owners of such
          interests in the form of Definitive Notes only if such transfer otherwise complies with this Section 2.4
          (including clauses (b)(i)and (b)(ii)) and (1) the Depositary notifies the Issuer that it is unwilling or unable
          to continue as Depositary for the Notes, (2) the Depositary ceases to be a "clearing agency" registered
          under the Exchange Act and a successor Depositary is not appointed by the Issuer within 90 days of such
          notice, (3) if the transferee of an interest in a Global Note is required by law to take physical delivery of
          securities in definitive form, (4) Regulation S Global Notes or any of them become immediately due and
          repayable following an Event of Default, (5) the Depositary, Euroclear or Clearstream is closed for
          business for a continuous period of 14 days (other than by reason of holiday, statutory or otherwise), (6) the
          Depositary, Euroclear or Clearstream announces an intention permanently to cease business and no
          alternative clearance system satisfactory to the Issuer is available, (7) as a result of any amendment to, or
          change in, the laws or regulations of the Cayman Islands or of any authority therein or thereof having
          power to tax or in the interpretation or administration of such laws or regulations which becomes effective
          on or after the Closing Date, the Issuer or any Paying Agent is or will be required to make any deduction or
          withholding from any payment in respect of the Notes which would not be required were the Notes in
          definitive registered form or (8) the Issuer so elects by notice to the Noteholders, and the Depositary,
          Euroclear and/or Clearstream, as the case may be, do not object (as determined by the Issuer).

                    (vi)     If interests in any Global Note are to be transferred to the Beneficial Owners thereof in
          the form of Definitive Notes pursuant to Section 2.4(b)(v), such Global Note shall be surrendered by the
          Depositary, or its custodian on its behalf, to the Registrar Office or to the office designated by the Transfer
          Agent currently located in Nashville, Tennessee and the Trustee or an Authenticating Agent shall
          authenticate and deliver without charge, upon such transfer of interests in such Global Note, an equal
          aggregate principal amount of Definitive Notes of authorized denominations.               The Det'mitive Notes
          transferred pursuant to this Section 2.4 shall be executed, authenticated and delivered only in the
          denominations specified in Section 2.2(b) and registered in such names as the Depositary shall direct in
          writing.

                    (vii)      For so long as one or more Global Notes are Outstanding:

                             (A)       the Trustee and its directors, officers, employees and agents may deal with the
                    Depositary for all purposes (including the making of distributions on, and the giving of notices
                    with respect to, the Global Notes);

                             (B)     unless otherwise provided herein, the rights of Beneficial Owners shall be
                    exercised only through the Depositary and shall be limited to those established by law and
                    agreements between such Beneficial Owners and the Depositary;

                              (C)     for purposes of determining the identity of and principal amount of Notes
                    beneficially owned by a Beneficial Owner, the records of the Depositary shall be conclusive
                    evidence of such identity and principal amount and the Trustee may conclusively rely on such
                    records when acting hereunder;




                                                            54
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4        Filed 07/16/12 Entered 07/16/12 16:40:47                         Exhibit D
                                             Part 1 of 4 Pg 63 of 65


                              (D)      the Depositary    will make book-entry       transfers among the Depositary
                    Participants of the Depositary and will receive and transmit distributions of principal of and
                    interest on the Global Notes to such Depositary Participants; and

                              (E)     the Depositary Participants of the Depositary shall have no rights under this
                    Indenture under or with respect to any of the Global Notes held on their behalf by the Depositary,
                    and the Depositary may be treated by the Trustee and its agents, employees, officers and directors
                    as the absolute owner of the Global Notes for all purposes whatsoever.

                   (viii)    The Issuer may impose additional transfer restrictions to comply with the USA
          PATRIOT Act, or any similar laws or regulations to the extent they are applicable to the Issuer, and each
          Holder of Securities will be required to comply with such transfer restrictions.

         (c)      Denominations; Flow-Through Investment Vehicles; Qualified Purchaser or Knowledgeable
Employee Status. No Person may hold a beneficial interest in any Note except in a denomination authorized for the
Notes of such Class under Section 2.2(b). No transfer of a Note may be made to a Flow-Through Investment
Vehicle other than a Qualifying Investment Vehicle.

          Any purported transfer that is not in compliance with this Section 2.4 or the legends on the Notes will be of
no force and effect, will be void ab initio, and will not operate to transfer any rights to the transferee,
notwithstanding any instructions to the contrary to the Issuers, the Trustee or any intermediary. If any purported
transfer of Notes or any beneficial interest therein to a purported transferee does not comply with the requirements
set forth in this Section 2.4 or the legends on the Notes then the purported transferor of such Notes or beneficial
interest therein shall be required to cause the purported transferee to surrender the Notes or any beneficial interest
therein in return for a refund of the consideration paid therefor by such transferee (together with interest thereon) or
to cause the purported transferee to dispose of such Notes or beneficial interest promptly in one or more open market
sales to one or more persons each of whom satisfies the requirements of this Section 2.4 and the legends on the
Notes and such purported transferor shall take, and shall cause such transferee to take, all further action necessary or
desirable, in the judgment of the Trustee, to ensure that such Notes or any beneficial interest therein are held by
persons in compliance therewith.

          If, notwithstanding the restrictions set forth in this Section 2.4, either of the Issuers determines that any
Beneficial Owner or Holder of a Restricted Note (i) is a U.S. Person and (ii) is not (A) a Qualified Purchaser, 03) a
Knowledgeable Employee or (C) a company each of whose beneficial owners is a Qualified Purchaser and!or a
Knowledgeable Employee, the Issuers shall redeem the Restricted Notes (or interest therein) held by such Beneficial
Owner or Holder or shall require, by notice to such Beneficial Owner or Holder, as the case may be, that such
Beneficial Owner or Holder sell all of its right, title and interest to such Note (or interest therein) to a Person that is a
Regulations S transferee or that is both (1) a Qualified Institutional Buyer and (2) a Qualified Purchaser, a
Knowledgeable Employee or a company each of whose beneficial owners is a Qualified Purchaser and/or a
Knowledgeable Employee with such sale to be effected within 30 days after notice of such sale requirement is given.
If such Beneficial Owner or Holder fails to effect the transfer required within such 30-day period, (x) upon written
direction fxom the Collateral Manager or the Issuer, the Trustee shall, and is hereby irrevocably authorized by such
Beneficial Owner or Holder to, as the case may be, cause its interest in such Note to be transferred in a
commercially reasonable sale (conducted by an investment bank selected by the Trustee with the consent of the
Collateral Manager, in accordance with Section 9-610(b) of the UCC as applied to securities that are sold on a
recognized market or that may decline speedily in value) to a Person that certifies to the Trustee, the Issuers and the
Collateral Manager, in connection with such transfer, that such Person is both (1) a Qualified Institutional Buyer and
(2) a Qualified Purchaser, a Knowledgeable Employee or a company each of whose beneficial owners is a Qualified
Purchaser and/or a Knowledgeable Employee and (y) pending such transfer, no further payments will be made in
respect of such Note (or beneficial interest therein) held by such Holder or Beneficial Owner and the Note shall not
be deemed to be Outstanding for the purpose of any vote or consent of the Noteholders. As used in this paragraph,
the term "U.S. Person" has the meaning given such term in Regulation S under the Securities Act.

          (d)    Legends. Any Note issued upon the transfer, exchange or replacement of Notes shaU bear such
applicable legend set forth in the relevant Exhibit hereto unless there is delivered to the Trustee, Note Registrar,



                                                             55
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4      Filed 07/16/12 Entered 07/16/12 16:40:47                       Exhibit D
                                           Part 1 of 4 Pg 64 of 65


Collateral
         Manager, theIssuerandtheCo-Issuer    suchsatisfactoryevidence,whichmayincludeanOpinionof
Counsel,asmaybereasonably   required by anyoftheTrustee,  NoteRegistrar,Collateral
                                                                                Manager,theIssuerand
theCo-Issuertotheeffectthat(i) neithersuchapplicablelegendnortherestrictions
                                                                          ontransfer
                                                                                   setforththerein
                                                                                                 are
required
       toensure thattransfers
                            thereof complywiththeprovisions of Rule144AorRegulation S,asthecasemay
be,andto ensure thatneitherof theIssuers  northeCollateral becomesaninvestment  companyrequiredto be
registered,under
              theInvestment  Company   Act,and(ii) theIssuers
                                                            andtheCollateral areexempt
                                                                                     fromregistration
underthe'Investment Company   Act otherthanby reasonof Section  3(c)(7)thereof.Uponprovisionof such
satisfactory
          evidence,theTrustee,  atthedirectionof theCollateralManager, theIssuerandtheCo-Issuer,shall
authenticate
           anddeliverNotesthatdonotbearsuchapplicable   legend.

       (e)     Expenses;Acknowledgment ofTransfer.Transfer,registration
                                                                     andexchange
                                                                               shallbepermitted as
providedin thisSection
                     2.4withoutanycharge totheNoteholder  except
                                                               fortheexpenses
                                                                            of delivery(if any)not
madebyregularmailandpayment   of a sumsufficienttocoveranytaxor othergovernmentalcharge payable in
connectiontherewith
                  pursuant
                         toSection 2.4.Registration
                                                  of thetransfer
                                                               ofaNoteby theTrusteeshallbedeemed
tobetheacknowledgment ofsuchtransferonbehalfoftheIssuers.

        (f)   SurrenderuponFinalPayment.
                                       Subject
                                             toSection
                                                     2.8,uponfinalpayment dueontheMaturityof
a Note,theHolderthereof
                      shallpresent
                                andsurrender
                                          suchNoteattheRegistrarOfficeof theNoteRegistrar
                                                                                       orat
theofficeofanyPayingAgent.

         (g)       Repurchase and Cancellation of Notes.        The Issuers will not purchase, redeem, prepay or
otherwise acquire, directly or indirectly, any of the Outstanding Notes except upon the redemption of the Notes in
accordance with the terms of this Indenture and the Notes. The Issuers will promptly cancel all Notes acquired by
them pursuant to any payment, purchase, redemption, prepayment or other acquisition of Notes pursuant to any
provision of this Indenture and no Notes may be issued in substitution or exchange for any such Notes.

           (tl)     Compliance with Transfer Restrictions.       Notwithstanding     anything contained herein to the
contrary, neither the Trustee nor the Note Registrar shall be responsible for ascertaining whether any transfer
complies with the registration provisions of or exemptions from the Securities Act, applicable state securities laws,
the rules of any Depositary, ERISA, the Code or the Investment Company Act; provided that if a certificate is
specifically required by the express terms of this Section 2.4 to be delivered to the Trustee or the Note Registrar by a
purchaser or transferee of a Note, the Trustee or the Note Registrar, as the case may be, shall be under a duty to
receive and examine the same to determine whether the transfer contemplated thereby substantially complies with
the express terms of this Indenture and shall promptly notify the party delivering the same if such transfer does not
comply with such terms.

          (i)     Distribution Compliance Period. Promptly after completion of distribution of the Notes, the
Issuers (or the Issuer, as the case may be) shall deliver to the Trustee a certificate identifying such date and
specifying the date on which the Distribution Compliance Period will expire. Absent receipt of such certificate, the
Trustee and the Note Registrar shall be entitled to assume that the Distribution Compliance Period has not expired.
Notwithstanding the foregoing, the Distribution Compliance Period shall not terminate until the Trustee and the
Note Registrar have received a written certificate from the Depositary, together with copies of certificates from
Euroclear and Clearstream, certifying that they have received certification of non-U.S, beneficial ownership of one
hundred percent (100%) of the Aggregate Outstanding Amount of each Regulation S Global Note (except to the
extent of any beneficial owners thereof who acquired an interest therein during the Distribution Compliance Period
pursuant to an exemption (other than Regulation S) from registration under the Securities Act).

         (j)      Physical Notes. The Issuers will promptly make available to the Trustee and the Note Registrar
without charge a reasonable supply of Definitive Notes in definitive, fully registered form, without interest coupons.

         (k)      Investor Certification upon Initial Sale. Upon the initial sale and purchase of any Notes, each
purchaser (other than the Initial Purchaser) shall deliver to the Issuers, the Trustee and the Initial Purchaser an
executed Investor Certificate.




                                                          56
30775-00034NY:1268831.8
 08-13555-mg              Doc 29425-4       Filed 07/16/12 Entered 07/16/12 16:40:47                      Exhibit D
                                            Part 1 of 4 Pg 65 of 65


           (I)      Tax Certifications. The Holder understands that the Issuer may require certification acceptable to
it (i) to permit the Issuer to make payments to it without, or at a reduced rate of, withholding or (ii) to enable the
Issuer to qualify for a reduced rate of withholding in any jurisdiction from or through which the Issuer receives
payments on its assets. The Holder agrees to provide any such certification that is requested by the Issuer.

          (m)      Tax Treatment. The Holder acknowledges that it is its intent and that it understands it is the intent
of the Issuer that, for purposes of U.S. federal income, state and local income and franchise tax and any other
income taxes, the Issuer will be treated as a corporation, the Notes will be treated as indebtedness of the Issuer, and
the Preference Shares will be treated as equity in the Issuer; it agrees to such treatment and agrees to take no action
inconsistent with such treatment, unless required by law.

          (n)       ERISA. In the case of a Class A Note, Class B Note, Class C Note, Class D Note or Class E Note,
each original purchaser of a Note or any beneficial interest therein will be required to certify (and each subsequent
transferee will be deemed to have represented and agreed) that either (a) it is not an "employee benefit plan" as
defined in Section 3(3) of the U.S. Employee Retirement Income Security Act of 1974, as amended ("ERISA"), a
plan described in section 4975(e)(1) of the Code (each a "Plan"), an entity which is deemed to hold the assets of any
such Plan pursuant to 29 C.F.R. Section 2510.3-101, which Plan or entity is subject to Title I of ERISA or Section
4975 of the Code, or a governmental or church plan which is subject to any U.S. Federal, state or local law that is
similar to the prohibited transaction provisions of Section 406 of ERISA or Section 4975 of the Code, or (b) its
purchase and ownership Of such Note will not result in a non-exempt prohibited transaction under Section 406 of
ERISA or Section 4975 of the Code (or, in the case of a governmental or church plan, any such similar U.S. Federal,
state or local law).

                          Section 2.5 Mutilated_ Defaced_ Destroyed_ Lost or Stolen Notes.

          If (a) any mutilated or defaced Note is surrendered to a Transfer Agent, or if there shall be delivered to the
Issuers, the Trustee and a Transfer Agent (each, a "Specified Person") evidence to their reasonable satisfaction of the
destruction, loss or theft of any Note, and (b) there is delivered to the Specified Persons such security or indemnity
as may reasonably be required by them to save each of them harmless then, in the absence of notice to the Specified
Persons that such Note has been acquired by a protected purchaser, the Issuers shall execute and shall direct the
Trustee or an Authenticating Agent to authenticate, and upon Issuer Request the Trustee shall authenticate and
deliver, in lieu of any such mutilated, defaced, destroyed, lost or stolen Note, a new Note of the same Class as such
mutilated, defaced, destroyed, lost or stolen Note, of like tenor (including the same date of issuance) and equal
principal amount, registered in the same manner, dated the date of its authentication, bearing interest from the date
to which interest has been paid on the mutilated, defaced, destroyed, lost or stolen Note and bearing a number not
contemporaneously outstanding.

          If, after delivery of such new Note, a protected purchaser of the predecessor Note presents for payment,
transfer or exchange such predecessor Note, the Specified Persons shall be entitled to recover such new Note from
the Person to whom it was delivered or any Person taking therefrom, other than a protected purchaser, and shall be
entitled to recover upon the security or indemnity provided therefor to the extent of any loss, damage, cost or
expense incurred by the Specified Persons in connection therewith.

         In case any such mutilated, defaced, destroyed, lost or stolen Note has become due and payable, the Issuers
in their or its (as applicable) discretion may, instead of issuing a new Note, pay such Note without requiring
surrender thereof, except that any mutilated Note shall be surrendered.

         Upon the issuance of any new Note under this Section 2.5, the Issuers, the Trustee or any Transfer Agent
may require the payment by the registered holder thereof of a sum sufficient to cover any tax or other governmental
charge that may be imposed in relation thereto and any other expenses (including the fees and expenses of the
Trustee) connected therewith.

         Every new Note issued pursuant to this Section 2.5 in lieu of any mutilated, defaced, destroyed, lost or
stolen Note, shall constitute an original additional contractual obligation of the Issuers and such new Note shall be




                                                          57
30775-00034NY:1268831.8
